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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION


    In re:                                                          Chapter 11

    RED RIVER TALC LLC,1                                            Case No: 24-90505 (CML)

                      Debtor.


    Gregory M. Gordon (TX 08435300)                         Brad B. Erens (IL 06206864)
    Dan B. Prieto (TX 24048744)                             Caitlin K. Cahow (IL 6317676)
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                                  PROPOSED ATTORNEYS FOR DEBTOR


                           SECOND AMENDED PREPACKAGED
                  CHAPTER 11 PLAN OF REORGANIZATION OF THE DEBTOR

VOTES TO ACCEPT OR REJECT THE PLAN HAVE BEEN SOLICITED BY LLT MANAGEMENT LLC,
ON BEHALF OF THE DEBTOR, CONSISTENT WITH SECTIONS 1125 AND 1126 OF THE
BANKRUPTCY CODE. THE PLAN HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT. THE
DEBTOR HAS FILED A PETITION FOR RELIEF UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
AND IS SUBMITTING THE DISCLOSURE STATEMENT AND THE PLAN TO THE BANKRUPTCY
COURT FOR APPROVAL.

THE PLAN PROVIDES, AMONG OTHER THINGS, FOR THE ISSUANCE OF AN INJUNCTION
PURSUANT TO SECTION 524(g), SECTION 1123(b)(6), AND/OR SECTION 105(a) OF THE
BANKRUPTCY CODE THAT WILL CHANNEL ALL TALC PERSONAL INJURY CLAIMS AGAINST
THE DEBTOR AND THE PROTECTED PARTIES (AS DEFINED HEREIN) IN CLASS 4 TO A TRUST, AS
WELL AS OTHER INJUNCTIONS DESCRIBED IN ARTICLE XI OF THE PLAN.




1
             The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
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                       EXHIBITS AND SCHEDULES TO PLAN

Exhibit A        Amended Articles of Organization of the Reorganized Debtor*

Exhibit B        Amended Operating Agreement of the Reorganized Debtor*

Exhibit C        Cash Contributions**

Exhibit D        Cash Contributions Guarantee*

Exhibit E        Cooperation Agreement**

Exhibit F        Retained Rights of Action*

Exhibit G        Talc Insurance Policies*

Exhibit H        Talc Personal Injury Trust Agreement**

Exhibit I        Talc PI Note**

Exhibit J        Talc PI Pledge Agreement*

Exhibit K        Trust Distribution Procedures**

Exhibit L        Executory Contracts and Unexpired Leases to Be Rejected*

Schedule 1       Debtor Corporate Parties*

Schedule 2       Imerys/Cyprus Parties*

Schedule 3       Retailers and Indemnified Parties**

________________

* Previously filed [Docket No. 24]
** Attached hereto




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        Reference is made to the Disclosure Statement for a discussion of, among other things, the
history, business, results of operations, and assets of the Debtor, and risks associated with the
Plan. The Disclosure Statement also provides a summary of the key terms of the Plan.

        Amendments to the Plan since the date of the Disclosure Statement have made the Plan
more favorable for holders of Talc Personal Injury Claims and would not reasonably be expected
to alter the vote of any such holder who has voted to accept the Plan.

        Nothing in the Plan or the other Plan Documents constitutes an admission by the Debtor
as to the existence, merits, or amount of the Debtor’s actual present or future liability on account
of any Claim or demand (including any Talc Personal Injury Demand) except to the extent that
such liability is specifically provided for in the Plan or the other Plan Documents in accordance
with the Confirmation Order effective as of the Effective Date.

                                   ARTICLE I
                   DEFINITIONS AND RULES OF INTERPRETATION

        1.1      Terms. The capitalized terms used herein have the respective meanings set forth
below. Any term that is not otherwise defined in this Section 1.1, but that is defined elsewhere in
the Plan or in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning given to that term
in the Plan, the Bankruptcy Code, or Bankruptcy Rules, as applicable. For the avoidance of doubt,
the uncapitalized terms “affiliate,” “claim,” “demand,” “entity,” “governmental unit,” and “lien”
have the meanings given to them in sections 101(2), 101(5), 524(g)(5), 101(15), 101(27), and
101(37) of the Bankruptcy Code, respectively.

             1.1.1     “2021 Chapter 11 Case” means the chapter 11 case of LLT that was
        commenced on October 14, 2021, and subsequently dismissed on April 4, 2023.

               1.1.2       “2021 Corporate Restructuring” means, collectively, the transactions
        comprising the corporate restructuring of Old JJCI that was completed on October 12,
        2021, as part of which (a) Old JJCI ceased to exist and (b) LLT and Holdco were formed.

             1.1.3     “2023 Chapter 11 Case” means the chapter 11 case of LLT that was
        commenced on April 4, 2023, and subsequently dismissed on August 11, 2023.

               1.1.4       “2023 Conversion” means the conversion of LLT from a North
        Carolina limited liability company to a Texas limited liability company that occurred on
        December 29, 2023.

               1.1.5      “2023 Funding Agreement Modifications” means the transactions
        contemplated by that certain Termination and Substitution Agreement, dated April 4, 2023,
        executed by J&J, Holdco, and LLT.

               1.1.6       “Acceptance and Release” means the document pursuant to which the
        holder of a compensable Channeled Talc Personal Injury Claim accepts an offer from the
        Talc Personal Injury Trust for payment of such Channeled Talc Personal Injury Claim and
        provides releases, including releases of the Reorganized Debtor, J&J, the other Debtor
        Corporate Parties, and the other Protected Parties, required as a condition of such payment

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        pursuant to the Trust Distribution Procedures, which document shall be in form and
        substance acceptable to the Debtor and J&J.

                1.1.7      “Administrative Claim” means any Claim for any cost or expense of
        administration of the Chapter 11 Case under section 503(b) of the Bankruptcy Code,
        including: (a) any actual and necessary post-petition cost or expense of preserving the
        Estate or operating the business of the Debtor; (b) Cure Amount Claims; (c) post-petition
        costs, indebtedness or contractual obligations duly and validly incurred or assumed by the
        Debtor in the ordinary course of business; (d) any Fee Claim, including any Claim for
        compensation or reimbursement of expenses of Professionals to the extent allowed by the
        Bankruptcy Court under sections 327, 328, 330(a), 331, or 503(b) of the Bankruptcy Code
        or the provisions of the Plan; and (e) any fee or charge assessed against the Estate under
        28 U.S.C. § 1930(6).

                1.1.8      “Administrative Claims Bar Date” means the applicable deadline for
        filing requests for payment of Administrative Claims (other than Fee Claims and Cure
        Amount Claims) and shall be the Business Day that is sixty (60) days after the Effective
        Date.

                1.1.9       “Adverse Appellate Ruling” means (a) in the event that the
        Confirmation Order is appealed to the Fifth Circuit, any ruling by the Fifth Circuit that
        does not fully affirm the Confirmation Order and is determined by the Debtor or
        Reorganized Debtor and J&J, in their sole discretion, to be adverse to the intents, purposes,
        or effects of the Plan or Confirmation Order or (b) in the event that (i) the Fifth Circuit
        fully affirms the Confirmation Order, (ii) a petition for certiorari is timely filed with the
        Supreme Court with respect to such affirmation of the Confirmation Order, and (iii) the
        Supreme Court grants such petition for certiorari, any ruling by the Supreme Court that
        does not fully affirm the Confirmation Order and is determined by the Reorganized Debtor
        and J&J, in their sole discretion, to be adverse to the intents, purposes, or effects of the
        Plan or Confirmation Order.

                 1.1.10      “Affiliate” means, with respect to any specified entity: (a) an
        “affiliate,” as defined in section 101(2) of the Bankruptcy Code, of such specified entity;
        or (b) any other Person that, directly or indirectly through one or more intermediaries or
        otherwise, controls, is controlled by, or is under common control with the specified entity.
        As used in clause (b) of the prior sentence, “control” shall include the possession, directly
        or indirectly, of the power to direct or cause the direction of the management or policies of
        the specified entity (whether through the ownership of equity, by contract or otherwise).

                1.1.11      “AHC of Supporting Counsel” means the Ad Hoc Committee of
        Supporting Counsel, including (a) Andrews & Thornton, Attorneys At Law, a Law
        Corporation, (b) Pulaski Kherkher, PLLC, (c) Watts Law Firm LLP, (d) OnderLaw, LLC,
        (e) Nachawati Law Group, PLLC, (f) Aylstock, Witkin, Kreis & Overholtz PLLC, and
        (g) Slater Slater Schulman LLP, formed to advance the common interests of the law firms
        representing certain holders of Channeled Talc Personal Injury Claims.



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                1.1.12      “Allowed” means, as to any Non-Talc Claim or Interest, that such Non-
        Talc Claim or Interest is (a) expressly allowed under the Plan, (b) not Disputed, (c) either
        allowed or determined by a Final Order of a court of competent jurisdiction, or (d) agreed
        to by the Debtor or Reorganized Debtor and the holder of such Claim or Interest; provided,
        however, that, notwithstanding the foregoing, the Allowed amount of Non-Talc Claims
        shall be subject to and shall not exceed the limitations or maximum amounts permitted by
        the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to the extent
        applicable.

              1.1.13     “Allowed Amount” means, with respect to any Non-Talc Claim, the
        amount for which that Claim is Allowed, denominated in U.S. dollars.

                1.1.14      “Amended Articles of Organization” means the amended and restated
        articles of organization of the Reorganized Debtor, in substantially the form of Exhibit A.

                1.1.15     “Amended Charter Documents” means, collectively, the Amended
        Articles of Organization and the Amended Operating Agreement.

               1.1.16    “Amended Operating Agreement” means the amended and restated
        operating agreement of the Reorganized Debtor, in substantially the form of Exhibit B.

                1.1.17     “Bankruptcy Code” means title 11 of the United States Code, as in
        effect on the Petition Date or thereafter amended with retroactive applicability to the
        Chapter 11 Case.

                1.1.18     “Bankruptcy Court” means the United States Bankruptcy Court for the
        Southern District of Texas having jurisdiction over the Chapter 11 Case or, to the extent of
        the withdrawal of the reference under section 157 of title 28 of the United States Code, the
        District Court.

               1.1.19     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
        as promulgated by the United States Supreme Court under section 2075 of title 28 of the
        United States Code and any local rules of the Bankruptcy Court, as in effect on the Petition
        Date, together with any and all amendments and modifications thereto that were
        subsequently made applicable to the Chapter 11 Case.

               1.1.20      “Business Day” means any day other than a Saturday, a Sunday, or any
        other day on which banking institutions in Dallas, Texas, are authorized or required by law
        or executive order to close.

                1.1.21    “Bynum Proceeding” means the legal proceedings commenced by the
        class action complaint filed on June 17, 2024, in the United States District Court for the
        District of New Jersey, Case Number 3:24-cv-07065, by Joni S. Bynum, Robin Coburn,
        and James Coburn, both individually and on behalf of a proposed class, against, among
        others, LLT and J&J, and all claims, causes of action, and requests for relief asserted
        therein.



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               1.1.22     “Cash” means lawful currency of the United States of America and its
        equivalents.

               1.1.23       “Cash Contributions” means Cash to be delivered to the Talc Personal
        Injury Trust in the amounts and on the dates set forth on Exhibit C.

                1.1.24      “Cash Contributions Guarantee” means the guarantee, in
        substantially the form of Exhibit D, to be executed and delivered by J&J and New Holdco
        for the benefit of the Talc Personal Injury Trust, pursuant to which each of J&J and New
        Holdco will guarantee the timely delivery of the Cash Contributions.

               1.1.25     “Channeled Indirect Talc Personal Injury Claims” means all Indirect
        Talc Personal Injury Claims that are not Defense Cost Claims.

               1.1.26      “Channeled Talc Personal Injury Claims” means all Talc Personal
        Injury Claims that are not Defense Cost Claims, including (a) Ovarian/Gynecological Talc
        Personal Injury Claims and (b) Other Disease Talc Personal Injury Claims.

               1.1.27     “Channeling Injunction” means the permanent injunction provided for
        in Section 11.3.1 with respect to Channeled Talc Personal Injury Claims to be issued
        pursuant to the Confirmation Order.

               1.1.28    “Chapter 11 Case” means the chapter 11 case of the Debtor pending in
        the Bankruptcy Court.

                1.1.29    “Claim” shall have the meaning ascribed to such term in section 101(5)
        of the Bankruptcy Code as it pertains to “claims” against the Debtor.

                 1.1.30   “Claims Agent” means Epiq Corporate Restructuring, LLC.

                1.1.31    “Class” means a category of holders of Claims or Interests described in
        Article III.

                 1.1.32   “Clerk” means the clerk of the Bankruptcy Court.

                1.1.33      “Common Benefit Fund MSA” means a master settlement agreement,
        in form and substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting
        Counsel, the SLF, and the TCC, among J&J and each law firm representing holders of Talc
        Personal Injury Claims party thereto, providing, among other things, for (a) the
        contribution of $650,000,000 by J&J to a “qualified settlement fund” within the meaning
        of the Treasury Regulations issued under Section 468B of the Internal Revenue Code for
        distribution to qualifying counsel on account of common benefit claims and (b) the process
        and criteria pursuant to which such counsel may seek distribution of such funds on account
        of such common benefit claims, in each case subject to the terms and conditions set forth
        in such master settlement agreement.




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               1.1.34    “Compensation Procedures Order” means any order of the
        Bankruptcy Court establishing procedures for interim compensation and reimbursement
        and expenses of Retained Professionals.

               1.1.35      “Confirmation” means the entry of the Confirmation Order on the
        docket of the District Court.

               1.1.36     “Confirmation Date” means the date on which the District Court enters
        the Confirmation Order on its docket.

               1.1.37     “Confirmation Hearing” means, collectively, the hearing or hearings
        held by the Bankruptcy Court or the District Court on Confirmation of the Plan, as such
        hearing or hearings may be continued from time to time.

               1.1.38      “Confirmation Order” means: (a) the order of the Bankruptcy Court
        and the District Court acting jointly or (b) the order of the District Court affirming an order
        entered separately by the Bankruptcy Court; in either case, which order confirms the Plan
        pursuant to section 1129 of the Bankruptcy Code.

                1.1.39      “Contribution Claim” means any and all rights of a Talc Insurance
        Company that is not a Settling Talc Insurance Company, whether legal, equitable,
        contractual, or otherwise, of contribution, indemnity, reimbursement, subrogation, or other
        similar claims directly or indirectly arising out of or in any way relating to such insurer’s
        payment of loss on behalf of the Debtor in connection with any Channeled Talc Personal
        Injury Claim.

               1.1.40       “Cooperation Agreement” means a Cooperation Agreement among
        the Reorganized Debtor, J&J, the Talc Personal Injury Trust, and the Custodians in
        substantially the form of Exhibit E.

               1.1.41     “Cure Amount Claim” means a Claim based on the Debtor’s defaults
        pursuant to an Executory Contract or Unexpired Lease at the time such contract or lease is
        assumed by the Debtor under section 365 of the Bankruptcy Code (but, if the provisions of
        Section 4.9.3 and Section 5.9.1 are applicable, excluding any Claim arising out of an
        alleged breach, default, or violation under any Imerys/Cyprus Agreement whether or not
        such agreement is determined by court order to be an Executory Contract).

                 1.1.42    “Custodians” has the meaning set forth in the Cooperation Agreement.

                 1.1.43    “Cyprus” means Cyprus Mines Corporation.

                1.1.44     “Date of First Diagnosis” means, with respect to a Direct Talc Personal
        Injury Claim, the date on which the relevant injured or deceased individual received the
        original pathologic diagnosis for Ovarian Cancer or Gynecological Cancer alleged to have
        been caused by her use of products containing talcum powder that were formulated,
        manufactured, distributed, and/or sold by the Debtor and/or any Debtor Corporate Party,
        including Johnson’s Baby Powder and Johnson & Johnson’s Shower to Shower.


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              1.1.45     “Debtor” means Red River Talc LLC, a Texas limited liability
        company and a successor to Old JJCI and LLT.

                1.1.46      “Debtor Corporate Parties” means J&J and all of its current and
        former Affiliates, including all Persons listed on Schedule 1, other than (a) the Debtor and
        (b) as applicable, Imerys, Cyprus, and their respective Affiliates.

                1.1.47     “Defense Cost Claim” means any Indirect Talc Personal Injury Claim
        to the extent in respect of legal fees or other out-of-pocket costs incurred in connection
        with the defense of claims. For the avoidance of doubt, if the provisions of Section 4.9.3
        and Section 5.9.1 are applicable, Defense Cost Claims include any such Indirect Talc
        Personal Injury Claims of the Imerys/Cyprus Parties under any Imerys/Cyprus Agreement
        or otherwise.

                1.1.48      “Direct Talc Personal Injury Claim” means a Talc Personal Injury
        Claim that is asserted by or on behalf of: (a) an injured individual; (b) the estate, legal
        counsel, relative, assignee, or other representative of an injured or deceased individual; or
        (c) an individual who claims injury or damages as a result of the death or injury of another
        individual caused by talc or a product or material containing talc. For the avoidance of
        doubt, Direct Talc Personal Injury Claims include claims and demands for: (i) loss of
        consortium; (ii) loss of companionship, services, or society; or (iii) wrongful death.

                1.1.49      “Disallowed” means, as to any Non-Talc Claim, that such Non-Talc
        Claim is denied, dismissed, expunged, overruled, or disallowed in whole or in part (but
        solely to the extent of the disallowance) by Final Order or under the Plan.

               1.1.50      “Disbursing Agent” means the Reorganized Debtor, or such other
        Person or Persons chosen by the Debtor or the Reorganized Debtor to make or facilitate
        Distributions pursuant to the Plan.

               1.1.51      “Discharge Injunction” means the injunction issued in accordance
        with sections 524 and 1141 of the Bankruptcy Code and contained in Section 11.1.2.

                1.1.52      “Disclosure Statement” means the Disclosure Statement for
        Prepackaged Chapter 11 Plan of Reorganization of the Debtor, dated June 3, 2024, used
        by LLT to solicit votes to accept or reject the Plan for and on behalf of the Debtor, including
        all exhibits and schedules thereto, as such disclosure statement may be amended, modified,
        or supplemented from time to time.

                1.1.53      “Disputed” means, as to any Non-Talc Claim (or any portion thereof),
        that such Non-Talc Claim (or portion thereof) is not Allowed or Disallowed pursuant to
        the Plan or a Final Order of the Bankruptcy Court, or is contingent or unliquidated.

                1.1.54     “Distributions” means Cash, property, or interest in property to be paid
        or delivered hereunder to holders of Allowed Non-Talc Claims under the terms of the Plan.

                1.1.55      “Distribution Date” means the date which is as soon as reasonably
        practicable after (a) the Effective Date or (b) in the case of any Non-Talc Claim (other than

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        a Reinstated Non-Talc Claim) that is not yet Allowed as of the Effective Date, the date
        such Non-Talc Claim becomes Allowed.

                1.1.56      “Distribution Record Date” means the record date for determining an
        entitlement to receive Distributions under the Plan on account of Allowed Non-Talc Claims
        (other than Reinstated Non-Talc Claims), which shall be the Confirmation Date.

               1.1.57      “District Court” means the United States District Court for the
        Southern District of Texas.

                 1.1.58    “Docket” means the docket in the Chapter 11 Case maintained by the
        Clerk.

               1.1.59      “Effective Date” means the Business Day upon which all of the
        conditions precedent to the occurrence of the Effective Date contained in Section 8.2 have
        been satisfied or waived pursuant to Section 8.3.

                1.1.60     “Encumbrance” means, with respect to any property (whether real or
        personal, tangible or intangible), any mortgage, lien, pledge, charge, security interest,
        assignment or encumbrance of any kind or nature in respect of such property (including
        any conditional sale or other title retention agreement, any security agreement, and the
        filing of, or agreement to give, any financing statement under the Uniform Commercial
        Code or comparable law of any jurisdiction) to secure payment of a debt or performance
        of an obligation.

               1.1.61      “Equity Interests in the Debtor” means the Interests issued by the
        Debtor.

                1.1.62     “Estate” means the estate created in the Chapter 11 Case under
        section 541 of the Bankruptcy Code.

                1.1.63     “Exculpated Parties” means, collectively, (a) the Debtor’s officers and
        managers who served at any time, whether before, on, or after the Petition Date, prior to
        the Effective Date of the Plan (each solely in their capacity as such); (b) the Debtor; (c) the
        TCC and each of the members thereof, solely in his or her capacity as such; (d) the FCR,
        solely in her capacity as such; (e) the Retained Professionals; (f) solely as to conduct found
        by a court of competent jurisdiction to have been undertaken while acting as a fiduciary of
        the Debtor or the Estate, the employees of the Debtor or other individuals providing similar
        services to the Debtor (other than the Debtor’s officers and managers), and the employees
        of the Retained Professionals, each solely in their capacities as such; and (g) counsel to the
        individual members of the TCC, each solely in their capacity as such; provided, however
        that the Bankruptcy Court is not determining the fiduciary status of any employees of the
        Debtor or other individuals providing similar services to the Debtor (other than the
        Debtor’s officers and managers), or any employees of any of the Retained Professionals or
        counsel to the individual members of the TCC. Nothing herein shall shift the burden of
        the employees of the Debtor or other individuals providing similar services to the Debtor
        (other than the Debtor’s officers and managers), and the employees of the Retained


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        Professionals or counsel to the individual members of the TCC, to establish that they were
        fiduciaries of the Debtor or the Estate prior to the Effective Date of the Plan.

               1.1.64      “Exculpation Injunction” means the injunction described in
        Section 11.6.1.

               1.1.65     “Executory Contract” means any executory contract as to which the
        Debtor is a party and that is subject to assumption or rejection under section 365 of the
        Bankruptcy Code.

                1.1.66     “Existing Direct Claims” means all Channeled Talc Personal Injury
        Claims that are Direct Talc Personal Injury Claims with a Date of First Diagnosis prior to
        the Petition Date.

               1.1.67      “Expense Funding Agreement” means that certain Second Amended
        and Restated Funding Agreement, dated September 19, 2024, by and between New Holdco,
        as payor, and the Debtor, as payee, pursuant to which New Holdco is obligated to provide
        funds for the payment by Debtor or the Reorganized Debtor of, among other things, costs
        and expenses incurred during the pendency of the Chapter 11 Case, including the costs of
        administering the Chapter 11 Case, on and subject to the terms thereof, as the same is
        amended or amended and restated from time to time.

                1.1.68     “FCR” means Randi S. Ellis (or any Bankruptcy Court-appointed
        successor), in her capacity as the legal representative for any and all persons who may
        assert Talc Personal Injury Demands in the future, but who are currently unknown. “FCR”
        stands for Future Claimants’ Representative.

                1.1.69     “Fee Claim” means any Claim of: (a) a Professional for allowance of
        compensation and reimbursement of costs and expenses; or (b) a member of the TCC for
        reimbursement of costs and expenses, in each case incurred in the Chapter 11 Case on or
        before the Effective Date.

                1.1.70     “Fifth Circuit” means the United States Court of Appeals for the Fifth
        Circuit.

                1.1.71      “Final Confirmation Order” means a Confirmation Order which has
        not been reversed, vacated, stayed, modified, or amended, and as to which the time to move
        for a new trial, reargument, or rehearing has expired and no proceedings for a new trial,
        reargument, or rehearing shall then be pending, or, if a new trial, reargument, or rehearing
        thereof has been sought, such new trial, reargument, or rehearing shall have been denied
        with prejudice or resulted in no modification of such Confirmation Order or has otherwise
        been dismissed with prejudice, and the time to move for a new trial, reargument, or
        rehearing shall have expired; provided, however, that (a) a timely appeal of the
        Confirmation Order to the Fifth Circuit shall not cause such Confirmation Order to not be
        a Final Confirmation Order, (b) a petition for certiorari timely filed with the Supreme Court
        with respect to any affirmation of the Confirmation Order by the Fifth Circuit shall not
        cause such Confirmation Order to not be a Final Confirmation Order, and (c) the possibility
        that a motion pursuant to section 1144 of the Bankruptcy Code or any analogous rule under
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        the Bankruptcy Rules may be filed with respect to such Confirmation Order shall not cause
        such Confirmation Order to not be a Final Confirmation Order.

                 1.1.72     “Final Order” means, as applicable, an order or judgment of the
        Bankruptcy Court or other court of competent jurisdiction with respect to the relevant
        subject matter, which has not been reversed, vacated, stayed, modified, or amended, and
        as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
        rehearing has expired and no appeal, petition for certiorari, or other proceedings for a new
        trial, reargument, or rehearing shall then be pending, or, if an appeal, writ of certiorari, new
        trial, reargument, or rehearing thereof has been sought, such order or judgment of the
        Bankruptcy Court or other court of competent jurisdiction shall have been affirmed by the
        highest court to which the order or judgment was appealed or certiorari shall have been
        denied or a new trial, reargument, or rehearing shall have been denied with prejudice or
        resulted in no modification of such order or judgment or has otherwise been dismissed with
        prejudice, and the time to take any further appeal, petition for certiorari, or move for a new
        trial, reargument, or rehearing shall have expired; provided, however, that the possibility
        that a motion pursuant to section 1144 of the Bankruptcy Code or any analogous rule under
        the Bankruptcy Rules, may be filed with respect to such order shall not cause such order to
        not be a Final Order.

              1.1.73     “Funding Agreements” means, collectively, the Expense Funding
        Agreement and the Indemnity Funding Agreement.

                1.1.74       “Gynecological Cancer” means any cancer of the female gynecologic
        tract that is not an Ovarian Cancer.

                1.1.75     “Holdco” means the former Texas limited liability company named J&J
        Holdco (NA) LLC, which, as part of the Prepetition Corporate Restructuring, (a) was
        converted from a New Jersey corporation to a Texas limited liability company and, in
        connection therewith, changed its name from Johnson & Johnson Holdco (NA) Inc. to J&J
        Holdco (NA) LLC and (b) following such conversion, ceased to exist pursuant to a
        divisional merger thereof, including all names and historical forms thereof.

                 1.1.76    “Imerys” means Imerys Talc America, Inc.

                1.1.77     “Imerys/Cyprus Agreements” means those contracts and/or
        agreements setting forth certain Imerys/Cyprus Related Rights, including as applicable: (a)
        that certain Agreement between Cyprus Mines Corporation and Johnson & Johnson, dated
        as of January 6, 1989; (b) that certain Talc Supply Agreement between Windsor Minerals
        Inc. and Johnson & Johnson Baby Products Company, a division of Johnson & Johnson
        Consumer Products, Inc., dated as of January 6, 1989; (c) that certain Supply Agreement
        between Johnson & Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated
        as of April 15, 2001; (d) that certain Material Purchase Agreement between Johnson &
        Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1,
        2010; and (e) that certain Material Purchase Agreement, between Johnson & Johnson
        Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1, 2011.


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                1.1.78      “Imerys/Cyprus Defenses” means any and all rights and defenses that
        any Imerys/Cyprus Party may have under any Imerys/Cyprus Agreement or applicable law
        with respect to a claim for contribution, reimbursement, subrogation, or indemnification in
        respect of Channeled Talc Personal Injury Claims, but Imerys/Cyprus Defenses do not
        include (a) any defense that the Plan or any other Plan Document does not comply with the
        Bankruptcy Code or (b) any defense that the transfer and assignment of the Imerys/Cyprus
        Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
        Section 4.9.3, or any other action contemplated by Section 4.9.3, is prohibited by the
        Imerys/Cyprus Agreements or applicable non-bankruptcy law.

                 1.1.79   “Imerys/Cyprus Parties” means all Persons listed on Schedule 2.

               1.1.80      “Imerys/Cyprus Related Rights” means any and all rights of
        contribution, reimbursement, subrogation, or indemnification that the Debtor, the
        Reorganized Debtor, or J&J has against any Imerys/Cyprus Party in respect of Channeled
        Talc Personal Injury Claims under any Imerys/Cyprus Agreement or any applicable law or
        order or otherwise.

               1.1.81     “Imerys/Cyprus Settlement” means the settlement and release of
        disputes between LLT (or the Debtor as successor to LLT) and J&J, on the one hand, and
        Imerys, Cyprus, and their respective Affiliates, on the other hand, pursuant to the
        Imerys/Cyprus Settlement Agreement.

                1.1.82      “Imerys/Cyprus Settlement Agreement” means the Amended and
        Restated Settlement Agreement and Release, dated as of September 20, 2024, by and
        among the Debtor, J&J, and Imerys, Cyprus, and their respective Affiliates that are parties
        thereto, and, solely with respect to specified sections thereof, Rio Tinto America Inc. and
        Zurich American Insurance Company, as the same may be amended or amended and
        restated from time to time.

               1.1.83    “Imerys/Cyprus Settlement Closing Date” means the date, if any, on
        which the Imerys/Cyprus Settlement is consummated and becomes fully effective.

                1.1.84    “Imerys/Cyprus Settlement Termination Date” means the date, if
        any, on which the Imerys/Cyprus Settlement Agreement is terminated in accordance with
        its terms.

               1.1.85     “Impaired” means, as to any Claim, Class of Claims, or Interest, that
        such Claim, Class of Claims, or Interest is impaired within the meaning of section 1124 of
        the Bankruptcy Code.

               1.1.86      “Indemnity Cost Funding Agreement” means that certain Third
        Amended and Restated Funding Agreement, dated December 4, 2024, by and between New
        Holdco, as payor, and the Debtor, as payee, pursuant to which New Holdco is obligated to
        provide funds for the payment by the Debtor or Reorganized Debtor of, among other things,
        the Cash Contributions pursuant to the Plan, on and subject to the terms thereof, as the
        same may be amended or amended and restated from time to time.


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                1.1.87      “Indirect Talc Personal Injury Claim” means a Talc Personal Injury
        Claim for contribution, reimbursement, subrogation, or indemnity (as those terms are
        defined by applicable non-bankruptcy law of the relevant jurisdiction), whether contractual
        or implied by law, and any other indirect Talc Personal Injury Claim, whether in the nature
        of or sounding in contract, tort, warranty, or other theory of law. For the avoidance of
        doubt: (a) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, Indirect Talc
        Personal Injury Clams include any Talc Personal Injury Claim of any Imerys/Cyprus Party
        for contribution, reimbursement, subrogation, or indemnity under any Imerys/Cyprus
        Agreement or any applicable law or order or otherwise and any Talc Personal Injury Claim
        by any Imerys/Cyprus Party for any damages, including incidental, consequential, or
        indirect damages (including lost benefits, loss of enterprise value, diminution in value, or
        loss of goodwill), under or in connection with any Imerys/Cyprus Agreement or any
        applicable law or order, whether based on an alleged breach, default, or violation thereof
        or any other legal theory (which shall include any Claim for cure arising out of any alleged
        breach, default, or violation under any Imerys/Cyprus Agreement at the time such
        Imerys/Cyprus Agreement is assumed by the Debtor under section 365 of the Bankruptcy
        Code); and (b) Indirect Talc Personal Injury Claims do not include (i) any Direct Talc
        Personal Injury Claim, regardless of whether such claim is seeking compensatory, special,
        economic, non-economic, punitive, exemplary, administrative, or any other costs or
        damages, or any legal, equitable, or other relief whatsoever, including pursuant to a
        settlement, judgment, or verdict, or (ii) if the provisions of Section 4.9.3 and Section 5.9.1
        are applicable, any claim against any Imerys/Cyprus Party based on, arising out of, or in
        any way relating to the Imerys/Cyprus Related Rights.

                1.1.88     “Injunctions” means the Discharge Injunction, the Channeling
        Injunction, the Insurance Entity Injunction, the Release Injunction, the Exculpation
        Injunction, and any other injunctions entered by the Bankruptcy Court or the District Court
        in connection with Confirmation of the Plan.

               1.1.89      “Insurance Entity Injunction” means the injunction described in
        Section 11.3.2.

                1.1.90      “Intercompany Claim” means any Claim (including Claims related to
        setoff rights) held against the Debtor by any Affiliate of the Debtor.

                 1.1.91      “Interest” means the rights of any holder of the equity of the Debtor
        and the rights of any Person to purchase or demand the issuance of any equity of the Debtor,
        including: (a) redemption, conversion, exchange, voting, participation, and distribution
        rights; (b) liquidation preferences; and (c) any option and warrant rights.

                1.1.92      “Internal Revenue Code” means title 26 of the United States Code, 26
        U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
        modifications, and replacements of the foregoing as the same may exist on any relevant
        date to the extent applicable to the Chapter 11 Case.

              1.1.93       “IRS” means the Internal Revenue Service of the United States of
        America.

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                 1.1.94    “J&J” means Johnson & Johnson, a New Jersey corporation.

                1.1.95     “Judgment Claim” means any Direct Talc Personal Injury Claim that
        has been adjudicated in state or federal court and resulted in the entry prior to the Effective
        Date of a judgment in favor of the holder of such Direct Talc Personal Injury Claim,
        whether such judgment was final and non-appealable or remained subject to appeal as of
        the Effective Date.

                 1.1.96     “LLT” means the former Texas limited liability company named LLT
        Management LLC, which, as part of the Prepetition Corporate Restructuring, ceased to
        exist pursuant to a merger thereof with and into Holdco, with Holdco as the surviving
        entity, including all names and historical forms thereof.

                1.1.97     “Love Proceeding” means the legal proceedings commenced by the
        class action complaint filed on May 22, 2024, in the United States District Court for the
        District of New Jersey, Case Number 3:24-cv-06320, by Rebecca Love, D.D.S., Sharon
        Murphy, William A. Henry, Alishia Gayle Davis, and Brandi Carl, both individually and
        on behalf of a proposed class, against, among others, LLT and J&J, and all claims, causes
        of action, and requests for relief asserted therein.

                1.1.98      “Lung Cancer” means a primary lung cancer (i.e., a lung cancer that
        originates in the lungs and is unrelated to any previous cancer as opposed to a lung cancer
        that has spread to the lungs from another part of the body).

               1.1.99     “Master Settlement Agreement Claims” means Direct Talc Personal
        Injury Claims that are entitled to be considered for settlement and, if such Direct Talc
        Personal Injury Claims qualify for settlement, settled under the Master Settlement
        Agreements.

               1.1.100    “Master Settlement Agreements” means those certain master
        settlement agreements, dated on or before the Petition Date, executed by LLT, J&J, and
        law firms representing certain holders of Talc Personal Injury Claims, pursuant to which
        Talc Personal Injury Claims may be considered for settlement and, if such Talc Personal
        Injury Claims qualify for settlement, settled, as such agreements may have been and may
        be amended, modified, or supplemented pursuant to the terms thereof.

                1.1.101     “Mesothelioma” means the type of cancer that develops from the
        mesothelium, i.e., the thin layer of tissue that covers certain internal organs including the
        pleural, peritoneal, and pericardial cavities.

                1.1.102    “New Holdco” means Johnson & Johnson Holdco (NA) Inc. (formerly
        named J&J Intermediate Holding Corp.), a New Jersey corporation that was formed as part
        of the Prepetition Corporate Restructuring and owns 100% of the membership interests in
        the Debtor as a result of the Prepetition Corporate Restructuring.

                 1.1.103   “Non-Talc Claim” means any Claim that is not a Talc Personal Injury
        Claim.


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                1.1.104    “Old JJCI” means the former Texas limited liability company named
        Chenango Zero LLC, which, as part of the 2021 Corporate Restructuring, (a) was the
        surviving entity in a merger with Johnson & Johnson Consumer Inc., a New Jersey
        corporation, and (b) following such merger, ceased to exist pursuant to a divisional merger
        thereof, including all names and historical forms thereof.

               1.1.105     “Ordinary Course Professionals Order” means any order of the
        Bankruptcy Court authorizing the retention and compensation of Professionals utilized by
        the Debtor in the ordinary course of business.

               1.1.106    “Other Disease Talc Personal Injury Claim” means any Direct Talc
        Personal Injury Claim that alleges that the relevant injured or deceased individual
        developed a disease other than Mesothelioma, Lung Cancer, Ovarian Cancer, or
        Gynecological Cancer (and not Mesothelioma, Lung Cancer, Ovarian Cancer, or
        Gynecological Cancer) in connection with such individual’s use of talc or a product or
        material containing talc.

               1.1.107      “Ovarian Cancer” means epithelial cancer that originates in the
        ovaries, fallopian tubes, and/or peritoneum, with: (a) serious, endometrioid, clear cell, or
        undifferentiated subtype; or (b) a mixture of subtypes that includes one or more of the
        subtypes specified in the immediately preceding clause (a).

                1.1.108     “Ovarian/Gynecological Cancer Talc Personal Injury Claim”
        means any Direct Talc Personal Injury Claim that alleges that the relevant injured or
        deceased individual developed Ovarian Cancer or Gynecological Cancer (and not
        Mesothelioma, Lung Cancer, or any other disease) in connection with such individual’s
        use of talc or a product or material containing talc.

                 1.1.109    “Person” means an individual, corporation, partnership, joint venture,
        association, joint stock company, limited liability company, limited liability partnership,
        trust, estate, unincorporated organization, governmental unit, or other entity.

                1.1.110    “Petition Date” means the date on which the Debtor files its petition for
        relief under chapter 11 of the Bankruptcy Code commencing the Chapter 11 Case.

               1.1.111     “Plan” means this Second Amended Prepackaged Chapter 11 Plan of
        Reorganization of the Debtor, as the same may be amended or modified from time to time
        pursuant to section 1127 of the Bankruptcy Code.

                1.1.112     “Plan Documents” means the Plan, the Disclosure Statement, and all
        of the exhibits and schedules attached to any of the foregoing (including, for the avoidance
        of doubt, the Talc Personal Injury Trust Documents and the Cooperation Agreement).

                1.1.113      “Plan Supplement” means any documents or forms of documents
        related to the Plan that have been delivered to the parties to which the Disclosure Statement
        was delivered, each of which shall be in form and substance reasonably acceptable to LLT
        and J&J, as such documents or forms of documents may be amended, modified, or
        supplemented before the Effective Date. Any Plan Supplement will be distributed to the

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        same parties and in the same manner as the Disclosure Statement at least twenty-eight (28)
        days prior to the deadline for the submission of votes on the Plan. A copy of any Plan
        Supplement will also be available for review on the Claims Agent’s website free of charge
        at https://dm.epiq11.com/redrivertalc.

                1.1.114     “Postpetition Interest” means, for the period following the Petition
        Date: (a) interest at the rate set forth in the contract or other applicable document between
        the holder of a Claim and the Debtor giving rise to such holder’s Claim, but excluding, for
        the avoidance of doubt, interest at any default rate; (b) if no such rate exists, interest at the
        federal judgment rate; or (c) such interest, if any, as otherwise agreed to by the holder of a
        Claim and the Debtor.

                1.1.115    “Prepetition Corporate Restructuring” means, collectively, the
        transactions comprising the corporate restructuring of LLT and Holdco that was undertaken
        and completed on August 19, 2024, as part of which (a) LLT and Holdco ceased to exist
        and (b) the Debtor and New Holdco were formed.

                1.1.116    “Priority Non-Tax Claim” means any Claim entitled to priority
        pursuant to section 507(a) of the Bankruptcy Code, other than an Administrative Claim or
        a Priority Tax Claim.

                1.1.117    “Priority Tax Claim” means any Claim entitled to priority pursuant to
        section 507(a)(8) of the Bankruptcy Code.

                1.1.118    “Private Resolution Process MSA” means a master settlement
        agreement, in form and substance reasonably acceptable to the Debtor, J&J, the AHC of
        Supporting Counsel, the SLF, and the TCC, among J&J, the Debtor, and each law firm
        representing holders of Talc Personal Injury Claims party thereto, the initial draft of which
        shall be prepared by J&J consistent with the terms of prior master settlement agreements
        entered into by J&J, providing, upon the occurrence and satisfaction of any specified
        conditions set forth therein, for the implementation of a private mass tort resolution
        program to resolve Channeled Talc Personal Injury Claims in the event that, following the
        Effective Date, the Talc Personal Injury Trust is dissolved pursuant to clause (y) of Section
        7.3(b) of the Talc Personal Injury Trust Agreement.

               1.1.119    “Professional” means any Person retained or to be compensated
        pursuant to sections 327, 328, 330, 363(b), 503(b), 524(g)(4)(B)(i), or 1103 of the
        Bankruptcy Code, including any professional retained by the TCC or the FCR.

               1.1.120    “Proof of Claim” means any proof of claim filed with the Bankruptcy
        Court or the Claims Agent pursuant to section 501 of the Bankruptcy Code and Bankruptcy
        Rules 3001 or 3002 that asserts a Claim against the Debtor.

                 1.1.121      “Protected Party” means any and all of the following:

                        (a)      the Debtor and its Representatives;

                        (b)      the Reorganized Debtor and its Representatives;

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                       (c)     the Debtor Corporate Parties and their respective Representatives;

                       (d)     the Settling Talc Insurance Companies;

                        (e)     any and all Persons listed on Schedule 3, each of which is a third-
        party retailer that sold Old JJCI’s talc-containing products or a third party to which the
        Debtor has contractual indemnification obligations relating to Old JJCI’s talc-containing
        products;

                       (f)    if (i) the Imerys/Cyprus Settlement Agreement has not been fully
        executed prior to or on the Effective Date, (ii) the Imerys/Cyprus Settlement Agreement
        has been fully executed prior to or on the Effective Date and the Imerys/Cyprus Settlement
        Termination Date has occurred prior to or on the Effective Date, or (iii) the Imerys/Cyprus
        Settlement Agreement has been fully executed prior to or on the Effective Date and neither
        the Imerys/Cyprus Settlement Termination Date nor the Imerys/Cyprus Settlement Closing
        Date has occurred prior to or on the Effective Date, the Imerys/Cyprus Parties; provided,
        however, that, in the case of clause (iii), only so long as the Imerys/Cyprus Settlement
        Closing Date has not occurred;

                        (g)      Persons that, pursuant to the Plan or on or after the Effective Date,
        become a direct or indirect transferee of, or successor to, any assets of the Debtor or the
        Reorganized Debtor, or the Talc Personal Injury Trust, but only to the extent that liability
        is asserted to exist by reason of such Person becoming such a transferee or successor;

                        (h)     Persons that, pursuant to the Plan or on or after the Effective Date,
        make a loan to the Debtor or the Reorganized Debtor, or the Talc Personal Injury Trust, or
        to a successor to, or transferee of, any assets of the Debtor or the Reorganized Debtor, or
        the Talc Personal Injury Trust, but only to the extent that liability is asserted to exist by
        reason of it becoming such a lender; and

                       (i)    Persons that are alleged to be directly or indirectly liable for the
        conduct of, claims against, or demands on the Debtor or the Reorganized Debtor, or the
        Talc Personal Injury Trust, to the extent that such alleged liability arises by reason of one
        or more of the following:

                              (i)     such Person’s ownership of a financial interest in the
                       Debtor or the Reorganized Debtor, a past or present affiliate of a Debtor or
                       Reorganized Debtor, or a predecessor in interest of a Debtor or Reorganized
                       Debtor (including Old JJCI);

                               (ii)   such Person’s involvement in the management of the
                       Debtor or the Reorganized Debtor or a predecessor in interest of the Debtor
                       or the Reorganized Debtor (including Old JJCI);

                               (iii)  such Person’s service as an officer, manager, or employee
                       of the Debtor or the Reorganized Debtor, a past or present affiliate of the
                       Debtor or the Reorganized Debtor, a predecessor in interest of the Debtor
                       or the Reorganized Debtor (including Old JJCI), or a Person that owns or at

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                        any time has owned a financial interest in the Debtor or the Reorganized
                        Debtor, a past or present affiliate of the Debtor or the Reorganized Debtor,
                        or a predecessor in interest of the Debtor or the Reorganized Debtor
                        (including Old JJCI); and

                               (iv)     such Person’s involvement in a transaction changing the
                       corporate structure (including the 2021 Corporate Restructuring and the
                       Prepetition Corporate Restructuring), or in a loan or other financial
                       transaction affecting the financial condition, of the Debtor or the
                       Reorganized Debtor, a past or present affiliate of the Debtor or the
                       Reorganized Debtor, a predecessor in interest of the Debtor or the
                       Reorganized Debtor (including Old JJCI), or a Person that owns or at any
                       time has owned a financial interest in the Debtor or the Reorganized Debtor,
                       a past or present affiliate of the Debtor or the Reorganized Debtor, or a
                       predecessor in interest of the Debtor or the Reorganized Debtor (including
                       Old JJCI), including (A) involvement in providing financing (debt or
                       equity) or advice to a Person involved in such a transaction or (B) acquiring
                       or selling a financial interest in any Person as a part of such transaction.

                1.1.122    “Recovery Actions” means, collectively and individually, preference
        actions, fraudulent conveyance actions, and other claims or causes of action under
        sections 510, 544, 547, 548, 549, 550, and 553(b) of the Bankruptcy Code and other similar
        state law claims and causes of action.

                1.1.123    “Reinstated” or “Reinstatement” means, with respect to Claims and
        Interests, the Claim or Interest shall be rendered Unimpaired in accordance with
        section 1124 of the Bankruptcy Code.

               1.1.124   “Reinstated Non-Talc Claims” means, collectively, all Secured
        Claims, Unsecured Claims, and Intercompany Claims.

                 1.1.125   “Release Injunction” means the injunction described in Section 11.2.3.

               1.1.126     “Released Parties” means each of: (a) the Debtor; (b) the Reorganized
        Debtor; (c) the Debtor Corporate Parties; and (d) to the fullest extent permitted by
        applicable law, with respect to each of the foregoing Persons in clauses (a)-(c), each such
        Person’s Representatives.

               1.1.127    “Releasing Claim Holder” means a holder of a Channeled Talc
        Personal Injury Claim.

                 1.1.128   “Reorganized Debtor” means the Debtor on and after the Effective
        Date.

              1.1.129    “Reorganized Debtor Payment Default” means the failure by the
        Reorganized Debtor to pay when due any amount owed under the Talc PI Note.



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               1.1.130    “Reorganized Debtor Payment Event of Default” means a
        Reorganized Debtor Payment Default that is not remedied within thirty (30) days after the
        Reorganized Debtor has received written notice of such Reorganized Debtor Payment
        Default from the Talc Personal Injury Trust.

                1.1.131     “Representatives” means, with respect to any Person, such Person’s
        current and former: (a) officers, directors, managers, employees, agents, and nominees;
        and (b) financial advisors, attorneys, accountants, investment bankers, consultants, experts,
        and other professionals; in each case solely in their capacity as such.

               1.1.132     “Retained Professionals” means the professionals retained in the
        Chapter 11 Case by the Debtor, the TCC, or the FCR, including financial advisors,
        attorneys, accountants, investment bankers, and consultants.

                1.1.133     “Retained Rights of Action” means any claims, demands, rights, and
        causes of action that the Debtor or its Estate may hold against any Person that are not
        transferred or assigned under the Plan to the Talc Personal Injury Trust, including: (a) any
        Recovery Actions; (b) any right of contribution, reimbursement, subrogation, or
        indemnification, or similar rights, that the Debtor has against any Person in respect of Talc
        Personal Injury Claims under contract or applicable law (other than, if the provisions of
        Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus Related Rights); and
        (c) the causes of action listed or described on Exhibit F.

                1.1.134   “Schedules” means any schedules of assets and liabilities and
        statements of financial affairs of the Debtor filed on the Docket in accordance with
        section 521 of the Bankruptcy Code, as any such schedules and statements may be
        amended or supplemented from time to time.

              1.1.135     “Secondment Agreement” means that certain Amended and Restated
        Secondment Agreement, dated as of October 12, 2021, executed by LLT and Johnson &
        Johnson Services, Inc., a New Jersey corporation.

                1.1.136    “Secured Claim” means a Claim, or any portion thereof: (a) secured
        by a lien on property in which the Estate has an interest, which lien is valid, perfected, and
        enforceable pursuant to applicable law or by reason of a Final Order, to the extent of the
        value of the creditor’s interest in the Estate’s interest in such property as determined
        pursuant to section 506(a) of the Bankruptcy Code; (b) subject to setoff pursuant to
        section 553 of the Bankruptcy Code, to the extent of the amount subject to setoff as
        determined pursuant to section 506(a) of the Bankruptcy Code; or (c) Allowed as secured
        pursuant to the Plan or any Final Order as a secured Claim.

               1.1.137    “Settled Talc Insurance Policy” means any Talc Insurance Policy as
        to which the Talc Insurance Rights thereunder have been released pursuant to a Talc
        Insurance Settlement Agreement.

                1.1.138    “Settling Talc Insurance Company” means, solely with respect to
        Settled Talc Insurance Policies:


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                       (a)     any Talc Insurance Company that contributes funds, proceeds, or
        other consideration in respect of Channeled Talc Personal Injury Claims and is designated,
        with the consent of the Debtor, in the Confirmation Order as a Settling Talc Insurance
        Company, which shall include the Specified Settling Insurers; and

                       (b)     any Talc Insurance Company that contributes funds, proceeds, or
        other consideration in respect of Channeled Talc Personal Injury Claims and is designated
        as a Settling Talc Insurance Company by the Talc Personal Injury Trust (acting through
        the Reorganized Debtor, as its subrogee having the exclusive right to negotiate and enter
        into Talc Insurance Settlement Agreements) on or after the Effective Date; provided,
        however, that any addition to the list of Protected Parties on or after the Effective Date does
        not become effective until entry of a Final Order approving the addition.

                 1.1.139   “SLF” means The Smith Law Firm, PLLC.

                1.1.140     “Specified Insurance Settlement Agreements” means those certain
        Confidential Settlement and Release Agreements dated May [●], 2024, by and among J&J
        and related parties, including LLT, on the one hand, and the Specified Settling Insurers, on
        the other hand.

                1.1.141     “Specified Settling Insurers” means, collectively, AIG Europe S.A.
        (as successor in interest to L’Union Atlantique d’Assurances S.A.), AIG Property Casualty
        Company (f/k/a Birmingham Fire Insurance Company of Pennsylvania), AIU Insurance
        Company, American International Surplus Lines Insurance Company, Granite State
        Insurance Company, Lexington Insurance Company, The Insurance Company of the State
        of Pennsylvania, National Union Fire Insurance Company of Pittsburgh, Pa, New
        Hampshire Insurance Company, Wellfleet New York Insurance Company (f/k/a Atlanta
        International Insurance Company, as successor in interest to Drake Insurance Company),
        Starr Indemnity Liability Company (as successor in interest to Republic Insurance
        Company), Safety National Casualty Corporation f/k/a Safety Mutual Casualty
        Corporation, Berkshire Hathaway Specialty Insurance Co. (formerly known as Stonewall
        Insurance Co.), The Continental Insurance Company (for itself and as successor to certain
        policies issued by London Guarantee and Accident Company of New York and Harbor
        Insurance Company), ASR Schadeverzekering N.V. (as successor in interest to
        Assurantiekoor Van Wijk & Co.), Rheinland Versicherungen (as successor in interest only
        to the subscriptions of the former Dutch Company Rheinland Verzekeringen), and N.V.
        Schadeverzekeringsmaatschappij Maas Lloyd (individually and as successor in interest to
        policies subscribed in favor of J&J by N.V. Rotterdamse Assurantiekas, n/k/a De Ark),
        each solely in its capacity as a party to the Specified Insurance Settlement Agreements.

                 1.1.142   “Supreme Court” means the United States Supreme Court.

               1.1.143     “Talc In-Place Insurance Coverage” means all of the Talc Insurance
        Rights under any Talc Insurance Policy that is not a Settled Talc Insurance Policy,
        including the right to payment or reimbursement of liability, indemnity, or defense costs
        incurred on or after the Effective Date arising out of or in any way relating to Channeled


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        Talc Personal Injury Claims (other than Master Settlement Agreement Claims and
        Judgment Claims).

                1.1.144    “Talc Insurance Action” means any claim, cause of action, or right of
        the Debtor under the laws of any jurisdiction against any Talc Insurance Company with
        respect to any Channeled Talc Personal Injury Claim (other than Master Settlement
        Agreement Claims and Judgment Claims) based on, arising out of, or in any way relating
        to: (a) any such Talc Insurance Company’s failure to provide coverage or otherwise pay
        in respect of Talc In-Place Insurance Coverage; (b) the refusal of any Talc Insurance
        Company to compromise and settle any such Channeled Talc Personal Injury Claim under
        or pursuant to any Talc Insurance Policy; (c) the interpretation or enforcement of the terms
        of any Talc Insurance Policy with respect to any such Channeled Talc Personal Injury
        Claim; (d) any conduct by a Talc Insurance Company constituting “bad faith,” conduct that
        could give rise to extra-contractual damages, or other wrongful conduct under applicable
        law, in each case with respect to any such Channeled Talc Personal Injury Claim; or (e)
        any other dispute under, arising out of, or in any way relating to Talc In-Place Insurance
        Coverage or other Talc Insurance Rights. Notwithstanding the foregoing, and for the
        avoidance of doubt, Talc Insurance Action shall not include any claim, cause of action, or
        right of the Debtor under the laws of any jurisdiction against any Talc Insurance Company
        with respect to amounts expended prior to the Effective Date.

                1.1.145    “Talc Insurance Assets” means (a) all Talc In-Place Insurance
        Coverage, (b) all Talc Insurance Actions, (c) all Talc Insurance Recoveries, and (d) all Talc
        Insurance Settlement Agreements entered into after the Effective Date. Notwithstanding
        the foregoing, and for the avoidance of doubt, Talc Insurance Assets do not include Talc
        Insurance Policies themselves, any rights to coverage held by any entity other than the
        Debtor, any rights to coverage under Talc Insurance Policies for amounts expended prior
        to the Effective Date, or any rights under Talc Insurance Policies that are not related to the
        Debtor’s coverage or rights to coverage for Channeled Talc Personal Injury Claims
        (excluding Master Settlement Agreement Claims and Judgment Claims).

               1.1.146     “Talc Insurance Company” means any insurance company, insurance
        syndicate, coverholder, insurance broker or syndicate insurance broker, guaranty
        association, or any other Person that may have liability under a Talc Insurance Policy.

                1.1.147    “Talc Insurance Policy” means any insurance policy, currently or
        previously in effect at any time on or before the Effective Date, as to which the Debtor has
        rights as an insured, additional insured, successor, beneficiary, or otherwise, solely to the
        extent such policy provides the Debtor with coverage or a right to coverage for Channeled
        Talc Personal Injury Claims (other than Master Settlement Agreement Claims and
        Judgment Claims), including the policies listed on Exhibit G. For the avoidance of doubt,
        Talc Insurance Policies shall not include any policy providing reinsurance to any Settling
        Talc Insurance Company.

               1.1.148     “Talc Insurance Recoveries” means (a) the right to receive proceeds
        of Talc In-Place Insurance Coverage (including any receivables), (b) the right to receive
        the proceeds or benefits of any Talc Insurance Action, and (c) the right to receive amounts

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        payable pursuant to any Talc Insurance Settlement Agreement, in each case, except in
        respect of amounts expended prior to the Effective Date.

                1.1.149    “Talc Insurance Rights” means all rights of the Debtor to make claims
        under the Talc Insurance Policies with respect to Channeled Talc Personal Injury Claims
        (other than Master Settlement Agreement Claims and Judgment Claims). Notwithstanding
        the foregoing, and for the avoidance of doubt, Talc Insurance Rights do not include rights
        of the Debtor to make claims under the Talc Insurance Policies for amounts expended prior
        to the Effective Date.

               1.1.150     “Talc Insurance Settlement Agreement” means any settlement
        agreement, or that portion of any settlement agreement, pursuant to which Talc Insurance
        Rights are released, including the Specified Insurance Settlement Agreements.

               1.1.151      “Talc Insurer Coverage Defense” means all rights and defenses that
        any Talc Insurance Company may have under any Talc Insurance Policy and applicable
        law with respect to a claim seeking insurance coverage for a Channeled Talc Personal
        Injury Claim (other than a Master Settlement Agreement Claim or Judgment Claim) or to
        a Talc Insurance Action, but Talc Insurer Coverage Defenses do not include: (a) any
        defense that the Plan or any other Plan Document does not comply with the Bankruptcy
        Code; or (b) any defense that the transfer and assignment of the Talc Insurance Assets to
        the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action contemplated
        by Section 4.9.4, is prohibited by the Talc Insurance Policies or applicable non-bankruptcy
        law.

                1.1.152      “Talc Personal Injury Claim” means any claim or Talc Personal Injury
        Demand against the Debtor, LLT, Old JJCI, or any other Protected Party, whether known
        or unknown, including with respect to any manner of alleged bodily injury, death, sickness,
        disease, emotional distress, fear of cancer, medical monitoring, or any other alleged
        personal injuries (whether physical, emotional, or otherwise), directly or indirectly arising
        out of or in any way relating to the presence of or exposure to talc or talc-containing
        products based on the alleged pre-Effective Date acts or omissions of the Debtor, LLT, Old
        JJCI, or any other Person, but, in the case of such acts or omissions of LLT, Old JJCI or
        any other Person (other than the Debtor) only to the extent the Debtor has, or is alleged to
        have, liability for LLT’s, Old JJCI’s, or such other Person’s conduct, whether by operation
        of the law, by assumption of such liability from LLT, Old JJCI, or such other Person, by
        agreement to indemnify, defend, or hold harmless LLT, Old JJCI, or such other Person
        from and against such liability, or otherwise. For the avoidance of doubt, Talc Personal
        Injury Claims include: (a) all such claims and Talc Personal Injury Demands directly or
        indirectly arising out of or in any way relating to (i) any talc or talc-containing products
        previously mined, processed, manufactured, designed, marketed, fabricated, constructed,
        sold, supplied, produced, installed, maintained, serviced, specified, selected, repaired,
        removed, replaced, released, distributed, and/or in any other way made available by the
        Debtor or any other Person, (ii) any talc or talc-containing materials present at any premises
        owned, leased, occupied, or operated by any Person, or (iii) any talc in any way connected
        to the Debtor alleged to contain asbestos or other contaminant; (b) all such claims and Talc
        Personal Injury Demands, whether (i) in tort, contract, warranty, restitution, conspiracy,

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        guarantee, or any other theory of law, equity, or admiralty, whether brought, threatened, or
        pursued in any United States court or other court anywhere in the world, (ii) liquidated or
        unliquidated, fixed or contingent, direct or indirect, disputed or undisputed, matured or
        unmatured, known or unknown, foreseen or unforeseen, now existing or hereafter arising,
        in law, equity, or otherwise (including under piercing the corporate veil, agency, alter ego,
        successor liability, fraudulent conveyance, conspiracy, enterprise liability, market share,
        joint venture, or any other legal or equitable theory), (iii) seeking compensatory, special,
        economic, non-economic, punitive, exemplary, administrative, or any other costs, fees,
        injunctive, or similar relief, or any other measure of damages, (iv) seeking any legal,
        equitable, or other relief of any kind whatsoever, or (v) held by Persons residing within the
        United States or in a foreign jurisdiction; (c) all such claims and Talc Personal Injury
        Demands that have been resolved or are subject to resolution pursuant to any agreement or
        that are based on a judgment or verdict; (d) all such claims and Talc Personal Injury
        Demands for compensatory damages (such as, without limitation, loss of consortium,
        medical monitoring, personal or bodily injury, wrongful death, survivorship, proximate,
        consequential, general, and special damages) and punitive damages; and (e) Indirect Talc
        Personal Injury Claims. Notwithstanding the foregoing, Talc Personal Injury Claims do
        not include: (A) any claim or demand by any present or former employee of a predecessor
        or Affiliate of the Debtor for benefits under a policy of workers’ compensation insurance
        or for benefits under any state or federal workers’ compensation statute or other statute
        providing compensation to an employee from an employer; (B) any claim or demand that
        (I) alleges that the relevant injured or deceased individual was exposed to talc or the
        product or material containing talc, as applicable, in Canada or resided in Canada at the
        time such Direct Talc Personal Injury Claim is filed or (II) was brought, threatened, or
        pursued in any court in Canada; (C) any claim or demand asserted or assertable by or on
        behalf of any governmental unit under any federal, state, international, or foreign consumer
        or employee protection rule, statute, or regulation; or (D) any claim or demand that alleges
        that the relevant injured or deceased individual developed Mesothelioma or Lung Cancer
        (and not Ovarian Cancer, Gynecological Cancer, or any other disease) in connection with
        such individual’s use of talc or a product or material containing talc; in each case, other
        than any such claim that is an Indirect Talc Personal Injury Claim of an Imerys/Cyprus
        Party. In addition, notwithstanding the foregoing, Talc Personal Injury Claims do not
        include any claim or demand that a Settling Talc Insurance Company may have against its
        reinsurers and/or retrocessionaires in their capacities as such, and nothing in the Plan, the
        Plan Documents, or the Confirmation Order shall impair or otherwise affect the ability of
        a Settling Talc Insurance Company to assert any such claim or demand against its
        reinsurers and/or retrocessionaires in their capacities as such.

                1.1.153     “Talc Personal Injury Demand” means a demand for payment, present
        or future, against the Debtor or any other Protected Party that: (a) is in respect of an injury
        that manifests after the Effective Date; and (b) would have otherwise been a Claim that is
        a Talc Personal Injury Claim if such injury had manifested on or before the Effective Date.

               1.1.154     “Talc Personal Injury Trust” means the Red River Talc Personal
        Injury Trust established pursuant to the Talc Personal Injury Trust Agreement.



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              1.1.155     “Talc Personal Injury Trust Agreement” means that certain trust
        agreement, substantially in the form of Exhibit H.

                 1.1.156    “Talc Personal Injury Trust Defenses” means all defenses,
        cross-claims, offsets, and recoupments regarding Channeled Talc Personal Injury Claims
        that the Debtor, the Reorganized Debtor, or J&J has (or would have had absent the
        assumption by the Talc Personal Injury Trust of liabilities, obligations, and responsibilities
        for the Channeled Talc Personal Injury Claims as contemplated by Section 4.7.1) against
        any Person under applicable law; provided, however, that the Talc Personal Injury Trust
        Defenses shall not include: (a) any defenses, cross-claims, offsets, or recoupments against
        any Protected Party or any Talc Insurance Company; (b) any Retained Rights of Action, or
        (c) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, any Imerys/Cyprus
        Related Rights.

               1.1.157      “Talc Personal Injury Trust Documents” means the Talc Personal
        Injury Trust Agreement, the Trust Distribution Procedures, and all other agreements,
        instruments, and documents governing the establishment, administration, and operation of
        the Talc Personal Injury Trust, which shall be substantially in the form set forth as exhibits
        hereto or in a Plan Supplement, as they may be amended or modified from time to time in
        accordance with their terms and the Plan.

                1.1.158    “Talc Personal Injury Trust Expenses” means any liabilities, costs,
        or expenses incurred by, imposed upon, or in respect of the Channeled Talc Personal Injury
        Trust once established (except for payments to holders of Talc Personal Injury Claims on
        account of such Claims). Talc Personal Injury Trust Expenses shall also expressly include
        the reasonable documented costs and expenses incurred by the Debtor, the Reorganized
        Debtor, or any Debtor Corporate Party in taking any action on behalf of or at the direction
        of the Talc Personal Injury Trust, if any.

               1.1.159       “Talc PI Note” means the note to be executed and delivered by the
        Reorganized Debtor in favor of the Talc Personal Injury Trust, in substantially the form of
        Exhibit I, in the principal amount of $388,000,000.00.

             1.1.160     “Talc PI Pledge” means the pledge by New Holdco of all of the
        membership interests of the Reorganized Debtor pursuant to the Talc PI Pledge Agreement.

               1.1.161     “Talc PI Pledge Agreement” means the Pledge Agreement,
        substantially in the form of Exhibit J, to be executed and delivered by New Holdco
        pursuant to which the Talc PI Pledge will be granted as security for payment of the Talc PI
        Note.

                1.1.162     “Talc Trust Advisory Committee” means the committee appointed
        and serving in accordance with Section 4.4, and having the powers, duties, and obligations
        set forth in the Talc Personal Injury Trust Agreement.

               1.1.163    “Talc Trust Advisory Committee Member” means any member of the
        Talc Trust Advisory Committee.


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               1.1.164     “Talc Trust Claims Administrator” means: (a) the Person who,
        pursuant to Section 4.5.1, is appointed by the Bankruptcy Court to serve as the initial claims
        administrator of the Talc Personal Injury Trust; or (b) any Person who is subsequently
        appointed to serve in such capacity pursuant to the terms of the Talc Personal Injury Trust
        Agreement.

                1.1.165    “Talc Trust Liens Resolution Administrator” means: (a) the Person
        who, pursuant to Section 4.5.2, is appointed by the Bankruptcy Court to serve as the initial
        liens resolution administrator of the Talc Personal Injury Trust; or (b) any Person who is
        subsequently appointed to serve in such capacity pursuant to the terms of the Talc Personal
        Injury Trust Agreement.

                1.1.166     “Talc Trustee” means: (a) the individual who, pursuant to Section 4.3,
        is appointed by the Bankruptcy Court to serve as the initial trustee of the Talc Personal
        Injury Trust; or (b) any individual who is subsequently appointed to serve in such capacity
        pursuant to the terms of the Talc Personal Injury Trust Agreement.

               1.1.167    “TCC” means the Official Committee of Talc Claimants appointed in
        the Chapter 11 Case.

               1.1.168    “Trust Distribution Procedures” means the Talc Personal Injury Trust
        Distribution Procedures, substantially in the form of Exhibit K.

                1.1.169     “Trust Expense Advancement Order” means any order of the
        Bankruptcy Court, which may include the Confirmation Order, authorizing the Debtor,
        prior to the Effective Date, to advance Cash that would otherwise be delivered to the Talc
        Personal Injury Trust on the Effective Date pursuant to Section 4.9.1(a) in order to enable
        set-up and claims processing work to be undertaken in advance of the Effective Date, so as
        to allow the Talc Personal Injury Trust to make payments in respect of compensable
        Channeled Talc Personal Injury Claims as soon as possible after the Effective Date, which
        order shall be in form and substance reasonably acceptable to the Debtor, J&J, the AHC of
        Supporting Counsel, the SLF, the TCC, and the FCR. For the avoidance of doubt, the
        Order (A) Authorizing the Debtors to (I) Establish and Fund Certain Limited Claims
        Processing Services and (II) Commence the Lien Resolution Process, (B) Authorizing it to
        Retain ARCHER Systems, LLC in Connection therewith and (C) Granting Related Relief
        entered by the Bankruptcy Court on [●], 2024 (Docket No. [●]), is a Trust Expense
        Advancement Order.

                1.1.170   “Unexpired Lease” means a lease to which the Debtor is a party that is
        subject to assumption or rejection under section 365 of the Bankruptcy Code.

               1.1.171    “Unimpaired” means, as to any Claim or Class of Claims, that such
        Claim or Class of Claims is not Impaired under the Plan.

               1.1.172    “United States Trustee” means the United States Trustee appointed
        under section 581 of title 28 of the United States Code to serve in the Southern District of
        Texas.


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                1.1.173   “Unsecured Claim” means a Claim against the Debtor that is not an
        Administrative Claim, a Channeled Talc Personal Injury Claim, a Cure Amount Claim, an
        Intercompany Claim, a Priority Non-Tax Claim, a Priority Tax Claim, or a Secured Claim.
        For the avoidance of doubt, Unsecured Claims include Defense Cost Claims.

        1.2    Interpretation; Application of Definitions; Rules of Construction; and Computation
of Time. The headings in the Plan are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof. Wherever from the context it appears appropriate, each
term stated in either the singular or the plural will include both the singular and the plural, and
pronouns stated in the masculine, feminine, or neuter gender will include the masculine, feminine,
and neuter. Unless otherwise specified, all Article, Section, Exhibit, or Schedule references in the
Plan are to the respective article or section of, or schedule or exhibit to, the Plan. The words
“herein,” “hereof,” “hereto,” “hereunder,” and other words of similar meaning refer to the Plan as
a whole and not to any particular article, section, subsection, or clause contained in the Plan. The
rules of construction contained in section 102 of the Bankruptcy Code will apply to the
construction of the Plan. Unless otherwise stated herein, all references to dollars mean U.S.
dollars. In computing any period of time prescribed or allowed by the Plan, unless otherwise
expressly provided, the provisions of Bankruptcy Rule 9006(a) will apply. The words “including”
or “includes” shall be without limitation.

        1.3    Availability of Plan and Exhibits. The plan and all exhibits and schedules to the
Plan will be available following their filing with the Bankruptcy Court on (a) the Court’s website:
www.ecf.txsb.uscourts.gov, and (b) the website maintained by the Claims Agent at
https://dm.epiq11.com/case/redrivertalc.

       1.4    Ancillary Documents. Each of the exhibits and schedules to the Plan (including the
Talc Personal Injury Trust Agreement, the Trust Distribution Procedures, and the Cooperation
Agreement), the Disclosure Statement and supplements thereto, and the exhibits and schedules to
the Disclosure Statement and the supplements thereto are an integral part of the Plan, and are
hereby incorporated by reference and made a part of the Plan.

                           ARTICLE II
    TREATMENT OF ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

        2.1      Administrative Claims.

                2.1.1       Allowed Administrative Claims. Holders of Allowed Administrative
        Claims (other than Fee Claims, which are governed by Section 2.2, and Cure Amount
        Claims, which are governed by Section 5.4), shall receive Cash equal to the unpaid portion
        of such Allowed Administrative Claims on the Distribution Date, in full satisfaction,
        settlement, release, and discharge of and in exchange for such Claims, or such other
        amounts and on such other terms as may be agreed to by the holders of such Claims and
        the Debtor or the Reorganized Debtor, as the case may be; provided, however, that:
        (a) Allowed Administrative Claims representing liabilities incurred on or after the Petition
        Date in the ordinary course of business by the Debtor shall be paid by the Debtor or the
        Reorganized Debtor, as the case may be, in accordance with the terms and conditions of
        the particular transactions and agreements relating to such liabilities without any further

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        action by the holders of such Claims or further approval of the Bankruptcy Court; and
        (b) holders of such Administrative Claims shall not be required to comply with the
        requirements set forth in Section 2.1.2.

                2.1.2       Administrative Claims Bar Date. Except as otherwise provided in this
        Article II, requests for payment of Administrative Claims (other than Fee Claims and Cure
        Amount Claims) must be filed and served on the Reorganized Debtor pursuant to the
        procedures specified in the Confirmation Order no later than sixty (60) days after the
        Effective Date. Holders of Administrative Claims that are required to, but do not, file and
        serve a request for payment of such Administrative Claims by the Administrative Claims
        Bar Date shall be forever barred, estopped, and enjoined from asserting such
        Administrative Claims against, as applicable, the Debtor or the Reorganized Debtor, or
        their property, and such Administrative Claims shall be deemed discharged as of the
        Effective Date. Objections to such requests, if any, must be filed and served on the
        Reorganized Debtor and the requesting party, as applicable, no later than ninety (90) days
        after the Effective Date, unless otherwise authorized by the Bankruptcy Rules or
        Bankruptcy Court. Notwithstanding the foregoing, no request for payment of an
        Administrative Claim need be filed with respect to an Administrative Claim previously
        Allowed by Final Order, including all Administrative Claims expressly Allowed under the
        Plan.

                2.1.3        Disputed Administrative Claims. If and to the extent that there are
        Disputed Administrative Claims, any such Disputed Administrative Claims, other than Fee
        Claims and Cure Amount Claims which shall be resolved pursuant to the provisions of
        Section 2.2 and Article V, as appliable, shall be resolved pursuant to the provisions set
        forth in Article VII. Distributions on account of any such Disputed Administrative Claims
        other than Fee Claims and Cure Amount Claims shall be made pursuant to the provisions
        set forth in Article VI.

        2.2      Fee Claims.

                 2.2.1      All (a) final fee requests for compensation or reimbursement of Fee
        Claims pursuant to section 327, 328, 329, 330, 331, 363(b), 503(b), or 1103 of the
        Bankruptcy Code for services rendered to the Debtor, the TCC, or the FCR, (b) Fee Claims
        of members of the TCC for reimbursement of expenses, and (c) requests or Claims under
        section 503(b)(4) of the Bankruptcy Code, must be filed and served on the Reorganized
        Debtor and other parties required to be served by the Compensation Procedures Order no
        later than forty-five (45) days after the Effective Date, unless otherwise ordered by the
        Bankruptcy Court. Any objections to a final Fee Claim or any requests or claims under
        section 503(b)(4) of the Bankruptcy Code must be filed no later than twenty (20) days after
        the filing of such Claim. The terms of the Compensation Procedures Order shall govern
        the allowance and payment of any final Fee Claims submitted in accordance with this
        Section 2.2.

               2.2.2       The amount of the Fee Claims owing to the Professionals on and after
        the Effective Date shall be paid by the Reorganized Debtor in Cash to such Professionals
        as soon as reasonably practicable after such Claims are Allowed by a Bankruptcy Court

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        order. Upon the Effective Date, any requirement that Professionals and Ordinary Course
        Professionals of the Reorganized Debtor comply with sections 327 through 331 and 1103
        of the Bankruptcy Code, the Compensation Procedures Order, or the Ordinary Course
        Professionals Order in seeking retention or compensation for services rendered after such
        date will terminate, and the Reorganized Debtor may employ and pay any Professional or
        Ordinary Course Professional in the ordinary course of business without any further notice
        to or action, order, or approval of the Bankruptcy Court.

        2.3    Payment of Statutory Fees. All fees payable under section 1930 of title 28 of the
United States Code, as determined at the Confirmation Hearing by the Bankruptcy Court or the
District Court, as applicable, shall be paid on or before the Effective Date. The Reorganized
Debtor shall pay all such fees that arise after the Effective Date, but before the closing of the
Chapter 11 Case, and shall comply with all applicable statutory reporting requirements.

        2.4     Allowed Priority Tax Claims. On the Distribution Date, holders of Allowed
Priority Tax Claims shall receive Cash equal to the amount of such Allowed Priority Tax Claims,
plus Postpetition Interest, if any, in full satisfaction, settlement, release, and discharge of and in
exchange for such Claims unless the holder of such Claim agrees to an alternative treatment.
Notwithstanding the provisions of this Section 2.4, any Claim on account of any penalty arising
with respect to or in connection with an Allowed Priority Tax Claim that does not compensate the
holder for actual pecuniary loss shall be treated as a Class 3 Claim, and the holder (other than as
the holder of a Class 3 Claim) may not assess or attempt to collect such penalty from the
Reorganized Debtor or its property.

                                 ARTICLE III
                 TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

        3.1     Claims and Interests Classified. For purposes of organization, voting, and all Plan
confirmation matters, all Claims (other than Administrative Claims and Priority Tax Claims)
against and Equity Interests in the Debtor are classified as set forth in this Article III. In
accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
Tax Claims, as described in Article II, have not been classified and are excluded from the following
Classes. A Claim or Interest is classified in a particular Class only to the extent that the Claim or
Interest falls within the description of such Class, and is classified in another Class or Classes to
the extent that any remainder of the Claim or Interest falls within the description of such other
Class or Classes. Notwithstanding anything to the contrary contained in the Plan, no Distribution
shall be made on account of any Non-Talc Claim that is not an Allowed Claim for distribution
purposes.

        3.2   Treatment and Classification of Claims and Interests. For purposes of all Plan
confirmation matters, including voting on, Confirmation of, and Distributions under, the Plan, all
Claims (other than Administrative Claims and Priority Tax Claims, which are not classified)
against and Equity Interests in the Debtor shall be classified and treated in the manner set forth
below.




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Class      Designation          Treatment Entitlement to Vote            Estimated Recovery

                                              Not Entitled to
          Priority Non-
 1                              Unimpaired   Vote (Presumed to                  100%
          Tax Claims
                                                  Accept)

                                              Not Entitled to
          Secured
 2                              Unimpaired   Vote (Presumed to                Reinstated
          Claims
                                                  Accept)

                                              Not Entitled to
          Unsecured
 3                              Unimpaired   Vote (Presumed to                Reinstated
          Claims
                                                  Accept)

          Channeled
                                             Entitled to Vote to
 4        Talc Personal          Impaired                                       100%
                                              Accept or Reject
          Injury Claims

                                              Not Entitled to
          Intercompany
 5                              Unimpaired   Vote (Presumed to                Reinstated
          Claims
                                                  Accept)

          Equity
                                             Entitled to Vote to              Reinstated
 6        Interests in           Impaired
                                              Accept or Reject         Subject to Talc PI Pledge
          the Debtor

                 3.2.1          Class 1 – Priority Non-Tax Claims

                       (a)         Classification: Class 1 consists of all Priority Non-Tax Claims
        against the Debtor.

                        (b)    Treatment: On the Distribution Date, each holder of an Allowed
        Class 1 Priority Non-Tax Claim shall receive Cash equal to the Allowed Amount of such
        Priority Non-Tax Claim plus Postpetition Interest thereon, unless the holder of such Claim,
        agrees to less favorable treatment.

                        (c)   Voting: Class 1 is Unimpaired, and each holder of a Claim in
        Class 1 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
        No holder of a Claim in Class 1 is entitled to vote to accept or reject the Plan.

                 3.2.2          Class 2 – Secured Claims

                          (a)      Classification: Class 2 consists of all Secured Claims against the
        Debtor.

                          (b)      Treatment: On the Effective Date, each Claim in Class 2 shall be
        Reinstated.

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                        (c)   Voting: Class 2 is Unimpaired, and each holder of a Claim in
        Class 2 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
        No holder of a Claim in Class 2 is entitled to vote to accept or reject the Plan.

                 3.2.3         Class 3 – Unsecured Claims

                      (a)    Classification: Class 3 consists of all Unsecured Claims, including
        Defense Cost Claims, against the Debtor.

                         (b)      Treatment: On the Effective Date, each Claim in Class 3 shall be
        Reinstated.

                        (c)   Voting: Class 3 is Unimpaired, and each holder of a Claim in
        Class 3 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
        No holder of a Claim in Class 3 is entitled to vote to accept or reject the Plan.

                 3.2.4         Class 4 – Channeled Talc Personal Injury Claims

                       (a)    Classification: Class 4 consists of all Channeled Talc Personal
        Injury Claims, including Channeled Indirect Talc Personal Injury Claims.

                       (b)    Treatment: On the Effective Date, liability for all Channeled Talc
        Personal Injury Claims, including Channeled Indirect Talc Personal Injury Claims, shall
        be channeled to and assumed by the Talc Personal Injury Trust without further act or deed
        and shall be resolved in accordance with the Talc Personal Injury Trust
        Documents. Pursuant to the Plan and Trust Distribution Procedures, each holder of a
        Channeled Talc Personal Injury Claim shall have its Channeled Talc Personal Injury Claim
        permanently channeled to the Talc Personal Injury Trust, and such Channeled Talc
        Personal Injury Claim shall thereafter be resolved in accordance with the Talc Personal
        Injury Trust Documents.

                       (c)     Voting: Class 4 is Impaired, and holders of Claims in Class 4 are
        entitled to vote to accept or reject the Plan in accordance with the voting procedures
        described in the Disclosure Statement.

                 3.2.5         Class 5 – Intercompany Claims

                         (a)      Classification: Class 5 consists of all Intercompany Claims.

                         (b)      Treatment: On the Effective Date, each Claim in Class 5 shall be
        Reinstated.

                       (c)    Voting: Class 5 is Unimpaired, and each holder of a Claim in
        Class 5 is conclusively deemed to have accepted the Plan pursuant to section 1126(f) of
        the Bankruptcy Code. No holder of a Claim in Class 5 is entitled to accept or reject the
        Plan.



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                 3.2.6         Class 6 – Equity Interests in the Debtor

                         (a)      Classification: Class 6 consists of all Equity Interests in the Debtor.

                       (b)     Treatment: On the Effective Date, Equity Interests in the Debtor
        shall be Reinstated, and the holder of such Interests shall retain such Interests, subject to
        the Talc PI Pledge.

                       (c)     Voting: Class 6 is Impaired, and each holder of an Equity Interest
        in the Debtor in Class 6 is entitled to vote to accept or reject the Plan.

        3.3     Debtor’s Rights with Respect to Unimpaired Claims. Nothing under the Plan shall
affect the rights of the Debtor or the Reorganized Debtor with respect to any Unimpaired Claims,
including all rights with respect to legal and equitable defenses to, or setoffs or recoupments
against, any such Unimpaired Claims.

        3.4     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
Debtor that, as of the commencement of the Confirmation Hearing, do not have at least one holder
of a Claim or Interest that is Allowed in an amount greater than $0.00 for voting purposes shall be
considered vacant, deemed eliminated from the Plan for purposes of voting to accept or reject the
Plan, and disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of
the Bankruptcy Code with respect to such Class.

                                         ARTICLE IV
                               THE TALC PERSONAL INJURY TRUST

        4.1    Establishment. On the first Business Day after the Confirmation Date, the Talc
Personal Injury Trust shall be created in accordance with the Plan Documents. The Talc Personal
Injury Trust shall be a “qualified settlement fund” within the meaning of the treasury regulations
issued under Section 468B of the Internal Revenue Code.

        4.2    Purpose. The purposes of the Talc Personal Injury Trust shall be to assume all
Channeled Talc Personal Injury Claims and, among other things, to: (a) preserve, hold, manage,
and maximize the assets of the Talc Personal Injury Trust; and (b) direct the processing,
liquidation, and, if appropriate, payment of all compensable Channeled Talc Personal Injury
Claims in accordance with the Plan, the Confirmation Order, and the Talc Personal Injury Trust
Documents. The Talc Personal Injury Trust will resolve Channeled Talc Personal Injury Claims
in accordance with the Plan, the Confirmation Order, and the Talc Personal Injury Trust
Documents in such a way that holders of Channeled Talc Personal Injury Claims are treated fairly
and equitably, and otherwise comply in all respects with the requirements of a trust set forth in
section 524(g)(2)(B)(i) of the Bankruptcy Code. In the event of a conflict between the terms or
provisions of the Plan and the Confirmation Order, on the one hand, and the Talc Personal Injury
Trust Documents, on the other hand, the terms or provisions of the Plan and the Confirmation
Order shall control. In the event of a conflict between the terms and provisions of the Plan, on the
one hand, and the Confirmation Order, on the other hand, the terms or provisions of the
Confirmation Order shall control.



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        4.3    Initial Talc Trustee. There shall be one Talc Trustee. The initial Talc Trustee of
the Talc Personal Injury Trust shall be Fouad Kurdi. All successor Talc Trustees shall be appointed
in accordance with the terms of the Talc Personal Injury Trust Agreement. For purposes of
performing his or her duties and fulfilling his or her obligations under the Plan, the Confirmation
Order, and the Talc Personal Injury Trust Agreement, each Talc Trustee shall be deemed to be
(and the Confirmation Order shall provide that he or she is) a “party in interest” within the meaning
of section 1109(b) of the Bankruptcy Code. The Talc Trustee shall be designated as the
“administrator” of the Talc Personal Injury Trust as such term is used in Treasury Regulation
Section 1.468B-2(k)(3).

        4.4      Initial Talc Trust Advisory Committee and FCR.

                 4.4.1      Initial Talc Trust Advisory Committee. The Talc Trust Advisory
        Committee shall be established pursuant to the Talc Personal Injury Trust Agreement. The
        initial Talc Trust Advisory Committee Members shall be the individuals identified as such
        in Exhibit H. Each of the Talc Trust Advisory Committee Members shall serve in
        accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.
        Successor Talc Trust Advisory Committee Members shall be appointed in accordance with
        the terms and provisions of the Talc Personal Injury Trust Agreement. For purposes of
        performing his or her duties and fulfilling his or her obligations under the Plan, the
        Confirmation Order, and the Talc Personal Injury Trust Agreement, each Talc Trust
        Advisory Committee Member shall be deemed to be (and the Confirmation Order shall
        provide that he or she is) a “party in interest” within the meaning of section 1109(b) of the
        Bankruptcy Code.

                 4.4.2      Initial FCR. The Talc Personal Injury Trust Agreement shall provide
        for the continuation of an FCR to represent any and all persons who may assert Talc
        Personal Injury Demands in the future, but who are currently unknown. The initial FCR
        under the Talc Personal Injury Trust Agreement shall be Randi S. Ellis. The FCR under
        the Talc Personal Injury Trust shall serve in accordance with the terms and provisions of
        the Talc Personal Injury Trust Agreement. Any successor FCR under the Talc Personal
        Injury Trust shall be appointed in accordance with the terms and provisions of the Talc
        Personal Injury Trust Agreement. For purposes of performing his or her duties and
        fulfilling his or her obligations under the Plan, the Confirmation Order, and the Talc
        Personal Injury Trust Agreement, the FCR under the Talc Personal Injury Trust shall be
        deemed to be (and the Confirmation Order shall provide that he or she is) a “party in
        interest” within the meaning of section 1109(b) of the Bankruptcy Code.

        4.5      Initial Talc Trust Administrators.

               4.5.1      Initial Talc Trust Claims Administrator. The initial Talc Trust Claims
        Administrator of the Talc Personal Injury Trust shall be the Person identified as such in
        Exhibit H. All successor Talc Trust Claims Administrators shall be appointed in
        accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.
        For purposes of performing its duties and fulfilling its obligations under the Plan, the
        Confirmation Order, and the Talc Personal Injury Trust Agreement, the Talc Trust Claims


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        Administrator shall be deemed to be (and the Confirmation Order shall provide that it is) a
        “party in interest” within the meaning of section 1109(b) of the Bankruptcy Code.

                4.5.2       Initial Talc Trust Liens Resolution Administrator. The initial Talc Trust
        Liens Resolution Administrator of the Talc Personal Injury Trust shall be the Person
        identified as such in Exhibit H. All successor Talc Trust Liens Resolution Administrators
        shall be appointed in accordance with the terms and provisions of the Talc Personal Injury
        Trust Agreement. For purposes of performing its duties and fulfilling its obligations under
        the Plan, the Confirmation Order, and the Talc Personal Injury Trust Agreement, the Talc
        Trust Lien Resolution Administrator shall be deemed to be (and the Confirmation Order
        shall provide that it is) a “party in interest” within the meaning of section 1109(b) of the
        Bankruptcy Code.

        4.6    Advancement of Expenses Prior to the Effective Date. The Debtor will seek entry
of the Trust Expense Advancement Order on or prior to the Confirmation Date. Subject to, and in
accordance with, the Trust Expense Advancement Order, prior to the Effective Date, the Debtor
will advance Cash otherwise to be delivered to the Talc Personal Injury Trust on the Effective Date
pursuant to Section 4.9.1(a) in order to enable set-up and claims processing work to be undertaken
in advance of the Effective Date, so as to allow the Talc Personal Injury Trust to make payments
in respect of compensable Channeled Talc Personal Injury Claims as soon as possible after the
Effective Date.

        4.7      Trust Distribution Procedures.

                4.7.1      General. Upon its creation pursuant to Section 4.1, the Talc Personal
        Injury Trust shall promptly implement the Trust Distribution Procedures in accordance
        with the terms of the Talc Personal Injury Trust Agreement. From and after the Effective
        Date, the Talc Trustee shall have the authority to modify or amend the Trust Distribution
        Procedures solely in accordance with the terms and provisions thereof and of the Talc
        Personal Injury Trust Agreement.

                4.7.2      Channeled Talc Personal Injury Claims. The Trust Distribution
        Procedures shall include procedures for processing, evaluating, valuing, resolving, and
        paying (as appropriate) Channeled Talc Personal Injury Claims, including Channeled
        Indirect Talc Personal Injury Claims.

        4.8      Assumption of Liability for Talc Personal Injury Claims.

                4.8.1       Assumption of Liability Generally. In consideration for the assets
        delivered, transferred, and assigned to the Talc Personal Injury Trust pursuant to this
        Article IV, and in furtherance of the purposes of the Plan, the Confirmation Order, and the
        Talc Personal Injury Trust, on the Effective Date, subject to Section 4.8.4(a), the Talc
        Personal Injury Trust shall assume all liabilities, obligations, and responsibilities, financial
        or otherwise, of the Reorganized Debtor, J&J, and the other Protected Parties for all
        Channeled Talc Personal Injury Claims, including Channeled Indirect Talc Personal Injury
        Claims. This assumption shall not affect: (a) the application of the Discharge Injunction
        and the Channeling Injunction to the Reorganized Debtor, J&J, and the other Protected

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        Parties; (b) any Talc Insurance Company’s obligation under any Talc Insurance Policy; or
        (c) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus
        Related Rights. From and after the Effective Date, other than with respect to obligations
        to fund the Trust as set forth in the Plan, the Reorganized Debtor, J&J, and the other
        Protected Parties shall have no liability, obligation, or responsibility, financial or otherwise,
        for any Channeled Talc Personal Injury Claim, including any Channeled Indirect Talc
        Personal Injury Claim.

                 4.8.2       Defenses. Upon the assumption by the Talc Personal Injury Trust of
        liabilities, obligations, and responsibilities for Channeled Talc Personal Injury Claims as
        contemplated by Section 4.8.1, subject to Section 4.8.4(b), the Reorganized Debtor and
        J&J shall transfer and assign the Talc Personal Injury Trust Defenses to the Talc Personal
        Injury Trust. The transfer and assignment of the Talc Personal Injury Trust Defenses to
        the Talc Personal Injury Trust pursuant to this Section 4.8.2 shall not impair, affect, alter,
        or modify the right of any Person against whom the Talc Personal Injury Trust may exercise
        Talc Personal Injury Trust Defenses to assert each and every defense or basis for claim
        reduction such Person could have asserted against the Debtor or J&J prior to the Effective
        Date; provided, however, for the avoidance of doubt, that no such Person may assert, as a
        defense or basis for claim reduction, that the Plan or any of the other Plan Documents does
        not comply with the Bankruptcy Code or that the transfer and assignment of the Talc
        Personal Injury Trust Defenses to the Talc Personal Injury Trust pursuant to this
        Section 4.8.2, or any other action contemplated by this Section 4.8.2, is prohibited by
        applicable non-bankruptcy law.

                 4.8.3      Enforcement of Defenses and Other Related Rights. From and after the
        Effective Date: (a) the Talc Personal Injury Trust shall have control over the Talc Personal
        Injury Trust Defenses and the Talc Personal Injury Trust shall thereby become the estate
        representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the
        exclusive right to enforce each of the Talc Personal Injury Trust Defenses; (b) subject to
        Section 4.8.4(b), the proceeds of the recoveries on any of the Talc Personal Injury Trust
        Defenses shall be delivered to and become the property of the Talc Personal Injury Trust;
        and (c) the Talc Personal Injury Trust shall have the right to enforce the Plan and any of
        the other Plan Documents (including the Cooperation Agreement) according to their
        respective terms. Notwithstanding the provisions of Section 4.8.2 and this Section 4.8.3:
        (i) the Talc Personal Injury Trust shall have no rights against the Reorganized Debtor, J&J,
        or the other Protected Parties except to enforce the Plan and the other Plan Documents;
        (ii) the Talc Personal Injury Trust Defenses transferred and assigned to the Talc Personal
        Injury Trust shall not include any claims fully and finally released, enjoined, compromised,
        or settled pursuant to the Plan; and (iii) for the avoidance of doubt, the Talc Personal Injury
        Trust Defenses transferred and assigned to the Talc Personal Injury Trust shall not include
        any rights of the Reorganized Debtor, J&J, or the other Protected Parties arising under the
        Channeling Injunction or any of the other Injunctions.

                 4.8.4      Common Benefit Fund.

                      (a)     Notwithstanding anything to the contrary contained in the Plan,
        neither the Debtor nor the Reorganized Debtor shall have any right or obligation under

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        Case Management Order No. 7(A) entered by the United States District Court for the
        District of New Jersey in the multidistrict litigation In re: Johnson & Johnson Talcum
        Powder Products Marketing, Sales Practices and Products Liability Litigation, Civil
        Action No. 3:16-md-02738, to withhold any amounts from payments made by it under the
        Plan or any other Plan Document to or for the benefit of the Talc Personal Injury Trust to
        account for any common benefit assessments thereunder or to make any payment to the
        common benefit fund account established pursuant thereto.

                        (b)    The Talc Personal Injury Trust Agreement and the Trust
        Distribution Procedures shall provide that the Talc Trustee is not authorized to pay, and
        shall not pay, any common benefit fees or expenses from the Talc Personal Injury Trust,
        and shall take no action with respect to the common benefit fund established pursuant to
        that certain Case Management Order No. 7(A) entered by the United States District Court
        for the District of New Jersey in the multidistrict litigation In re: Johnson & Johnson
        Talcum Powder Products Marketing, Sales Practices and Products Liability Litigation,
        Civil Action No. 3:16-md-02738, in each case without the written consent of the FCR and
        a supermajority of the Talc Trust Advisory Committee (consisting of not less than 66% of
        all Talc Trust Advisory Committee Members).

        4.9      Contribution of Certain Assets.

                 4.9.1      Cash Contributions.

                       (a)     The Reorganized Debtor shall deliver, or cause to be delivered, to
        the Talc Personal Injury Trust Cash Contributions in accordance with Exhibit C.

                       (b)     All Cash Contributions to be made by the Reorganized Debtor
        pursuant to the Plan and the Talc Personal Injury Trust Documents shall be funded by the
        Reorganized Debtor. All Cash necessary for the Reorganized Debtor to fund such Cash
        Contributions pursuant to the Plan and the Talc Personal Injury Trust Documents shall be
        obtained through: (a) the Reorganized Debtor’s Cash balances; (b) the Indemnity Funding
        Agreement; or (c) such other means of financing or funding as determined by the board of
        managers of the Reorganized Debtor.

                        (c)   On the Effective Date, J&J and New Holdco shall execute and
        deliver to the Talc Personal Injury Trust the Cash Contributions Guarantee. For the
        avoidance of doubt, nothing contained in this Section 4.9.1 shall in any way affect the
        obligations of J&J and New Holdco under the Cash Contributions Guarantee.

                 4.9.2      Talc PI Note and Related Talc PI Pledge.

                       (a)     On the Effective Date: (i) the Reorganized Debtor shall execute and
        deliver to the Talc Personal Injury Trust the Talc PI Note; and (ii) New Holdco shall
        execute and deliver to the Talc Personal Injury Trust the Talc PI Pledge Agreement.

                      (b)    The Talc PI Note shall: (i) bear no interest; (ii) mature on the later
        of (A) the seventh anniversary of the Petition Date and (B) the first anniversary of the


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        Effective Date; (iii) be secured by the Talc PI Pledge; and (iv) provide for payment in full
        of the principal amount of the PI Talc Note on or before its maturity date.

                        (c)    A Reorganized Debtor Payment Event of Default shall not provide
        a basis for the Talc Personal Injury Trust or any other Person to contend that a material
        breach of the Plan has occurred or that any Protected Party is no longer entitled to the
        protections provided to such Protected Party pursuant to the Plan, including the protections
        of the Channeling Injunction and related indemnification by the Talc Personal Injury Trust.
        If a Reorganized Debtor Payment Event of Default occurs, the Talc Personal Injury Trust
        may, upon five (5) days’ written notice to the Reorganized Debtor and New Holdco,
        foreclose upon the Talc PI Pledge.

                4.9.3      Imerys/Cyprus Related Rights. The following provisions shall apply if
        the Imerys/Cyprus Settlement Termination Date occurs, whether prior to, on, or following
        the Effective Date:

                        (a)     On the Effective Date or, if later, the Imerys/Cyprus Settlement
        Termination Date, the Reorganized Debtor and J&J shall transfer and assign to the Talc
        Personal Injury Trust the Imerys/Cyprus Related Rights. The transfer and assignment of
        the Imerys/Cyprus Related Rights to the Talc Personal Injury Trust pursuant to this
        Section 4.9.3 shall not impair, alter, or modify the right of any Imerys/Cyprus Party against
        whom the Talc Personal Injury Trust may exercise the Imerys/Cyprus Related Rights to
        assert each and every defense or basis for claim reduction such Person could have asserted
        against the Debtor and J&J prior to the Effective Date or, if later, the Imerys/Cyprus
        Settlement Termination Date; provided, however, for the avoidance of doubt, that no such
        Person may assert, as a defense or basis for claim reduction, that the Plan or any of the
        other Plan Documents does not comply with the Bankruptcy Code or that the transfer and
        assignment of the Imerys/Cyprus Related Rights to the Talc Personal Injury Trust pursuant
        to this Section 4.9.3, or any other action contemplated by this Section 4.9.3, is prohibited
        by applicable non-bankruptcy law.

                       (b)     From and after the Effective Date or, if later, the Imerys/Cyprus
        Settlement Termination Date: (a) the Talc Personal Injury Trust shall have control over
        the Imerys/Cyprus Related Rights and the Talc Personal Injury Trust shall be the estate
        representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the exclusive
        right to enforce the Imerys/Cyprus Related Rights; and (b) the proceeds of the recoveries
        on any Imerys/Cyprus Related Rights shall be delivered to and become the property of the
        Talc Personal Injury Trust.

                        (c)     From and after the Effective Date or, if later, the Imerys/Cyprus
        Settlement Termination Date: (i) the Reorganized Debtor, J&J, and the Talc Trustee shall
        cooperate and use his, her or its respective commercially reasonable efforts to take, or cause
        to be taken, all actions and to do, or cause to be done, all things that are reasonably
        necessary or appropriate to effectuate the transfer and assignment of the Imerys/Cyprus
        Related Rights to the Talc Personal Injury Trust in accordance with this Section 4.9.3; and
        (ii) without limiting the generality of the foregoing clause (i), the Reorganized Debtor and
        J&J shall provide, or make available to, the Talc Personal Injury Trust copies of the

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        Imerys/Cyprus Agreements and other information within the possession and control of the
        Reorganized Debtor and J&J in accordance with the terms and provisions of the
        Cooperation Agreement. Pursuant to the Plan and the Confirmation Order, to the extent
        the Reorganized Debtor or J&J provides to the Talc Personal Injury Trust privileged
        information pursuant to the terms and provisions of this Section 4.9.3 or the Cooperation
        Agreement, such provision of information shall not result in the destruction or waiver of
        any applicable privileges pertaining to such information.

                 4.9.4     Talc Insurance Assets.

                       (a)     Subject to the provisions of this Section 4.9.4 and the Cooperation
        Agreement, on the Effective Date, the Reorganized Debtor shall transfer and assign to the
        Talc Personal Injury Trust the Talc Insurance Assets; provided, however, that, for the
        avoidance of doubt, the Reorganized Debtor shall not transfer and assign to the Talc
        Personal Injury Trust, and shall retain, (i) all proceeds of Talc In-Place Insurance Coverage
        received by the Debtor on or prior to the Effective Date and all rights to Talc-In-Place
        Insurance Coverage for amounts expended prior to the Effective Date, (ii) all proceeds or
        benefits of any Talc Insurance Action received by the Debtor on or prior to the Effective
        Date and all rights to proceeds or benefits of any Talc Insurance Action for amounts
        expended prior to the Effective Date, and (iii) all amounts payable pursuant to any Talc
        Insurance Settlement Agreement received by the Debtor on or prior to the Effective Date
        and all amounts payable pursuant to any Talc Insurance Settlement Agreement for amounts
        expended prior to the Effective Date.

                        (b)    From and after the Effective Date, in consideration of the
        Reorganized Debtor’s obligations under Section 4.9.1, Section 4.9.2, and, if applicable,
        Section 4.9.3: (i) the Reorganized Debtor, as the subrogee of the Talc Personal Injury
        Trust, shall have the exclusive right (A) to pursue and resolve any Talc In-Place Insurance
        Coverage, (B) to pursue and resolve any Talc Insurance Action, (C) to pursue and obtain
        any Talc Insurance Recoveries, and (D) to negotiate and enter into any Talc Insurance
        Settlement Agreement; and (ii) any of the following received by the Talc Personal Injury
        Trust shall be delivered to, and retained by, the Reorganized Debtor, and may thereafter be
        used by the Reorganized Debtor as it may determine in its sole discretion: (A) all proceeds
        of Talc In-Place Insurance Coverage; (B) all proceeds or benefits of any Talc Insurance
        Action; and (C) all amounts payable pursuant to any Talc Insurance Settlement Agreement.
        Subject to the provisions of the Cooperation Agreement, the Reorganized Debtor shall pay,
        and bear sole responsibility with respect to the payment of, all costs and expenses,
        including attorneys’ fees and expenses and other out-of-pocket fees and expenses, incurred
        by the Reorganized Debtor acting as subrogee of the Talc Personal Injury Trust pursuant
        to this Section 4.9.4(b). For the avoidance of doubt, nothing in the Plan, the Plan
        Documents, or the Confirmation Order shall impair or otherwise affect any rights that any
        Debtor Corporate Party may have under any Talc Insurance Policy or Talc Insurance
        Settlement Agreement.

                        (c)     From and after the Effective Date: (i) the Reorganized Debtor, J&J,
        and the Talc Trustee shall cooperate and use their respective commercially reasonably
        efforts to take, or cause to be taken, all actions and to do, or cause to be done, all things

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        that are reasonably necessary or appropriate to effectuate the transfer and assignment of
        the Talc Insurance Assets to the Talc Personal Injury Trust in accordance with, and subject
        to the terms and provisions of, this Section 4.9.4; and (ii) the Talc Personal Injury Trust
        shall provide, or make available to, the Reorganized Debtor and J&J information within
        the possession and control of the Talc Personal Injury Trust in accordance with the terms
        and provisions of the Cooperation Agreement and shall cooperate with the Reorganized
        Debtor and J&J and use commercially reasonable efforts to effectuate the terms and
        provisions of this Section 4.9.4. Pursuant to the Plan and the Confirmation Order, to the
        extent the Reorganized Debtor or J&J provides to the Talc Personal Injury Trust privileged
        information pursuant to the terms and provisions of this Section 4.9.4 or the Cooperation
        Agreement, such provision of information shall not result in the destruction or waiver of
        any applicable privileges pertaining to such information.

                        (d)    If, notwithstanding the provisions of the Plan and Confirmation
        Order, the transfer and assignment of any Talc Insurance Asset is determined by any court
        of competent jurisdiction to be invalid under, or to violate the provisions of, any Talc
        Insurance Policy, then, notwithstanding anything to the contrary in the Plan, solely with
        respect to such Talc Insurance Asset: (i) the Reorganized Debtor will be deemed to have
        retained such Talc Insurance Asset; and (ii) each provision of the Plan that provides or
        contemplates that the Talc Personal Injury Trust shall act through the Reorganized Debtor,
        or that the Reorganized Debtor shall act, as the subrogee of the Talc Personal Injury Trust
        with respect to such Talc Insurance Asset shall be deemed to instead provide or
        contemplate that the Reorganized Debtor will act for the benefit of the Talc Personal Injury
        Trust with respect to such Talc Insurance Asset. For the avoidance of doubt, nothing in
        this Section 4.9.4(d) shall affect clause (ii) of Section 4.9.4(b).

        4.10 Payment of Talc Personal Injury Trust Expenses. Subject to Section 4.6,
Section 4.9.4(b), and the terms and provisions of the Cooperation Agreement, (a) the Talc Personal
Injury Trust shall pay all Talc Personal Injury Trust Expenses from the assets of the Talc Personal
Injury Trust and (b) the Talc Personal Injury Trust shall bear sole responsibility with respect to the
payment of the Talc Personal Injury Trust Expenses. Subject to Section 4.6, Section 4.9.4(b), and
the terms and provisions of the Cooperation Agreement, the Talc Personal Injury Trust shall
promptly pay all reasonable and documented Talc Personal Injury Trust Expenses incurred by the
Reorganized Debtor or any Debtor Corporate Party for any and all liabilities, costs, or expenses as
a result of taking action on behalf of or at the direction of the Talc Personal Injury Trust.

       4.11 Treatment of Remainder Assets. To the extent there are any assets remaining in
the Talc Personal Injury Trust at such time as the Talc Personal Injury Trust is dissolved in
accordance with the terms and provisions of the Talc Personal Injury Trust Agreement, such
remaining assets shall be transferred to a charity or charities selected by the Talc Trustee in
accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.

        4.12 Dissolution. The Talc Personal Injury Trust shall be dissolved upon satisfaction of
the purposes of the Talc Personal Injury Trust in accordance with the terms and provisions of the
Talc Personal Injury Trust Agreement. Upon dissolution of the Talc Personal Injury Trust, the
Talc Trustees, the Talc Trust Advisory Committee Members, the FCR under the Talc Personal
Injury Trust Agreement, the Talc Trust Claims Administrator, and the Talc Trust Liens Resolution

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Administrator shall be released and discharged from all further authority, duties, responsibilities,
and obligations relating to and arising from and in connection with the Chapter 11 Case.

        4.13 Funds and Investment Guidelines. All monies held in the Talc Personal Injury
Trust shall be invested, subject to the investment limitations and provisions enumerated in the Talc
Personal Injury Trust Agreement.

        4.14 Compliance with QSF Regulations. The Debtor and the Reorganized Debtor shall
take all actions required of them as “transferor,” and the designated Talc Trustee shall take all
actions required of him or her as “administrator,” with respect to the Talc Personal Injury Trust
pursuant to treasury regulations promulgated under section 468B of the Internal Revenue Code.
Pursuant to such treasury regulations, the Talc Trustee designated as “administrator” shall be
responsible for all tax reporting and withholding requirements in respect of distributions made
from the Talc Personal Injury Trust. Any issue of interpretation of the Plan, the Confirmation
Order, the Talc Personal Injury Trust Agreement, or any other Talc Personal Injury Trust
Document shall be resolved in favor of an interpretation that conforms to the requirements of
section 468B of the Internal Revenue Code and the treasury regulations promulgated thereunder.

       4.15 Cooperation Agreement. Upon the creation of the Talc Personal Injury Trust
pursuant to Section 4.1, the Reorganized Debtor, J&J, the Custodians, and the Talc Personal Injury
Trust shall enter into the Cooperation Agreement. The provision of information by the
Reorganized Debtor or J&J to the Talc Personal Injury Trust pursuant to the Cooperation
Agreement shall not result in the destruction or waiver of any applicable privileges pertaining to
such information.

         4.16 Indemnification and Reimbursement of the Protected Parties. From and after the
Effective Date, the Talc Personal Injury Trust shall indemnify, defend, and hold harmless, to the
fullest extent permitted by applicable law, each of the Reorganized Debtor and the other Protected
Parties (other than, if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the
Imerys/Cyprus Parties for claims based on, arising out of, or in any way relating to the
Imerys/Cyprus Related Rights) from and against any and all claims, demands, disputes, suits,
damages, remedies, losses, awards, judgments, settlements, liabilities, expenses, costs, fees
(including attorneys’ fees), and other charges whatsoever suffered or incurred by it subsequent to
the Effective Date arising out of or in any way relating to any Channeled Talc Personal Injury
Claim. Without limiting the generality of the foregoing, from and after the Effective Date, the
Talc Personal Injury Trust shall promptly reimburse each Protected Party (other than, if the
provisions of Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus Parties for claims
based on, arising out of, or in any way relating to the Imerys/Cyprus Related Rights) for any and
all out-of-pocket damages, remedies, losses, awards, judgments, liabilities, expenses, costs, fees
(including attorneys’ fees), and other charges whatsoever actually incurred by such Protected Party
subsequent to the Effective Date attributable to the defense of any Channeled Talc Personal Injury
Claim in the event that the holder of such Channeled Talc Personal Injury Claim seeks to hold
such Protected Party liable for such Channeled Talc Personal Injury Claim in violation of the Plan
and the Channeling Injunction. For the avoidance of doubt, notwithstanding the foregoing, the
Talc Personal Injury Trust shall have no obligation to indemnify, defend, or hold harmless, or
reimburse any out-of-pocket liabilities, expenses, costs, fees (including attorneys’ fees), or other


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charges incurred by, the Reorganized Debtor or J&J in connection with the performance of their
obligations under the Master Settlement Agreements.

        4.17 Exculpation of the Protected Parties. None of the Protected Parties shall have or
incur any liability to any Person for any act or omission taken or to be taken in connection with,
arising out of, or in any way relating to the administration or operation of the Talc Personal Injury
Trust, including: (a) the management of the assets of the Talc Personal Injury Trust; and (b) the
processing, liquidation, and payment of Channeled Talc Personal Injury Claims in accordance with
the Talc Personal Injury Trust Documents.

                            ARTICLE V
       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         5.1     General Treatment. Except as otherwise provided in the Plan or in any contract,
instrument, release, or other agreement or document entered into in connection with the Plan, on
the Effective Date, pursuant to section 365 of the Bankruptcy Code, the Debtor or the Reorganized
Debtor shall assume each of its Executory Contracts and Unexpired Leases other than those listed
on Exhibit L; provided, however, that the Debtor reserves the right, at any time prior to the
Effective Date, to amend Exhibit L to: (a) delete any Executory Contract or Unexpired Lease
listed therein, thus providing for its assumption pursuant hereto; or (b) add any Executory Contract
or Unexpired Lease to Exhibit L, thus providing for its rejection pursuant to Section 5.5. The
Debtor shall provide notice of any amendments to Exhibit L to the parties to the Executory
Contracts or Unexpired Leases affected thereby and to the parties on the then-applicable service
list in the Chapter 11 Case. Nothing herein shall constitute an admission by the Debtor or the
Reorganized Debtor that any contract or lease is an Executory Contract or Unexpired Lease or that
the Debtor or the Reorganized Debtor has any liability thereunder.

        5.2      Assumption and Assignment.

                5.2.1       Assumption. Unless otherwise provided in the Plan, each Executory
        Contract or Unexpired Lease that is assumed shall include all modifications, amendments,
        supplements, restatements, or other agreements that in any manner affect such Executory
        Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
        thereto, if any, including all easements, licenses, permits, rights, privileges, immunities,
        options, rights of first refusal, and any other interests, unless any of the foregoing
        agreements has been previously rejected or repudiated, or is rejected or repudiated under
        the Plan.

                5.2.2      Postpetition Amendments. Modifications, amendments, supplements,
        and restatements to prepetition Executory Contracts and Unexpired Leases that have been
        executed by the Debtor during the Chapter 11 Case shall not be deemed to alter the
        prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority,
        or amount of any Claims that may arise in connection therewith.

                5.2.3      Assignment. Each assumed Executory Contract or Unexpired Lease
        shall be a contract or lease of the Reorganized Debtor unless an assignee is identified in
        accordance with the procedures in Section 5.3.

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        5.3      Approval of Assumptions and Assignments and Related Procedures.

                5.3.1      Effect of Assumption. Assumption of any Executory Contract or
        Unexpired Lease pursuant to the Plan or otherwise shall result in the full release and
        satisfaction of any Claims or defaults, whether monetary or nonmonetary, including
        defaults of provisions restricting the change in control or ownership interest composition
        or other bankruptcy-related defaults, arising under any assumed Executory Contract or
        Unexpired Lease at any time before the effective date of the assumption.

                5.3.2      Approval and Related Procedures. The Confirmation Order shall
        constitute an order of the Bankruptcy Court approving the assumptions described in
        Section 5.1, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date. The
        procedures for assumption or assumption and assignment of an Executory Contract or
        Unexpired Lease are as follows:

                        (a)     After the entry of the Confirmation Order, the Debtor shall serve
        upon each party to an Executory Contract or Unexpired Lease being assumed pursuant to
        the Plan notice of: (i) the contract or lease being assumed or assumed and assigned and, if
        applicable, any assignee; (ii) the Cure Amount Claim, if any, that the Debtor believes
        would be payable in connection with such assumption; and (iii) the procedures for such
        party to object to the assumption or assumption and assignment of the applicable contract
        or lease or the amount of the proposed Cure Amount Claim.

                       (b)    Any Person wishing to object to (i) the proposed assumption or
        assumption and assignment of an Executory Contract or Unexpired Lease under the Plan
        or (ii) the proposed amount of the related Cure Amount Claim must file and serve on
        counsel to the Debtor or the Reorganized Debtor a written objection setting forth the basis
        for the objection within twenty (20) days of service of the notice described in
        Section 5.3.2(a).

                        (c)     If no objection to the proposed assumption or assumption and
        assignment or the proposed amount of the Cure Amount Claim is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease:
        (i) the proposed assumption or assumption and assignment of the Executory Contract or
        Unexpired Lease shall be approved in accordance with the Plan and the Confirmation
        Order, effective as of the Effective Date, without further action of the Bankruptcy Court;
        and (ii) the Cure Amount Claim identified by the Debtor in the notice shall be fixed and
        shall be paid in accordance with the Plan on or after the Effective Date, without further
        action of the Bankruptcy Court, to the appropriate contract or lease party identified on the
        notice.

                        (d)     If an objection to the proposed assumption or assumption and
        assignment or the proposed amount of the Cure Amount Claim is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
        the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
        such objection by stipulation, without further action of the Bankruptcy Court.


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                        (e)     If an objection to the proposed assumption or assumption and
        assignment or the proposed amount of the Cure Amount Claim is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
        and the parties are unable to resolve such objection: (i) the Debtor or the Reorganized
        Debtor, as applicable, may file a reply to such objection no later than thirty (30) days after
        the filing and service of such objection and ask the Bankruptcy Court to schedule a hearing
        on the particular objection and the related reply at an appropriate time; or (ii) the Debtor or
        the Reorganized Debtor, as applicable, may designate the Executory Contract or Unexpired
        Lease underlying such objection for rejection pursuant to Section 5.5 and amend Exhibit L
        accordingly.

        5.4      Payments Related to Assumption.

                5.4.1      Payment Options. To the extent that such Claims constitute monetary
        defaults, the Cure Amount Claims associated with each Executory Contract and Unexpired
        Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
        of the Bankruptcy Code, at the option of the Debtor or the Reorganized Debtor assuming
        such contract or lease, or the assignee of the Debtor or the Reorganized Debtor, if any:
        (a) by payment of the Cure Amount Claim in Cash on the Effective Date or as promptly as
        reasonably practicable after the Cure Amount Claim is allowed; or (b) on such other terms
        as are agreed to by the parties to such Executory Contract or Unexpired Lease.

                5.4.2        Disputes. Pursuant to section 365(b)(2)(D) of the Bankruptcy Code, no
        Cure Amount Claim shall be allowed for a penalty rate or other form of default rate of
        interest. If there is a dispute regarding (a) the amount of any Cure Amount Claim, (b) the
        ability of the Reorganized Debtor or any assignee to provide “adequate assurance of future
        performance” (within the meaning of section 365 of the Bankruptcy Code) under the
        contract or lease to be assumed, or (c) any other matter pertaining to assumption of such
        contract or lease, the payment of any Cure Amount Claim required by section 365(b)(1) of
        the Bankruptcy Code shall be made following the entry of a Final Order resolving the
        dispute and approving the assumption.

        5.5      Executory Contracts and Unexpired Leases to Be Rejected and Rejection
                 Procedures.

                5.5.1      Rejection Generally. On the Effective Date, each Executory Contract
        and Unexpired Lease listed on Exhibit L shall be rejected pursuant to section 365 of the
        Bankruptcy Code. Each contract and lease listed on Exhibit L shall be rejected only to the
        extent that any such contract or lease constitutes an Executory Contract or Unexpired
        Lease. Listing a contract or lease on Exhibit L shall not constitute an admission by the
        Debtor or the Reorganized Debtor that such contract or lease is an Executory Contract or
        Unexpired Lease or that the Debtor or the Reorganized Debtor has any liability thereunder.
        The Confirmation Order shall constitute an order of the Bankruptcy Court approving such
        rejections, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date.

               5.5.2     Rejection Procedures. The procedures for rejection of an Executory
        Contract or Unexpired Lease are as follows:

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                       (a)     After the entry of the Confirmation Order, the Debtor shall serve
        upon each party to an Executory Contract or Unexpired Lease being rejected pursuant to
        the Plan notice of such proposed rejection. For the avoidance of doubt, additional notices
        may be served upon any amendment to Exhibit L (including pursuant to Section 5.3.2(e)).

                       (b)    Any Person wishing to object to the proposed rejection of an
        Executory Contract or Unexpired Lease under the Plan must file and serve on counsel to
        the Debtor or the Reorganized Debtor a written objection setting forth the basis for the
        objection within twenty (20) days of service of the notice described in Section 5.5.2(a).

                        (c)     If no objection to the proposed rejection is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
        the proposed rejection of the applicable Executory Contract or Unexpired Lease shall be
        approved in accordance with the Plan and the Confirmation Order, effective as of the
        Effective Date, without further action of the Bankruptcy Court.

                        (d)     If an objection to the proposed rejection is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
        the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
        such objection by stipulation, without further action of the Bankruptcy Court.

                        (e)     If an objection to the proposed rejection is properly filed and served
        prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
        and the parties are unable to resolve such objection, the Debtor or the Reorganized Debtor,
        as applicable, may file a reply to such objection no later than thirty (30) days after the filing
        and service of such objection and ask the Bankruptcy Court to schedule a hearing on the
        particular objection and the related reply at an appropriate time.

        5.6      Claims Based on Rejection.

                 5.6.1      Proof of Claim Required. If the rejection or deemed rejection of an
        Executory Contract or Unexpired Lease by the Debtor results in damages to the other party
        or parties to such Executory Contract or Unexpired Lease, a Claim for such damages shall
        be automatically disallowed and forever barred from assertion, and unenforceable, against
        the Debtor, the Reorganized Debtor, any assignee, or their properties, whether by way of
        setoff, recoupment, or otherwise, without the need for any objection, any further notice, or
        any action, order, or approval of the Bankruptcy Court, unless a Proof of Claim is filed
        with the Claims Agent and served upon counsel for the Debtor or the Reorganized Debtor
        by the later of (a) thirty (30) days after service of the notice described in Section 5.5.2(a)
        and (b) thirty (30) days after service of notice of entry of a Final Order rejecting such
        Executory Contract or Unexpired Lease, which notice, in each case, will set forth such
        deadline. If a Proof of Claim is filed in accordance with this Section 5.6.1, any objections
        to such Proof of Claim shall be filed with the Bankruptcy Court and served upon the holder
        of such Non-Talc Claim no later than thirty (30) days after the filing of such Proof of Claim,
        unless extended by order of the Bankruptcy Court prior to the expiration of such period.




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                5.6.2      Classification of Claims. Claims arising from the rejection of an
        Executory Contract or Unexpired Lease shall be classified as Class 3 Unsecured Claims
        and shall be treated in accordance with Section 3.2.3; provided, however, that all Claims
        arising from rejection or deemed rejection of an Executory Contract or Unexpired Lease
        shall be deemed Disputed.

        5.7    Contracts and Leases Entered Into After the Petition Date. Notwithstanding any
other provision of the Plan, contracts and leases entered into after the Petition Date by the Debtor,
including any Executory Contracts and Unexpired Leases assumed by the Debtor, shall be
performed by the Debtor or the Reorganized Debtor in accordance with the terms and conditions
of such contracts and leases in the ordinary course of its business. Accordingly, such contracts
and leases and other obligations (including any assumed Executory Contracts and Unexpired
Leases) shall survive and remain unaffected by entry of the Confirmation Order.

        5.8     Reservation of Rights. Neither the exclusion nor inclusion of any Executory
Contract or Unexpired Lease on Exhibit L, or anything contained in the Plan or any Plan
Supplement, shall constitute an admission by the Debtor that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that the Reorganized Debtor, or any assignee has
any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of assumption or rejection, the Debtor, the Reorganized Debtor,
or any assignee, as applicable, shall have thirty (30) days following entry of a Final Order resolving
such dispute to alter their treatment of such contract or lease.

        5.9      Imerys/Cyprus Matters.

                5.9.1       Imerys/Cyprus Agreements. If the Imerys/Cyprus Settlement
        Termination Date occurs, whether prior to, on, or following the Effective Date, the
        foregoing provisions of this Article V shall not apply to the Imerys/Cyprus Agreements
        and instead the following provisions shall apply thereto:

                         (a)    To the extent that the Imerys/Cyprus Agreements are considered to
        be executory contracts, the Plan shall constitute a motion to assume and assign the
        Imerys/Cyprus Agreements to the Talc Personal Injury Trust (in order to effect the transfer
        and assignment of the Imerys/Cyprus Related Rights thereunder in accordance with
        Section 4.9.3) and, subject to the occurrence of the Effective Date and the Imerys/Cyprus
        Settlement Termination Date, the entry of the Confirmation Order shall constitute approval
        of such assumption and assignment pursuant to section 365(a) of the Bankruptcy Code and
        a finding by the Bankruptcy Court that such assumption and assignment is in the best
        interest of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case.

                       (b)      Unless otherwise determined by a Final Order entered by the
        Bankruptcy Court prior to the Effective Date or, if later, the Imerys/Cyprus Settlement
        Termination Date, no payments are required to cure any defaults of the Debtor existing as
        of the Effective Date with respect to any Imerys/Cyprus Agreements and the Cash
        Contributions delivered to the Talc Personal Injury Trust by or on behalf of the
        Reorganized Debtor shall be deemed to satisfy in full any Claim arising out of any alleged
        breach, default, or violation under the Imerys/Cyprus Agreements.

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                       (c)    The Imerys/Cyprus Agreements shall be transferred by the
        Reorganized Debtor and J&J to the Talc Personal Injury Trust as of the Effective Date or,
        if later, the Imerys/Cyprus Settlement Termination Date to effect the transfer and
        assignment of the Imerys/Cyprus Related Rights under such agreements in accordance with
        Section 4.9.3.

               5.9.2       Imerys/Cyprus Settlement Agreement. If the Imerys/Cyprus Settlement
        Closing Date occurs, whether prior to, on, or following the Effective Date, the following
        provisions shall apply:

                        (a)    Notwithstanding any other provision of this Plan, the Plan shall
        constitute a motion to assume the Imerys/Cyprus Settlement Agreement, and, subject to
        the occurrence of the Effective Date, the entry of the Confirmation Order shall constitute:
        (i) approval of such assumption pursuant to Section 365(a) of the Bankruptcy Code; and
        (ii) a finding by the Bankruptcy Court that such assumption is in the best interest of the
        Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case.

                       (b)    Unless otherwise determined by the Bankruptcy Court pursuant to a
        Final Order or agreed by the parties thereto prior to the Effective Date, no payments are
        required to cure any defaults of the Debtor with respect to the Imerys/Cyprus Settlement
        Agreement.

        5.10 Talc Insurance Assets. Notwithstanding any other provision of this Plan, this
Article V shall not apply to the Talc Insurance Assets. To the extent that the Talc Insurance Assets
are considered to be executory contracts, the Plan shall constitute a motion to assume and assign
the Talc Insurance Assets to the Talc Personal Injury Trust in accordance with Section 4.9.4, and,
subject to the occurrence of the Effective Date, the entry of the Confirmation Order shall constitute
approval of such assumption and assignment pursuant to section 365(a) of the Bankruptcy Code
and a finding by the Bankruptcy Court that such assumption and assignment is in the best interest
of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case. Unless
otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed by the parties
thereto prior to the Effective Date, no payments are required to cure any defaults of the Debtor
existing as of the Effective Date with respect to any Talc Insurance Asset. The Talc Insurance
Assets shall be assigned by the Reorganized Debtor to the Talc Personal Injury Trust in accordance
with Section 4.9.4 as of the Effective Date.

        5.11 Master Settlement Agreements. Notwithstanding any other provision of this Plan,
the Plan shall constitute a motion to assume the Master Settlement Agreements and any settlement
or other agreements entered into in accordance with the terms thereof, and, subject to the
occurrence of the Effective Date, the entry of the Confirmation Order shall constitute: (a) approval
of such assumption pursuant to Section 365(a) of the Bankruptcy Code; and (b) a finding by the
Bankruptcy Court that such assumption is in the best interest of the Debtor, the Debtor’s Estate,
and all parties in interest in the Chapter 11 Case. Unless otherwise determined by the Bankruptcy
Court pursuant to a Final Order or agreed by the parties thereto prior to the Effective Date, no
payments are required to cure any defaults of the Debtor existing as of the Effective Date with
respect to any Master Settlement Agreement or any settlement or other agreement entered into in
accordance with the terms of any Master Settlement Agreement.

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                              ARTICLE VI
     DISTRIBUTIONS UNDER THE PLAN ON ACCOUNT OF NON-TALC CLAIMS

        6.1    Distributions. Distributions on account of Allowed Non-Talc Claims (other than
Reinstated Non-Talc Claims) shall be made on or after the Distribution Date as provided in this
Article VI. This Article VI shall not apply to Talc Personal Injury Claims or Reinstated Non-Talc
Claims. All Channeled Talc Personal Injury Claims shall be liquidated and, as appropriate, paid,
or otherwise resolved, by the Talc Personal Injury Trust pursuant to and in accordance with the
Talc Personal Injury Trust Documents. All Reinstated Non-Talc Claims shall be Reinstated.

        6.2      Timing and Calculation of Amounts to be Distributed.

                6.2.1       General. On the Effective Date or as soon as reasonably practicable
        thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date that
        such a Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
        each holder of an Allowed Non-Talc Claim shall receive the full amount of the Distribution
        that the Plan provides for such Allowed Claim in the manner provided herein. In the event
        that any payment or act under the Plan is required to be made or performed on a date that
        is not a Business Day, then the making of such payment or the performance of such act
        may be completed on the next succeeding Business Day, but shall be deemed to have been
        completed as of the required date. Any Distribution to be made pursuant to the Plan shall
        be deemed to have been timely made if made within sixty (60) days after the time therefor
        specified in the Plan. No interest shall accrue or be paid with respect to any Distribution
        as a consequence of such Distribution not having been made on the Effective Date.

              6.2.2       Disputed Non-Talc Claims. If and to the extent that there are Disputed
        Non-Talc Claims, Distributions on account of any such Disputed Non-Talc Claims shall
        be made pursuant to the provisions set forth in this Article VI.

       6.3     Designation of Disbursing Agent. All Distributions under the Plan shall be made
by the Disbursing Agent.

        6.4      Rights and Powers of Disbursing Agent.

                6.4.1      General. The Disbursing Agent shall be empowered to: (a) effect all
        actions and execute all agreements, instruments, and other documents necessary to perform
        its duties under the Plan; (b) make all Distributions contemplated hereby; (c) employ
        professionals to represent it with respect to its responsibilities; and (d) exercise such other
        powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
        pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
        implement the provisions of the Plan.

                6.4.2     Fees and Expenses. Except as otherwise ordered by the Bankruptcy
        Court, the amount of any reasonable fees and expenses incurred by the Disbursing Agent
        on or after the Effective Date (including taxes) and any reasonable compensation and
        expense reimbursement claims (including reasonable attorney fees and expenses) made by
        the Disbursing Agent shall be paid in Cash by the Reorganized Debtor.


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        6.5    Distributions on Account of Claims Allowed After the Effective Date.
Notwithstanding any other provision of the Plan, no Distributions shall be made under the Plan on
account of any Disputed Non-Talc Claim, unless and until such Disputed Non-Talc Claim becomes
an Allowed Non-Talc Claim. Distributions made after the Effective Date to holders of Disputed
Non-Talc Claims that are not Allowed Non-Talc Claims as of the Effective Date but which later
become Allowed Non-Talc Claims shall be made as if such Claim had been an Allowed Claim on
the Effective Date. Except as otherwise may be agreed to by the Debtor or the Reorganized Debtor,
on the one hand, and the holder of a Disputed Non-Talc Claim, on the other hand, and
notwithstanding any provision otherwise in the Plan, no partial payments and no partial
Distributions shall be made with respect to any Disputed Non-Talc Claim until all Disputed
Non-Talc Claims held by the holder of such Disputed Non-Talc Claim have become Allowed
Non-Talc Claims or have otherwise been resolved by settlement or Final Order.

        6.6      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

                6.6.1      Delivery of Distributions to Holders of Non-Talc Claims. Distributions
        to holders of Allowed Non-Talc Claims shall be made to holders of record as of the
        Distribution Record Date by the Disbursing Agent: (a) to the signatory set forth on any of
        the Proof of Claim filed by such holder or other representative identified therein (or at the
        last known addresses of such holder if no Proof of Claim is filed or if the Debtor has been
        notified in writing of a change of address); (b) at the addresses set forth in any written
        notices of address changes delivered to the Disbursing Agent after the date of any related
        Proof of Claim; or (c) at the addresses reflected in the Schedules if no Proof of Claim has
        been filed and the Disbursing Agent has not received a written notice of a change of
        address.

                6.6.2      Full Benefit of Distributions. Distributions under the Plan on account
        of Non-Talc Claims shall not be subject to levy, garnishment, attachment, or similar legal
        process, so that each holder of an Allowed Non-Talc Claim shall have and receive the
        benefit of the Distributions in the manner set forth in the Plan. None of the Debtor, the
        Reorganized Debtor, or the applicable Disbursing Agent shall incur any liability
        whatsoever on account of any Distributions under the Plan except where such Distributions
        are found by Final Order to have been made with gross negligence, willful misconduct, or
        fraud.

                6.6.3      Undeliverable Distributions and Unclaimed Property. In the event that
        any Distribution to any holder of an Allowed Non-Talc Claim is returned as undeliverable,
        no further Distribution to such holder shall be made unless and until the Disbursing Agent
        has determined the then current address of such holder, at which time such Distribution
        shall be made as soon as practicable after such Distribution has become deliverable to such
        holder without interest; provided, however, that such Distributions shall be deemed
        unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the
        expiration of three (3) months from the applicable Distribution Date. After such date, all
        “unclaimed property” or interests in property in respect of the Reorganized Debtor shall
        revert to the Reorganized Debtor, notwithstanding any applicable federal or state escheat,
        abandoned, or unclaimed property laws to the contrary. The claim of any holder to such
        property or interest in property shall be discharged and forever barred. Nothing contained

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        in the Plan shall require the Debtor, the Reorganized Debtor, or the Disbursing Agent to
        attempt to locate any holder of an Allowed Claim.

        6.7    Time Bar to Cash Payments. Checks issued by the Disbursing Agent in respect of
Allowed Non-Talc Claims shall be null and void if not cashed within one hundred and eighty (180)
days of the date of issuance thereof. The holder of the Allowed Non-Talc Claim with respect to
which such check originally was issued may make a request for re-issuance of any check directly
to the Disbursing Agent; provided, however, that any such request for re-issuance of a check shall
be made on or before the twelve (12)-month anniversary of the Distribution Date. After such date,
all Non-Talc Claims in respect of void checks shall be discharged and forever barred.

        6.8     Record Date for Holders of Claims. Except as otherwise provided in an order of
the Bankruptcy Court that is not subject to any stay, the transferees of Claims that are transferred
pursuant to Bankruptcy Rule 3001, on or prior to the Distribution Record Date, shall be treated as
the holders of such Claims for all purposes, notwithstanding that any period provided by
Bankruptcy Rule 3001 for objecting to such transfer has not expired by the Distribution Record
Date. If there is any dispute regarding the identity of the Person entitled to receive a Distribution
in respect of a Claim under the Plan, no Distribution need be made in respect of such Claim until
such dispute has been resolved.

        6.9      Compliance with Tax Requirements and Allocations.

                6.9.1       General. In connection with the Plan and all Distributions hereunder,
        the Disbursing Agent shall comply with all tax withholding and reporting requirements
        imposed on them by any federal, state, or local taxing authority, and all Distributions
        pursuant to the Plan shall be subject to such withholding and reporting requirements.
        Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be
        authorized to take all actions necessary or appropriate to comply with such withholding
        and reporting requirements, including liquidating a portion of the Distribution to be made
        under the Plan if necessary to generate sufficient funds to pay applicable withholding taxes,
        withholding Distributions pending receipt of information necessary to facilitate such
        Distributions including tax certification forms, or establishing any other reasonable
        mechanisms it believes are necessary or appropriate. To the extent that any Claim holder
        fails to submit appropriate tax certification forms required by a Disbursing Agent or to
        comply with any other mechanism established by a Disbursing Agent to comply with such
        withholding and reporting requirements, such Claim holder’s Distribution may, in such
        Disbursing Agent’s reasonable discretion, be deemed “unclaimed property” subject to
        Section 6.6.3.

                6.9.2       Tax Withholding. Without limiting the generality of the foregoing, in
        accordance with the Internal Revenue Code’s backup withholding rules, a holder of a
        Claim may be subject to backup withholding with respect to Distributions made pursuant
        to the Plan, unless the holder: (a) comes within certain exempt categories (which generally
        include corporations) and, when required, demonstrates this fact; or (b) provides at the
        applicable Disbursing Agent’s request a completed IRS Form W-9 (or substitute therefor)
        on which the holder includes a correct taxpayer identification number and certifies under
        penalty of perjury that the taxpayer identification number is correct and that the taxpayer

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        is not subject to backup withholding because of a failure to report all dividend and interest
        income. Among other things, to receive any Postpetition Interest, if requested by a
        Disbursing Agent, a holder of an Allowed Claim shall be required to establish an exemption
        from backup withholding or to make arrangements with respect to the payment of backup
        withholding. Non-U.S. Allowed Claim holders may be required by the applicable
        Disbursing Agent to provide a completed IRS Form W-8BEN or W-8BEN-E, as applicable
        (or other applicable Form W-8 or successor form) to establish an exemption from or a
        treaty-reduced rate of withholding on interest distributed pursuant to the Plan. Unless a
        Disbursing Agent, in its discretion, determines otherwise, no Distributions on account of
        Postpetition Interest shall be made to a holder of an Allowed Claim until such time as the
        holder of such Claim establishes exemption from withholding or provides the applicable
        IRS Form.

               6.9.3       Obligations of Distribution Recipients. Notwithstanding any other
        provision of the Plan, each Person receiving a Distribution pursuant to the Plan shall have
        sole and exclusive responsibility for the satisfaction and payment of any tax obligations
        imposed on it by any governmental unit on account of such Distribution, including income,
        withholding, and other tax obligations.

                6.9.4       Tax Allocations. For tax purposes, Distributions in full or partial
        satisfaction of Allowed Claims shall be allocated first to the principal amount of Allowed
        Claims, with any excess allocated to unpaid interest that accrued on such Claims.

        6.10 Transfers of Claims. In the event that the holder of any Non-Talc Claim shall
transfer such Claim after the Distribution Record Date, it shall immediately advise the Reorganized
Debtor in writing of such transfer and file a notice of the transfer with the Bankruptcy Court. The
Reorganized Debtor shall be entitled to assume that no transfer of any Claim has been made by
any holder unless and until written notice of a transfer has been actually received by the
Reorganized Debtor. Each transferee of any Non-Talc Claim shall take such Claim subject to the
provisions of the Plan, and, except as provided in a notice of transfer, the Reorganized Debtor shall
be entitled to assume conclusively that the transferee named in any notice of transfer shall
thereafter be vested with all rights and powers of the transferor of such Claim.

        6.11 Setoffs. The Debtor and the Reorganized Debtor may, pursuant to the applicable
provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
applicable Allowed Claim (before any Distribution is made on account of such Claim) any and all
claims, rights, causes of action, debts, or liabilities of any nature that the Debtor or the Reorganized
Debtor may hold against the holder of such Allowed Claim; provided, however, that the failure to
effect such a setoff shall not constitute a waiver or release of any such claims, rights, causes of
action, debts, or liabilities.

                                  ARTICLE VII
                    RESOLUTION OF DISPUTED NON-TALC CLAIMS

       7.1   Disputed Non-Talc Claims. This Article VII shall apply to all Disputed Non-Talc
Claims. This Article VII shall not apply to Talc Personal Injury Claims. All Channeled Talc


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Personal Injury Claims shall be resolved by the Talc Personal Injury Trust in accordance with the
Talc Personal Injury Trust Documents.

        7.2      Rights of Debtor and Reorganized Debtor .

                7.2.1        Right to Litigate. Prior to the Effective Date, the Debtor, and on and
        after the Effective Date, the Reorganized Debtor, shall have the right to: (i) file objections
        to Non-Talc Claims that have not already been Allowed by Final Order, agreement, or the
        Plan; and (ii) litigate any Disputed Non-Talc Claim either in the Bankruptcy Court or in
        any court of competent jurisdiction.

                7.2.2      No Approval or Notice Required Generally. Notwithstanding any prior
        order of the Bankruptcy Court, other than with respect to Fee Claims, prior to the Effective
        Date, the Debtor, and on and after the Effective Date, the Reorganized Debtor, shall have
        the authority to compromise, settle, otherwise resolve, or withdraw any objections to
        Disputed Claims and to compromise, settle, or otherwise resolve any Disputed Claims
        without approval of the Bankruptcy Court.

        7.3      Proofs of Claim Not Required.

                7.3.1     Resolution of Claims.        Notwithstanding section 502(a) of the
        Bankruptcy Code, and except as otherwise set forth in the Plan, holders of Non-Talc Claims
        (other than Administrative Expense Claims and Claims arising from the rejection of
        Executory Contracts or Unexpired Leases) need not file Proofs of Claim with the
        Bankruptcy Court and shall not be subject to any claims-resolution process in the
        Bankruptcy Court in connection with their Claims. The Reorganized Debtor and the
        holders of such Claims shall determine, adjudicate, and resolve any disputes over the
        validity and amounts of such Claims as if the Chapter 11 Case had not been commenced.

               7.3.2       Deemed Withdrawal of Claims. Except for Proofs of Claim in respect
        of Administrative Claims and Claims arising from the rejection of Executory Contracts or
        Unexpired Leases, upon the Effective Date, any filed Non-Talc Claim, regardless of the
        time of filing, and including Claims filed after the Effective Date, shall be deemed
        withdrawn without prejudice to (i) the treatment of such Claim in the Plan; and (ii) each
        holder’s rights under this Section 7.3.2 to assert their Claims in any proper forum as though
        the Chapter 11 Case had not been commenced.

       7.4     No Distributions Pending Allowance. No Distributions or other consideration shall
be paid with respect to any Claim that is a Disputed Claim unless and until all objections to such
Disputed Claim are resolved by agreement or Final Order and such Disputed Claim becomes an
Allowed Claim.

        7.5    Distributions on Account of Disputed Claims. At such time as determined to be
practicable by the Reorganized Debtor, the Disbursing Agent will make Distributions on account
of any Disputed Claim that has become Allowed. Such Distributions will be made pursuant to the
applicable provisions of Article VI; provided, however, that Distributions on account of Allowed
Fee Claims shall be made as provided in Article II.


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                                 ARTICLE VIII
                    CONDITIONS PRECEDENT TO CONFIRMATION
                       AND CONSUMMATION OF THE PLAN

        8.1    Conditions Precedent to the Confirmation of the Plan. Confirmation of the Plan
shall not occur unless each of the following conditions has been satisfied or waived pursuant to
Section 8.3:

                      (a)     The Bankruptcy Court shall have entered an order, in form and
        substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, the
        SLF, the TCC, and the FCR approving the Disclosure Statement as containing adequate
        information within the meaning of section 1125 of the Bankruptcy Code.

                        (b)    Class 4 shall have voted in requisite numbers and amounts in favor
        of the Plan as required by sections 524(g), 1126, and 1129 of the Bankruptcy Code.

                      (c)    The Plan and, if applicable, any Plan Supplements, including any
        schedules, documents, supplements, and exhibits thereto, shall be (i) in form and substance
        reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, the SLF, the
        TCC, and the FCR and (ii) consistent with section 524(g) of the Bankruptcy Code, as
        applicable.

                       (d)    The Confirmation Order shall:

                              (i)      have been entered;

                              (ii)    be in form and substance reasonably acceptable to the
                       Debtor, J&J, the AHC of Supporting Counsel, the SLF, the TCC, and the
                       FCR; and

                              (iii)   provide for the Injunctions in form and substance
                       reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel,
                       the SLF, the TCC, and the FCR.

                       (e)    The Bankruptcy Court and the District Court acting jointly or the
        Bankruptcy Court acting separately but affirmed by the District Court shall have made the
        following findings, each of which shall be contained in the Confirmation Order:

                               (i)     The Channeling Injunction and the Insurance Entity
                       Injunction are to be implemented in connection with the Plan and the Talc
                       Personal Injury Trust.

                               (ii)     (A) As of the Effective Date, the Talc Personal Injury Trust
                       shall assume all liability and responsibility, financial and otherwise, for all
                       Channeled Talc Personal Injury Claims and (B) subject to the delivery,
                       transfer, or assignment, as applicable, to the Talc Personal Injury Trust of
                       the Cash Contributions, Talc PI Note, Talc Pledge Agreement,
                       Imerys/Cyprus Related Rights (if the provisions of Section 4.9.3 and

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                   Section 5.9.1 are applicable), and Talc Insurance Assets pursuant to
                   Section 4.9, from and after the Effective Date, no Protected Party (other
                   than, if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, any
                   Imerys/Cyprus Party for claims based on, arising out of, or in any way
                   relating to the Imerys/Cyprus Related Rights, as applicable) shall have any
                   liability or responsibility, financial or otherwise, for any Channeled Talc
                   Personal Injury Claims.

                          (iii)    As of the Petition Date, the Debtor (as a successor to LLT
                   and Old JJCI) had been named as a defendant in personal injury or wrongful
                   death actions seeking recovery for damages allegedly caused by the
                   presence of, or exposure to, asbestos or asbestos-containing products.

                           (iv)     The Talc Personal Injury Trust shall be funded in whole or
                   in part by securities of the Reorganized Debtor and by the obligation of the
                   Reorganized Debtor to make future payments.

                           (v)     The Talc Personal Injury Trust, by the exercise of rights
                   granted under the Plan, would be entitled to own, if specified contingencies
                   occur, a majority of the voting shares of the Reorganized Debtor.

                          (vi)   The Talc Personal Injury Trust shall use its assets or income
                   to pay Channeled Talc Personal Injury Claims, including Talc Personal
                   Injury Demands.

                          (vii)    As to Talc Personal Injury Demands:

                                  (A)    The Debtor is likely to be subject to substantial future
                          Talc Personal Injury Demands for payment arising out of the same
                          or similar conduct or events that gave rise to the Talc Personal Injury
                          Claims that are addressed by the Channeling Injunction and the
                          Insurance Entity Injunction.

                                 (B)     The actual amounts, numbers, and timing of future
                          Talc Personal Injury Demands cannot be determined.

                                 (C)     Pursuit of Talc Personal Injury Demands outside the
                          procedures prescribed by the Plan and the Plan Documents,
                          including the Trust Distribution Procedures, is likely to threaten the
                          Plan’s purpose to deal equitably with Talc Personal Injury Claims
                          and Talc Personal Injury Demands.

                           (viii) The terms of the Channeling Injunction and the Insurance
                   Entity Injunction, including any provisions barring actions against third
                   parties pursuant to section 524(g)(4)(A) of the Bankruptcy Code, are set out
                   in the Plan and in the Disclosure Statement.



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                           (ix)     The Plan establishes a separate class of the claimants whose
                   claims are to be addressed by the Talc Personal Injury Trust which class has
                   voted, by at least 75% of those voting, to accept the Plan.

                           (x)      Pursuant to court orders or otherwise, the Talc Personal
                   Injury Trust shall operate through mechanisms, such as structured, periodic,
                   or supplemental payments, pro rata distributions, matrices, or periodic
                   review of estimates of the numbers and values of Channeled Talc Personal
                   Injury Claims, or other comparable mechanisms, that provide reasonable
                   assurance that the Talc Personal Injury Trust shall value, and be in a
                   financial position to pay, Channeled Talc Personal Injury Claims, including
                   Talc Personal Injury Demands, that involve similar claims in substantially
                   the same manner.

                          (xi)     Each Protected Party is:

                                  (A)     identifiable from the terms of the Channeling
                          Injunction and the Insurance Entity Injunction by name or as part of
                          an identifiable group and is or may be alleged to be directly or
                          indirectly liable for the conduct of, claims against, or demands on
                          the Debtor to the extent that such alleged liability arises by reason
                          of one or more of the following:

                                          (I)     such Person’s ownership of a financial
                                  interest in the Debtor or the Reorganized Debtor, a past or
                                  present affiliate of the Debtor or the Reorganized Debtor, or
                                  a predecessor in interest of the Debtor or the Reorganized
                                  Debtor (including Old JJCI);

                                         (II)    such Person’s involvement in the
                                  management of the Debtor or the Reorganized Debtor or a
                                  predecessor in interest of the Debtor or the Reorganized
                                  Debtor (including Old JJCI);

                                          (III) such Person’s service as an officer, director,
                                  manager, or employee of the Debtor or the Reorganized
                                  Debtor, a past or present affiliate of the Debtor or the
                                  Reorganized Debtor, a predecessor in interest of the Debtor
                                  or the Reorganized Debtor (including Old JJCI), or a Person
                                  that owns or at any time has owned a financial interest in the
                                  Debtor or the Reorganized Debtor, a past or present affiliate
                                  of the Debtor or the Reorganized Debtor or a predecessor in
                                  interest of the Debtor or the Reorganized Debtor (including
                                  Old JJCI);

                                         (IV) such Person’s provision of insurance to the
                                  Debtor or the Reorganized Debtor, a past or present affiliate

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                                  of the Debtor or the Reorganized Debtor, a predecessor in
                                  interest of the Debtor or the Reorganized Debtor (including
                                  Old JJCI), or a Person that owns or at any time has owned a
                                  financial interest in the Debtor or the Reorganized Debtor, a
                                  past or present affiliate of the Debtor or the Reorganized
                                  Debtor, or a predecessor in interest of the Debtor or the
                                  Reorganized Debtor (including Old JJCI); or

                                          (V)     such Person’s involvement in a transaction
                                  changing the corporate structure (including the 2021
                                  Corporate Restructuring and the Prepetition Corporate
                                  Restructuring), or in a loan or other financial transaction
                                  affecting the financial condition, of the Debtor or the
                                  Reorganized Debtor, a past or present affiliate of the Debtor
                                  or the Reorganized Debtor, a predecessor in interest of the
                                  Debtor or the Reorganized Debtor (including Old JJCI), or
                                  any Person that owns or at any time has owned a financial
                                  interest in the Debtor or the Reorganized Debtor, a past or
                                  present affiliate of the Debtor or the Reorganized Debtor, or
                                  a predecessor in interest of the Debtor or the Reorganized
                                  Debtor (including Old JJCI), including (1) involvement in
                                  providing financing (debt or equity) or advice to a Person
                                  involved in such a transaction or (2) acquiring or selling a
                                  financial interest in any Person as part of such transaction;
                                  and/or

                                 (B)   otherwise entitled to the Channeling Injunction
                          pursuant to section 1123(b)(6) and/or section 105(a) of the
                          Bankruptcy Code.

                           (xii)    The FCR was appointed as part of the proceedings leading
                   to issuance of the Channeling Injunction and the Insurance Entity Injunction
                   for the purpose of protecting the rights of all Persons, whether known or
                   unknown, that might subsequently assert, directly or indirectly, against the
                   Debtor a Talc Personal Injury Demand that is addressed in the Channeling
                   Injunction and the Insurance Entity Injunction and channeled to the Talc
                   Personal Injury Trust.

                           (xiii) Identifying each Protected Party (by name or as part of an
                   identifiable group, as applicable) in the Channeling Injunction and the
                   Insurance Entity Injunction is fair and equitable with respect to individuals
                   that might assert Talc Personal Injury Demands against each such Protected
                   Party, in light of the benefits provided, or to be provided, to the Talc
                   Personal Injury Trust by or on behalf of any such Protected Party.




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                           (xiv) The Plan and the Plan Documents comply with
                   section 524(g) of the Bankruptcy Code in all respects, and the Talc Personal
                   Injury Trust Documents are fully consistent with the Plan.

                          (xv)     The Plan, including the Channeling Injunction and the
                   Insurance Entity Injunction, and the other Plan Documents are a fair,
                   equitable, and reasonable resolution of the liability of the Debtor for the
                   Channeled Talc Personal Injury Claims, including Talc Personal Injury
                   Demands that are Channeled Talc Personal Injury Claims.

                           (xvi) The FCR has adequately and completely fulfilled her
                   duties, responsibilities, and obligations as the representative for any and all
                   persons who may assert Talc Personal Injury Demands in the future, but
                   who are currently unknown, in accordance with section 524(g) of the
                   Bankruptcy Code.

                           (xvii) Adequate and sufficient notice of the Plan and the
                   Confirmation Hearing, as well as all deadlines for objecting to the Plan, has
                   been given to: (A) all known creditors and holders of Interests; (B) parties
                   that requested notice in accordance with Bankruptcy Rule 2002 (including
                   the TCC and the FCR); (C) all parties to Unexpired Leases and Executory
                   Contracts with the Debtor; (D) all taxing authorities listed on the Debtor’s
                   Schedules or in the Debtor’s Claims database; (E) the Department of the
                   Treasury by service upon the District Director of the IRS; (F) state attorneys
                   general and state departments of revenue for states in which the Debtor has
                   conducted business; and (G) the Securities and Exchange Commission; in
                   each case, (I) in accordance with the solicitation procedures governing such
                   service and (II) in substantial compliance with Bankruptcy Rules 2002(b),
                   3017, and 3020(b). Such transmittal and service were adequate and
                   sufficient to bind, among other parties, each holder of a Channeled Talc
                   Personal Injury Claim, and each party represented by the FCR, and no other
                   or further notice is or shall be required.

                           (xviii) Each holder of a Channeled Talc Personal Injury Claim and
                   each party represented by the TCC or the FCR has been afforded due
                   process based on the notice referenced in clause (xvii) above, the
                   appointment of the TCC and the FCR, and the Plan’s compliance with
                   section 524(g) of the Bankruptcy Code.

                           (xix) If the provisions of Section 4.9.3 and Section 5.9.1 are
                   applicable, the Bankruptcy Code authorizes the transfer and assignment of
                   the Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                   Personal Injury Trust pursuant to Section 4.9.3, and from and after the
                   transfer and assignment of the Imerys/Cyprus Related Rights by the
                   Reorganized Debtor to the Talc Personal Injury Trust, no Imerys/Cyprus
                   Party may assert under any Imerys/Cyprus Agreement or otherwise (i) any
                   defense that the Plan or any other Plan Document does not comply with the

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                      Bankruptcy Code or (ii) any defense that the transfer and assignment of the
                      Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                      Personal Injury Trust pursuant to Section 4.9.3, or any other action
                      contemplated by Section 4.9.3, is prohibited by any Imerys/Cyprus
                      Agreement or by applicable non-bankruptcy law.

                              (xx)    The Bankruptcy Code authorizes the transfer and
                      assignment of the Talc Insurance Assets by the Reorganized Debtor to the
                      Talc Personal Injury Trust pursuant to Section 4.9.4, and from and after the
                      transfer and assignment of the Talc Insurance Assets to the Talc Personal
                      Injury Trust pursuant to Section 4.9.4, no Talc Insurance Company may
                      assert under any Talc Insurance Policy or Talc Insurance Settlement
                      Agreement (i) any defense that the Plan or any other Plan Document does
                      not comply with the Bankruptcy Code or (ii) any defense that the transfer
                      and assignment of the Talc Insurance Assets by the Reorganized Debtor to
                      the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action
                      contemplated by Section 4.9.4, is prohibited by any Talc Insurance Policy
                      or Talc Insurance Settlement Agreement or by applicable non-bankruptcy
                      law.

                              (xxi) Neither the Plan nor any other Plan Document, including
                      the Trust Distribution Procedures, creates any right or obligation under Case
                      Management Order No. 7(A) entered by the United States District Court for
                      the District of New Jersey in the multidistrict litigation In re: Johnson &
                      Johnson Talcum Powder Products Marketing, Sales Practices and Products
                      Liability Litigation, Civil Action No. 3:16-md-02738, that would permit or
                      require the Debtor or the Reorganized Debtor to withhold any amounts from
                      payments made by it under the Plan or any other Plan Document to or for
                      the benefit of the Talc Personal Injury Trust to account for any common
                      benefit assessments thereunder or to make any payment to the common
                      benefit fund account established pursuant thereto.

                       (f)    The Bankruptcy Court and the District Court, as required, shall have
        entered an order approving the Channeling Injunction and the Insurance Entity Injunction,
        which order may be included in the Confirmation Order and which order shall be in form
        and substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel,
        the SLF, the TCC, and the FCR.

                   (g)     Each of (i) the Private Resolution Process MSA and (ii) the
        Common Benefit Fund MSA shall have been executed and delivered by all parties thereto.

       8.2     Conditions Precedent to the Effective Date of the Plan. Notwithstanding any other
provision of the Plan or the Confirmation Order, the Effective Date of the Plan shall not occur
unless and until each of the following conditions has been satisfied or waived pursuant to
Section 8.3:



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                        (a)   The Confirmation Order in form and substance reasonably
        acceptable to the Debtor, J&J, the AHC of Supporting Counsel, the SLF, the TCC, and the
        FCR shall have been entered, and shall have become a Final Confirmation Order.

                       (b)    The Confirmation Order shall approve the Channeling Injunction
        and the Insurance Entity Injunction and authorize the Debtor and the Reorganized Debtor
        to implement the Plan, in form and substance reasonably acceptable to the Debtor, J&J, the
        AHC of Supporting Counsel, the SLF, the TCC, and the FCR, and shall have become a
        Final Confirmation Order.

                       (c)    The Confirmation Order, the Channeling Injunction, and the
        Insurance Entity Injunction shall be in full force and effect, and no order shall be in effect
        staying or enjoining the implementation or enforcement of the Plan, the Confirmation
        Order, the Channeling Injunction, or the Insurance Entity Injunction.

                        (d)    The Talc Personal Injury Trust Defenses, Cash Contribution (to the
        extent payable on the Effective Date), Talc PI Note, Talc PI Pledge Agreement,
        Imerys/Cyprus Related Rights (if the provisions of Section 4.9.3 and Section 5.9.1 are
        applicable), and Trust Insurance Assets shall, simultaneously with the occurrence of the
        Effective Date or as otherwise provided herein, be delivered, transferred, and assigned, as
        applicable, to the Talc Personal Injury Trust in accordance with Article IV.

                        (e)    The Talc Personal Injury Trust Agreement (and related documents)
        and the other applicable Plan Documents (including those attached to any Plan
        Supplement) necessary or appropriate to implement the Plan shall have been executed,
        delivered, and, where applicable, filed with the appropriate governmental units in form and
        substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, the
        SLF, the TCC, and the FCR, and shall be fully enforceable in accordance with their terms.

                      (f)       The fees of the United States Trustee then owed by the Debtor shall
        have been paid in full.

                       (g)     One of the following shall have occurred: (i) the Confirmation
        Order shall have become a Final Order; (ii) the Confirmation Order shall have been fully
        affirmed by the Fifth Circuit; or (iii) the Claims Submission Report (as such term is defined
        in the Talc Personal Injury Trust Agreement) shall have been delivered to the Debtor and
        J&J within one hundred forty (140) days of the Confirmation Date, the Claims Submission
        Report so delivered shall indicate that at least ninety five percent (95%) of all holders of
        Existing Direct Claims who submitted their respective Existing Direct Claims to the Talc
        Personal Injury Trust within one hundred twenty (120) of the Confirmation Date included
        a properly completed and executed Acceptance and Release as part of their submissions,
        and one hundred seventy (170) days shall have elapsed following the Confirmation Date.

The Effective Date shall occur as of 12:01 a.m., prevailing Central Time, on the date that the
Debtor or Reorganized Debtor files a notice with the Bankruptcy Court stating that the Effective
Date has occurred because each of the conditions to the Effective Date has been satisfied or waived
pursuant to Section 8.3.

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         8.3    Waiver of Conditions Precedent. To the greatest extent permitted by law, each of
the conditions precedent in this Article VIII may be waived or modified, in whole or in part, by
the Debtor (with the consent of (a) in the event such waiver or modification affects the rights of
J&J expressly contained herein, J&J, (b) in the event such waiver or modification affects the rights
of the AHC of Supporting Counsel expressly contained herein, the AHC of Supporting Counsel,
(c) in the event such waiver or modification affects the rights of the SLF expressly contained
herein, the SLF, (d) in the event such waiver or modification affects the rights of the TCC expressly
contained herein, the TCC, and (e) in the event such waiver or modification affects the rights of
the FCR expressly contained herein, the FCR). Any waiver or modification of a condition
precedent under this Section 8.3 may be effected at any time, without notice, without leave or order
of the Bankruptcy Court or District Court, and without any other formal action. Confirmation and
the Effective Date shall occur irrespective of whether any Claims allowance process or related
litigation has been completed.

        8.4     Notice of Effective Date. The Debtor shall file with the Bankruptcy Court the
notice contemplated by Section 8.2 within five (5) Business Days after each of the conditions
precedent to the Effective Date of the Plan set forth therein has been satisfied or waived pursuant
to Section 8.3.

        8.5     Effect of Nonoccurrence of Conditions Precedent to the Effective Date of the Plan.
If any of the conditions precedent to the Effective Date of the Plan set forth in Section 8.2 has not
been satisfied or duly waived in accordance with Section 8.3, then, upon motion by the Debtor
made before the time that each of such conditions precedent has been satisfied or duly waived and
upon notice to such parties in interest as the Bankruptcy Court may direct, the Confirmation Order
shall be vacated by the Bankruptcy Court; provided, however, that, notwithstanding the filing of
such motion, the Confirmation Order may not be vacated if each of the conditions precedent set
forth in Section 8.2 is either satisfied or duly waived before the Bankruptcy Court enters an order
granting such motion. If at any time after the Effective Date, the Reorganized Debtor (with the
consent of J&J) elects to revoke or withdraw the Plan as contemplated by Section 9.12, then, upon
notice by the Reorganized Debtor to the Bankruptcy Court, the Confirmation Order shall be
vacated by the Bankruptcy Court. If the Confirmation Order is vacated pursuant to this Section
8.5: (a) the Plan shall be null and void in all respects, including with respect to the discharge of
Claims; and (b) nothing contained in the Plan shall (i) constitute a waiver or release of any Claims
by or against, or any Interest in, the Debtor or (ii) prejudice in any manner the rights, including
any claims or defenses, of the Debtor or any other Person; provided, however, that any completed
and executed Acceptance and Release that is then binding on a holder of a Talc Personal Injury
Claim in accordance with its terms shall continue to be binding thereon in accordance with its
terms.

                                  ARTICLE IX
                     MEANS FOR IMPLEMENTATION OF THE PLAN

        9.1    General. On or after the Confirmation Date, the Debtor shall be empowered and
authorized to take or cause to be taken, prior to the Effective Date, all actions necessary or
appropriate to achieve the Effective Date and enable the Reorganized Debtor to implement
effectively the provisions of the Plan, the Talc Personal Injury Trust Documents, and the
Confirmation Order, including the creation of the Talc Personal Injury Trust and the preparations

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for the delivery, transfer, and assignment of assets to the Talc Personal Injury Trust pursuant to
Article IV.

       9.2     Operations of the Debtor Prior to the Effective Date. The Debtor shall continue to
operate as debtor and debtor-in-possession through and until the Effective Date.

        9.3    Articles of Organization and Operating Agreement. From and after the Effective
Date, the Reorganized Debtor shall be governed pursuant to the Amended Charter Documents.
The Amended Articles of Organization and the Amended Operating Agreement shall contain such
provisions as are necessary to satisfy the provisions of the Plan and, to the extent necessary to
prohibit the issuance of non-voting equity securities as required by section 1123(a)(6) of the
Bankruptcy Code, subject to further amendment of the Amended Charter Documents after the
Effective Date, as permitted by applicable law.

        9.4     Corporate Action. On the Effective Date, the matters under the Plan involving or
requiring corporate action of the Debtor or Reorganized Debtor, including actions requiring a vote
of the board of managers and execution of all documentation incident to the Plan, shall be deemed
to have been authorized by the Confirmation Order and to have occurred and be in effect from and
after the Effective Date without any further action by the Bankruptcy Court or the officers or
managers of the Debtor or Reorganized Debtor.

        9.5     Authority of Officers. Each officer of the Debtor and the Reorganized Debtor shall
be authorized and empowered to execute, deliver, file, or record such contracts, instruments,
releases, and other agreements and documents and take such other actions as may be necessary or
appropriate to effect and implement the provisions of the Plan. The secretary or any assistant
secretary of the Debtor or the Reorganized Debtor shall be authorized to certify or attest to any of
the actions taken pursuant to this Section 9.5.

        9.6      Post-Effective Date Governance; Continued Existence of the Reorganized Debtor.

                9.6.1      General. The Reorganized Debtor shall continue its existence as a
        separate entity after the Effective Date, with all the powers thereof, pursuant to the
        applicable law in the jurisdiction in which the Reorganized Debtor is formed and pursuant
        to the Amended Charter Documents and any other formation documents in effect following
        the Effective Date, and such documents are deemed to be adopted pursuant to the Plan and
        require no further action or approval.

                9.6.2      Officers and Managers. On the Effective Date, the officers and
        managers of the Reorganized Debtor then in office shall continue to serve in such
        capacities, subject to the terms of the Amended Charter Documents and any other
        formation document in effect following the Effective Date.

                 9.6.3      Property and Operations. On the Effective Date, all property of the
         Debtor’s Estate other than the assets delivered, transferred, or assigned to the Talc Personal
         Injury Trust pursuant to Article IV, including any property acquired by the Debtor or the
         Reorganized Debtor pursuant to the Plan, shall vest in the Reorganized Debtor, free and
         clear of all Claims, interests, liens, other Encumbrances, and liabilities of any kind except
         as otherwise expressly provided herein. On and after the Effective Date, the Reorganized
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         Debtor may operate its business and may use, acquire, or dispose of property and
         compromise or settle any claims, interests, or Retained Rights of Action, without
         supervision or approval by the Bankruptcy Court, or notice to any other Person, and free
         of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

        9.7    Arrangements of the Reorganized Debtor with Managers, Officers, and Employees.
As of the Effective Date, the Reorganized Debtor shall be authorized to: (a) maintain, amend, or
revise existing indemnification and other arrangements with its active and retired managers and
officers, subject to the terms and conditions of any such agreement, or enter into new
indemnification and other arrangements with its active and retired managers and officers; and
(b) maintain, amend, cancel, or revise the Secondment Agreement or enter into new employee
secondment arrangements with its Affiliates; all as determined by the board of managers of the
Reorganized Debtor.

       9.8     Good Faith Compromise and Settlement. The Plan, the other Plan Documents, and
the Confirmation Order constitute a good faith compromise and settlement of claims and
controversies based on the unique circumstances of this Chapter 11 Case, and none of the foregoing
documents, the Disclosure Statement, or any other papers filed in furtherance of Plan
Confirmation, nor any drafts of such documents, may be offered into evidence or deemed as an
admission in any context whatsoever beyond the purposes of the Plan, in any other litigation or
proceeding, except as necessary, and as admissible in such context, to enforce their terms before
the Bankruptcy Court or any other court of competent jurisdiction.

        9.9      Resolution of Channeled Talc Personal Injury Claims. Channeled Talc Personal
Injury Claims shall be channeled to and resolved by the Talc Personal Injury Trust in accordance
with the Talc Personal Injury Trust Documents, subject to: (a) the right of any Talc Insurance
Company to raise any valid Talc Insurer Coverage Defense in response to any claim, cause of
action, or right asserted by the Talc Personal Injury Trust (acting through the Reorganized Debtor,
as its subrogee having the exclusive right (i) to pursue and resolve any Talc In-Place Insurance
Coverage, (ii) to pursue and resolve any Talc Insurance Action, (iii) to pursue and obtain any Talc
Insurance Recoveries, and (iv) to negotiate and enter into any Talc Insurance Settlement
Agreement) in respect of any Talc Insurance Assets; and (b) if the provisions of Section 4.9.3 and
Section 5.9.1 are applicable, the right of any Imerys/Cyprus Party to raise any valid Imerys/Cyprus
Defense in response to any claim, cause of action, or right asserted by the Talc Personal Injury
Trust in respect of any Imerys/Cyprus Related Rights.

        9.10 Cash for Cash Contributions, Distributions, and Other Payments Pursuant to the
Plan. All Cash for the payment of Cash Contributions, Distributions, and other Cash payments to
be made by the Reorganized Debtor pursuant to the Plan and the Talc Personal Injury Trust
Documents shall be funded by the Reorganized Debtor. All Cash necessary for the Reorganized
Debtor to fund the payment of such Cash Contributions, Distributions, and other Cash payments
pursuant to the Plan and the Talc Personal Injury Trust Documents shall be obtained through:
(a) the Reorganized Debtor’s Cash balances; (b) the Funding Agreements; or (c) such other means
of financing or funding as determined by the board of managers of the Reorganized Debtor. On
the Effective Date, J&J and Holdco shall execute and deliver to the Talc Personal Injury Trust the
Cash Contributions Guarantee as provided in Section 4.9.1(c). For the avoidance of doubt, nothing


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contained in this Section 9.10 shall in any way affect the obligations of J&J and Holdco under the
Cash Contributions Guarantee.

        9.11     Modification of the Plan.

                 (a)    To the extent permissible under section 1127 of the Bankruptcy Code, at
any time prior to substantial consummation of the Plan, any proposed amendments to or
modifications of the Plan under section 1127 of the Bankruptcy Code or as otherwise permitted by
law may be submitted by the Debtor (with the consent of (a) J&J, (b) solely to the extent that any
proposed amendments to or modifications of the Plan materially negatively affect the rights of the
AHC of Supporting Counsel expressly contained herein, the AHC of Supporting Counsel,
(c) solely to the extent that any proposed amendments to or modifications of the Plan materially
negatively affect the rights of the SLF expressly contained herein, the SLF, (d) solely to the extent
that any proposed amendments to or modifications of the Plan materially negatively affect the
rights of the TCC expressly contained herein, the TCC, and (e) solely to the extent that any
proposed amendments to or modifications of the Plan materially negatively affect the rights of the
FCR expressly contained herein, the FCR), without additional disclosure pursuant to section 1125
of the Bankruptcy Code, unless section 1127 of the Bankruptcy Code requires additional
disclosure. In addition, and without limiting the generality of the foregoing, prior to the Effective
Date, the Debtor may make appropriate technical adjustments and modifications to the Plan
without further order or approval of the Bankruptcy Court, to the extent permissible under section
1127 of the Bankruptcy Code; provided, however, that such technical adjustments and
modifications do not adversely affect in a material way the rights or protections of the Protected
Parties or the treatment of holders of Claims or Interests under the Plan.

                (b)     To the extent permissible under section 1127(b) of the Bankruptcy Code,
following substantial consummation of the Plan, the Reorganized Debtor may remedy any defects
or omissions or reconcile any inconsistencies in the Plan Documents for the purpose of
implementing the Plan in such manner as may be necessary or appropriate to carry out the purposes
and intent of the Plan.

             (c)    From and after the Effective Date, any holder of a Claim or Interest that has
accepted the Plan shall be deemed to have accepted the Plan as amended, modified, or
supplemented pursuant to this Section 9.11, unless the Bankruptcy Court rules otherwise.

        9.12 Revocation or Withdrawal of the Plan. Without the prior order of the Bankruptcy
Court, at any time prior to the earlier to occur of (a) the date that is one hundred seventy (170)
days after the Confirmation Date and (b) the Effective Date, the Debtor (with the consent of J&J)
may revoke and withdraw the Plan for either of the following reasons: (i) the Claims Submission
Report (as such term is defined in the Talc Personal Injury Trust Agreement) shows that fewer
than ninety-five percent (95%) of all holders of Existing Direct Claims who submitted their
respective Existing Direct Claims to the Talc Personal Injury Trust within one hundred twenty
(120) of the Confirmation Date included a properly completed and executed Acceptance and
Release as part of their submission or (ii) the United States Trustee or any association or
organization advocating on behalf of attorneys who regularly represent personal injury claimants
appeals the Confirmation Order to the Fifth Circuit. Without the prior order of the Bankruptcy
Court, the Debtor (with the consent of J&J) may revoke and withdraw the Plan at any time

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following the Effective Date if there is an Adverse Appellate Ruling. If the Debtor revokes or
withdraws the Plan, the Plan shall be deemed null and void and nothing contained herein shall be
deemed to constitute a waiver or release of any claims by or against the Debtor, or any other
Person, or to prejudice in any manner the rights of the Debtor, or any other Person, in any further
proceedings involving the Debtor; provided, however, that any completed and executed
Acceptance and Release then binding on a holder of a Talc Personal Injury Claim in accordance
with its terms shall continue to be binding thereon in accordance with its terms. For the avoidance
of doubt, unless and until the Plan is confirmed and the Effective Date occurs, the Plan will have
no force or effect.

        9.13 Certain Technical Modifications. Prior to the Effective Date, the Debtor may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court, to the extent permissible under section 1127 of the Bankruptcy Code;
provided, however, that such technical adjustments and modifications do not adversely affect in a
material way the rights or protections of the Protected Parties or the treatment of holders of Claims
or Interests under the Plan.

                                        ARTICLE X
                                 EFFECT OF CONFIRMATION

        10.1     Preservation of Rights of Action by the Debtor and the Reorganized Debtor.

                10.1.1     Retained Rights of Action. The Reorganized Debtor shall retain and
        may enforce, prosecute or settle, and shall have the sole right to enforce, prosecute or settle,
        the Retained Rights of Action. The Reorganized Debtor or its successors may pursue or
        resolve such Retained Rights of Action, as appropriate in accordance with the best interests
        of the Reorganized Debtor or its successors holding such Retained Rights of Action. The
        Reorganized Debtor’s rights under this Section 10.1.1 shall be preserved notwithstanding
        the occurrence of the Effective Date.

                10.1.2     Reservation of Rights. No Person may rely on the absence of a specific
        reference in the Plan, any Plan Supplement, or the Disclosure Statement to any Retained
        Rights of Action against them as any indication that the Reorganized Debtor will not pursue
        the Retained Rights of Action. The Reorganized Debtor expressly reserves all rights to
        prosecute any and all Retained Rights of Action. Unless any of the Retained Rights of
        Action against a Person are expressly waived, relinquished, exculpated, released,
        compromised, or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtor
        expressly reserves all such Retained Rights of Action for later adjudication, and, therefore,
        no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
        preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
        apply to such Retained Rights of Action as a consequence of the Confirmation of the Plan.

               10.1.3      Retained Defenses. Without limiting the generality of the foregoing,
        upon the Effective Date, except as expressly provided in Article IV with respect to Talc
        Personal Injury Trust Defenses, Imerys/Cyprus Related Rights (if the provisions of
        Section 4.9.3 and Section 5.9.1 are applicable), and Talc Insurance Assets, the Reorganized
        Debtor shall retain and enforce all defenses and counterclaims to all Claims that were or

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        could have been asserted against the Debtor or its Estate, including setoff, recoupment, and
        any rights under section 502(d) of the Bankruptcy Code.

                10.1.4    No Approval Required. On or after the Effective Date, subject to
        Article IV with respect to Talc Personal Injury Trust Defenses, Imerys/Cyprus Related
        Rights (if the provisions of Section 4.9.3 and Section 5.9.1 are applicable), and Talc
        Insurance Assets, the Reorganized Debtor may pursue, settle, or withdraw, without
        Bankruptcy Court approval, claims, rights, or causes of action as it determines in
        accordance with its best interests.

        10.2     Imerys/Cyprus Matters.

                10.2.1     Imerys/Cyprus Related Rights. If the provisions of Section 4.9.3 and
        Section 5.9.1 are applicable, the provisions of this Section 10.2.1 shall apply to all Persons
        (including the Imerys/Cyprus Parties):

                       (a)    Preservation of Imerys/Cyprus Related Rights. All Imerys/Cyprus
        Related Rights, and all claims, causes of action, and rights in respect thereof, shall be
        preserved notwithstanding anything to the contrary contained in the Plan or the
        Confirmation Order. For the avoidance of doubt, nothing in the Plan or the Confirmation
        Order shall discharge, settle, release, enjoin, or otherwise impair any claim against any
        Imerys/Cyprus Party based on, arising out of, or in any way relating to the Imerys/Cyprus
        Related Rights.

                       (b)     Actions in Respect of Imerys/Cyprus Related Rights From and After
        the Effective Date.

                              (i)      Upon the transfer and assignment of the Imerys/Cyprus
                       Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust
                       pursuant to Section 4.9.3 on the Effective Date or, if later, the
                       Imerys/Cyprus Settlement Termination Date, the Imerys/Cyprus Related
                       Rights shall exclusively vest in the Talc Personal Injury Trust in accordance
                       with section 1123(a)(5)(B) of the Bankruptcy Code.

                                (ii)   From and after the transfer and assignment of the
                       Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                       Personal Injury Trust pursuant to Section 4.9.3 on the Effective Date or, if
                       later, the Imerys/Cyprus Settlement Termination Date, the Talc Personal
                       Injury Trust shall retain the Imerys/Cyprus Related Rights, and all claims,
                       causes of action, and rights in respect thereof, as the appointed estate
                       representative in accordance with section 1123(b)(3)(B) of the Bankruptcy
                       Court.

                                (iii)  From and after the transfer and assignment of the
                       Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                       Personal Injury Trust pursuant to Section 4.9.3 on the Effective Date or, if
                       later, the Imerys/Cyprus Settlement Termination Date, the Talc Personal


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                       Injury Trust shall have the exclusive right to pursue and resolve the
                       Imerys/Cyprus Related Rights.

                       (c)    No Impairment of Rights or Obligations of Imerys/Cyprus Parties.

                               (i)       Nothing contained in the Plan, the Plan Documents, or the
                       Confirmation Order, including any provision that purports to be preemptory
                       or supervening, shall in any way operate to, or have the effect of, impairing,
                       altering, supplementing, changing, expanding, decreasing, or modifying the
                       rights or obligations of any Imerys/Cyprus Party or the Debtor or any
                       Debtor Corporate Party arising out of or under any Imerys/Cyprus
                       Agreement. For all issues relating to indemnity rights of the Debtor,
                       including the venue and choice-of-law rules for resolving disputes relating
                       thereto, the provisions, terms, conditions, and limitations of the
                       Imerys/Cyprus Agreements shall control. For the avoidance of doubt,
                       nothing contained in the Plan, the Plan Documents, or the Confirmation
                       Order shall operate to require any Imerys/Cyprus Party to indemnify or pay
                       the liability of any other Protected Party that it would not have been required
                       to pay in the absence of the Plan, or to impose any requirement for an
                       Imerys/Cyprus Party to mount the defense of any claim, indemnify any
                       claim, or otherwise undertake any action that an Imerys/Cyprus Party would
                       not have been required to take in the absence of the Plan.

                               (ii)     The Plan, the Plan Documents, the Confirmation Order, and
                       all proceedings, determinations, and findings in, of, or by the Bankruptcy
                       Court are neutral with respect to, and have no effect on, the rights, defenses,
                       and obligations of the Debtor, the Debtor Corporate Parties, the
                       Imerys/Cyprus Parties, and the Talc Personal Injury Trust under the
                       Imerys/Cyprus Agreements. Nothing in the Chapter 11 Case shall be
                       construed otherwise or be used as evidence to support or suggest a
                       construction to the contrary.

                       (d)     Plan Binding on Imerys/Cyprus Parties. The Plan, the Plan
        Documents, and the Confirmation Order shall be binding on the Imerys/Cyprus Parties;
        provided, however, that, except as provided in Section 10.2.1(e), none of (a) the
        Bankruptcy Court’s approval of the Plan or the Plan Documents, (b) the Confirmation
        Order or any findings and conclusions entered with respect to Confirmation, nor (c) any
        estimation or valuation of Talc Personal Injury Claims, either individually or in the
        aggregate (including any agreement as to the valuation of Talc Personal Injury Claims) in
        the Chapter 11 Case shall, with respect to the Imerys/Cyprus Parties, constitute a trial or
        hearing on the merits or an adjudication, judgment, finding, conclusion, or other
        determination, or be used as evidence of or suggestion regarding the rights and obligations
        of any Imerys/Cyprus Party under any Imerys/Cyprus Agreement.

                        (e)     Issues Actually Litigated by Imerys/Cyprus Parties. Nothing in this
        Section 10.2.1 is intended or shall be construed to preclude otherwise applicable principles
        of res judicata or collateral estoppel from being applied against the Imerys/Cyprus Parties

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        with respect to any issue that is actually litigated by any of them as part of its objections,
        if any, to Confirmation of the Plan or as part of any contested matter or adversary
        proceeding filed by any Imerys/Cyprus Party in connection with or related to Confirmation
        of the Plan; provided, however, that any Plan objection that an Imerys/Cyprus Party
        withdraws prior to the conclusion of the Confirmation Hearing (or a finding that an
        Imerys/Cyprus Party lacks standing to litigate or is otherwise unable to or chooses not to
        litigate at or before the Confirmation Hearing) shall be deemed not to have been actually
        litigated. The resolution of any related objection raised by other parties and any related
        findings or determinations (other than those contemplated by Section 8.1(e)(xix)) shall not
        be offered for evidentiary purposes nor be binding on any Imerys/Cyprus Party in any way
        or otherwise prejudice, impair, or affect (under principles of preclusion, waiver, estoppel,
        or otherwise) an Imerys/Cyprus Party’s legal, equitable, or contractual rights or
        obligations. No Imerys/Cyprus Party shall be bound, prejudiced, impaired, or affected
        (under principles of preclusion, waiver, estoppel, or otherwise) by the fact that an
        Imerys/Cyprus Party withdrew, chose to withdraw, or did not press any objection or
        argument before or after Confirmation.

                 10.2.2     Imerys/Cyprus Settlement. If the Imerys/Cyprus Settlement Closing
        Date occurs, whether prior to, on, or following the Effective Date, nothing in the Plan or
        any other Plan Document will prevent a holder of a Channeled Talc Personal Injury Claim
        from recovering from both (a) the Talc Personal Injury Trust in respect of his, her, or its
        Channeled Talc Personal Injury Claim and (b) any trust established pursuant to any plan
        of reorganization that becomes effective in any chapter 11 case of Imerys, Cyprus, or any
        of their respective Affiliates (or the estates thereof) in respect of talc-related personal injury
        claims against Imerys, Cyprus, and/or any of their respective Affiliates, so long as the
        Imerys/Cyprus Settlement (including the releases contemplated thereby) is effective and,
        in the case of recovery from a trust established pursuant to any such plan of reorganization,
        such plan of reorganization is consistent with the Imerys/Cyprus Settlement (including the
        releases contemplated thereby).

        10.3 Talc Insurance Assets. The provisions of this Section 10.3 shall apply to all Persons
(including all Talc Insurance Companies).

                 10.3.1      Preservation of Talc Insurance Assets. All Talc Insurance Assets, and
        all claims, causes of action, and rights in respect thereof, shall be preserved
        notwithstanding anything to the contrary contained in the Plan or the Confirmation Order.
        For the avoidance of doubt, nothing in the Plan or the Confirmation Order shall discharge,
        settle, release, enjoin, or otherwise impair any claim against any Talc Insurance Company
        based on, arising out of, or in any way relating to the Talc Insurance Assets.

                10.3.2      Actions in Respect of Talc Insurance Assets From and After the
        Effective Date.

                       (a)    Upon the transfer and assignment of the Talc Insurance Assets by
        the Reorganized Debtor to the Talc Personal Injury Trust pursuant to Section 4.9.4 on the
        Effective Date, subject to the provisions of Section 4.9.4 and the Cooperation Agreement,


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        the Talc Insurance Assets shall exclusively vest in the Talc Personal Injury Trust in
        accordance with section 1123(a)(5)(B) of the Bankruptcy Code;

                        (b)     From and after the transfer and assignment of the Talc Insurance
        Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
        Section 4.9.4 on the Effective Date, subject to the provisions of Section 4.9.4 and the
        Cooperation Agreement, the Talc Personal Injury Trust shall retain the Talc Insurance
        Assets, and all claims, causes of action, and rights in respect thereof, as the appointed estate
        representative in accordance with section 1123(b)(3)(B) of the Bankruptcy Court; and

                       (c)     From and after the transfer and assignment of the Talc Insurance
        Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
        Section 4.9.4 on the Effective Date, pursuant to the provisions of Section 4.9.4 and the
        Cooperation Agreement: (i) the Reorganized Debtor, as the subrogee of the Talc Personal
        Injury Trust, shall have the exclusive right (A) to pursue and resolve any Talc In-Place
        Insurance Coverage, (B) to pursue and resolve any Talc Insurance Action, (C) to pursue
        and obtain any Talc Insurance Recoveries, and (D) to negotiate and enter into any Talc
        Insurance Settlement Agreement; and (ii) any of the following received by the Talc
        Personal Injury Trust shall be delivered to, and retained by, the Reorganized Debtor: (A)
        all proceeds of Talc In-Place Insurance Coverage; (B) all proceeds or benefits of any Talc
        Insurance Action; and (C) all amounts payable pursuant to any Talc Insurance Settlement
        Agreement. For the avoidance of doubt, nothing in the Plan, the Plan Documents, or the
        Confirmation Order shall impair or otherwise affect any rights that any Debtor Corporate
        Party may have under any Talc Insurance Policy or Talc Insurance Settlement Agreement.

                 10.3.3    No Impairment of Rights or Obligations of Talc Insurance Companies.

                        (a)     Except as provided in any Talc Insurance Settlement Agreement or
        in Section 11.2.1, nothing contained in the Plan, the Plan Documents, or the Confirmation
        Order, including any provision that purports to be preemptory or supervening, shall in any
        way operate to, or have the effect of, impairing, altering, supplementing, changing,
        expanding, decreasing, or modifying the rights or obligations of any Talc Insurance
        Company or the Debtor arising out of or under any Talc Insurance Policy. For all issues
        relating to insurance coverage, the provisions, terms, conditions, and limitations of the Talc
        Insurance Policies or Talc Insurance Settlement Agreements shall control. For the
        avoidance of doubt, nothing contained in the Plan, the Plan Documents, or the
        Confirmation Order shall operate to require any Talc Insurance Company to indemnify or
        pay the liability of any Protected Party that it would not have been required to pay in the
        absence of the Plan.

                       (b)     The Plan, the Plan Documents, the Confirmation Order, and all
        proceedings, determinations, and findings in, of, or by the Bankruptcy Court are neutral
        with respect to, and have no effect on, the rights, defenses, and obligations of the Debtor,
        the Talc Insurance Companies, and the Talc Personal Injury Trust under the Talc Insurance
        Policies. Nothing in the Chapter 11 Case shall be construed otherwise or be used as
        evidence to support or suggest a construction to the contrary.


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                10.3.4     Plan Binding on Talc Insurance Companies. The Plan, the Plan
        Documents, and the Confirmation Order shall be binding on the Talc Insurance Companies;
        provided, however, that, except as provided in Section 10.3.6, none of (a) the Bankruptcy
        Court’s approval of the Plan or the Plan Documents, (b) the Confirmation Order or any
        findings and conclusions entered with respect to Confirmation, nor (c) any estimation or
        valuation of Talc Personal Injury Claims, either individually or in the aggregate (including
        any agreement as to the valuation of Talc Personal Injury Claims) in the Chapter 11 Case
        shall, with respect to any Talc Insurance Company, constitute a trial or hearing on the
        merits or an adjudication, judgment, finding, conclusion, or other determination, or be used
        as evidence of or suggestion regarding the rights and obligations of any Talc Insurance
        Company under any Talc Insurance Policy.

                10.3.5      Plan Protections of Settling Talc Insurance Companies. No provision
        of the Plan, other than those provisions contained in the applicable Injunctions set forth in
        Article XI, shall be interpreted to affect or limit the protections afforded to any Settling
        Talc Insurance Company by the Channeling Injunction or the Insurance Entity Injunction.

                 10.3.6     Issues Actually Litigated by the Talc Insurance Companies. Nothing in
        this Section 10.3 is intended or shall be construed to preclude otherwise applicable
        principles of res judicata or collateral estoppel from being applied against any Talc
        Insurance Company with respect to any issue that is actually litigated by such Talc
        Insurance Company as part of its objections, if any, to Confirmation of the Plan or as part
        of any contested matter or adversary proceeding filed by such Talc Insurance Company in
        conjunction with or related to Confirmation of the Plan; provided, however, that any Plan
        objection that a Talc Insurance Company withdraws prior to the conclusion of the
        Confirmation Hearing (or a finding that a Talc Insurance Company lacks standing to
        litigate or is otherwise unable to or chooses not to litigate at or before the Confirmation
        Hearing) shall be deemed not to have been actually litigated. The resolution of any related
        objection raised by other parties and any related findings or determinations (other than
        those contemplated by Section 8.1(e)(xx)) shall not be offered for evidentiary purposes nor
        be binding on any Talc Insurance Company in any way or otherwise prejudice, impair, or
        affect (under principles of preclusion, waiver, estoppel, or otherwise) a Talc Insurance
        Company’s legal, equitable, or contractual rights or obligations. No Talc Insurance
        Company shall be bound, prejudiced, impaired, or affected (under principles of preclusion,
        waiver, estoppel, or otherwise) by the fact that a Talc Insurance Company withdrew, chose
        to withdraw, or did not press any objection or argument before or after Confirmation.

         10.4 Preservation of Rights of Action by the Talc Personal Injury Trust. As of the
Effective Date, the Talc Personal Injury Trust shall be empowered to initiate, prosecute, defend,
settle, maintain, administer, preserve, pursue, and resolve all legal actions and other proceedings
related to any asset, liability, or responsibility of the Talc Personal Injury Trust, including
Channeled Talc Personal Injury Claims and Talc Personal Injury Trust Defenses. Without limiting
the foregoing, on and after the Effective Date, the Talc Personal Injury Trust shall be empowered
to initiate, prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such
actions in the name of either the Debtor or the Reorganized Debtor, if deemed necessary or
appropriate by the Talc Personal Injury Trust. The Talc Personal Injury Trust shall be responsible
for the payment of all damages, awards, judgments, settlements, expenses, costs, fees, and other

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charges incurred subsequent to the Effective Date arising out of or in any way relating to any such
legal action or other proceeding. This Section 10.4 shall not apply to legal actions and other
proceedings related to (a) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the
Imerys/Cyprus Related Rights, which shall be pursued, resolved, and settled in accordance with
the provisions of Section 4.9.3 and Section 10.2.1, or (b) the Talc Insurance Assets, which shall
be pursued, resolved, and settled in accordance with the provisions of Section 4.9.3 and Section
10.3.

        10.5     Terms of Injunctions and Automatic Stay.

                10.5.1     General. Any and all injunctions and/or automatic stays provided for in
        or in connection with the Chapter 11 Case, whether pursuant to sections 105, 362, or any
        other provision of the Bankruptcy Code, Bankruptcy Rules, or other applicable law in
        existence immediately prior to the Confirmation Date, shall remain in full force and effect
        until the Injunctions become effective pursuant to a Final Order, and shall continue to
        remain in full force and effect thereafter as and to the extent provided by the Plan, the
        Confirmation Order, or by their own terms. In addition, on and after Confirmation, the
        Debtor may seek such further orders as the Debtor deems necessary or appropriate to
        preserve the status quo during the time between the Confirmation Date and the Effective
        Date.

                10.5.2      Effectiveness. Each of the Injunctions contained in the Plan or the
        Confirmation Order shall become effective on the Effective Date and shall continue in
        effect at all times thereafter unless otherwise provided by the Plan or the Confirmation
        Order.

        10.6     The FCR and the TCC.

                10.6.1      General. The FCR and the TCC shall continue in their official capacities
        until the Effective Date. The Debtor shall pay the reasonable fees and expenses incurred
        by the FCR and the TCC through the Effective Date, in accordance with the Compensation
        Procedures Order and the terms of the Plan, including Section 2.2.

                10.6.2      Dissolution. On the Effective Date, the TCC shall dissolve, and the
        members of such committee shall be released and discharged from all duties and
        obligations arising from or related to the Chapter 11 Case. Similarly, on the Effective Date,
        the FCR shall be deemed released and discharged from all duties and obligations from or
        related to the Chapter 11 Case. The Professionals retained by the TCC and the members
        thereof or by the FCR shall not be entitled to assert any Fee Claim for any services rendered
        or expenses incurred after the Effective Date, except for services rendered and expenses
        incurred in connection with any applications for allowance of compensation and
        reimbursement of expenses pending on the Effective Date or filed and served after the
        Effective Date pursuant to Section 2.2.

       10.7 No Effect on United States Trustee. Nothing in this Section 10 shall limit or
otherwise affect the rights of the United States Trustee under section 502 of the Bankruptcy Code



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or otherwise to object to Claims or requests for allowance of Fee Claims and other Administrative
Claims.

        10.8 Binding Effect. Subject to Section 10.2 and Section 10.3, as of the Effective Date,
the Plan, the Plan Documents, and the Confirmation Order shall be binding on the Debtor, the
Reorganized Debtor, the Talc Personal Injury Trust, any and all holders of Claims against or
Interests in the Debtor (regardless of whether such Claim or Interest is Impaired and regardless of
whether such holder voted to accept the Plan), and any and all other Persons that are affected in
any manner by the Plan.

                                    ARTICLE XI
                 DISCHARGE, RELEASES, INJUNCTIONS, AND EXCULPATION

        11.1       Discharge and Injunctions.

              11.1.1      Discharge of Claims Against the Debtor. As of the Effective Date,
        Confirmation of the Plan shall afford the Debtor a discharge to the fullest extent permitted
        by Bankruptcy Code sections 524 and 1141(d)(1).

                 11.1.2    Discharge Injunction. From and after the Effective Date, to the
        maximum extent permitted under applicable law, all Persons that hold, have held, or
        may hold a Claim, demand, or other debt or liability that is discharged are
        permanently enjoined from taking any of the following actions on account of, or on
        the basis of, such discharged Claims, demands, debts, or liabilities: (i) commencing
        or continuing any action or other proceeding of any kind against the Debtor, the
        Reorganized Debtor, or their respective property; (ii) enforcing, attaching, collecting,
        or recovering by any manner or means of any judgment, award, decree, or order
        against the Debtor, the Reorganized Debtor, or their respective property;
        (iii) creating, perfecting, or enforcing any lien or other Encumbrance of any kind
        against the Debtor, the Reorganized Debtor, or their respective property; and
        (iv) commencing or continuing any judicial or administrative proceeding, in any
        forum and in any place in the world, that does not comply with or is inconsistent with
        the provisions of the Plan or the Confirmation Order. The foregoing injunction shall
        extend to the successors of the Debtor (including the Reorganized Debtor) and their
        respective properties and interests in property. The discharge provided in this
        Section 11.1 shall void any judgment obtained against the Debtor or any successor of
        the Debtor (including the Reorganized Debtor) at any time, to the extent that such
        judgment relates to a discharged Claim or demand. Notwithstanding the foregoing,
        nothing in this Section 11.1 shall impair the rights of holders of Judgment Claims to
        seek to enforce and collect on the judgments on which such Judgment Claims are
        based, including through the defense or prosecution of appellate litigation related
        thereto.

        11.2       Releases.

              11.2.1    Releases by the Debtor and Its Estate. As of the Effective Date, for
        good and valuable consideration (including services provided before and during the

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        Chapter 11 Case to facilitate the implementation of the Talc Personal Injury Trust),
        the adequacy of which is hereby confirmed, the Reorganized Debtor, the Debtor
        Corporate Parties, and the respective Representatives of the Debtor, the Reorganized
        Debtor, and the Debtor Corporate Parties shall be deemed conclusively, absolutely,
        unconditionally, irrevocably, and forever released, to the maximum extent permitted
        by law, as such law may be extended subsequent to the Effective Date, by the Debtor
        and the Estate from any and all claims, counterclaims, disputes, obligations, suits,
        judgments, damages, demands, debts, rights, causes of action, liens, remedies, losses,
        contributions, indemnities, costs, liabilities, fees (including attorneys’ fees) and
        expenses whatsoever, including any indirect claims asserted or assertable on behalf
        of the Debtor or the Estate (including any Recovery Actions), whether liquidated or
        unliquidated, fixed or contingent, matured or unmatured, known or unknown,
        foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or
        hereinafter arising, whether in law or equity, whether sounding in tort or contract,
        whether arising under federal or state statutory or common law, or any other
        applicable international, foreign, or domestic law, rule, statute, regulation, treaty,
        right, duty, requirement, or otherwise, that the Debtor or the Estate would have been
        legally entitled to assert in its own right, or on behalf of the holder of any Claim or
        Interest or other Person, based on, arising out of, or in any way relating to, in whole
        or in part, the Debtor (as it existed prior to or after the Petition Date), the 2021
        Corporate Restructuring, the 2021 Chapter 11 Case, the 2023 Chapter 11 Case, the
        2023 Conversion, the 2023 Funding Agreement Modifications, the Prepetition
        Corporate Restructuring, the Estate, the Chapter 11 Case, the purchase, sale, or
        rescission of the purchase or sale of any security of the Debtor, the subject matter of,
        or the transactions or events giving rise to, any Claim or Interest that is treated in the
        Plan, the business or contractual arrangements or interactions (including the exercise
        of any common law or contractual rights of setoff or recoupment at any time on or
        prior to the Effective Date) between the Debtor, on the one hand, and the Reorganized
        Debtor, any Debtor Corporate Party, or any Representative of the Debtor, the
        Reorganized Debtor, or any Debtor Corporate Party, on the other hand, the sale or
        distribution of assets by Holdco in connection with the separation of J&J’s consumer
        health business into a new company named Kenvue, Inc., the Love Proceeding,
        the Bynum Proceeding, the restructuring of any Claim or Interest before or during
        the Chapter 11 Case, the negotiation, formulation, preparation, or implementation
        of, or the solicitation of votes with respect to, the Plan, or any other act or omission
        related to the Disclosure Statement, the Plan, or any related agreement, instrument,
        or document or any of the foregoing. Notwithstanding the foregoing, claims or causes
        of action against the Reorganized Debtor, any Debtor Corporate Party, or any
        Representative of the Debtor, the Reorganized Debtor, or any Debtor Corporate
        Party arising out of or relating to any act or omission of such Person prior to the
        Effective Date that is determined by Final Order of the Bankruptcy Court or any
        other court of competent jurisdiction to have constituted a criminal act, actual fraud,
        gross negligence, or willful misconduct, including findings after the Effective Date,
        are not released pursuant to this Section 11.2.1; provided, however, that (i) no Person
        may commence or pursue any such claim or cause of action without the Bankruptcy
        Court (A) first determining, after notice and a hearing, that such claim or cause of

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        action represents a colorable claim and (B) specifically authorizing such Person to
        bring such claim or cause of action and (ii) to the fullest extent permitted by law, the
        Bankruptcy Court shall have sole and exclusive jurisdiction to adjudicate the
        underlying colorable claim or cause of action. For the avoidance of doubt, nothing
        contained in this Section 11.2.1 shall release or otherwise affect the obligations of any
        Person to be performed from and after the Effective Date under any Funding
        Agreement, the Cash Contributions Guarantee, or any other Plan Document to which
        it is a party. The Reorganized Debtor, and any other entity that continues the
        Debtor’s business after the Effective Date, shall be bound, to the same extent the
        Debtor and the Estate are bound, by the releases set forth in this Section 11.2.1.

                 11.2.2      Releases by Holders of Claims. As of the Effective Date, for good
        and valuable consideration, the adequacy of which is hereby confirmed, including the
        service of the Released Parties before and during the Chapter 11 Case to facilitate the
        implementation of the Talc Personal Injury Trust, the Released Parties shall be
        deemed conclusively, absolutely, unconditionally, irrevocably, and forever released,
        to the maximum extent permitted by law, as such law may be extended subsequent to
        the Effective Date, by the Releasing Claim Holders from any and all claims,
        counterclaims, disputes, obligations, suits, judgments, damages, demands, debts,
        rights, causes of action, liens, remedies, losses, contributions, indemnities, costs,
        liabilities, fees (including attorneys’ fees), and expenses whatsoever, including any
        indirect claims asserted or assertable on behalf of the Debtor or the Estate (including
        any Recovery Actions), whether liquidated or unliquidated, fixed or contingent,
        matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
        unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or
        equity, whether sounding in tort or contract, whether arising under federal or state
        statutory or common law, or any other applicable international, foreign, or domestic
        law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such
        holders or their estates, Affiliates, heirs, executors, administrators, successors,
        assigns, managers, accountants, attorneys, representatives, consultants, agents, and
        any other Persons or parties claiming under or through them would have been legally
        entitled to assert in their own right (whether individually or collectively), or on behalf
        of the holder of any Claim or Interest or other Person, based on, arising out of, or in
        any way relating to, in whole or in part, the Debtor (as it existed prior to or after the
        Petition Date), the 2021 Corporate Restructuring, the 2021 Chapter 11 Case, the 2023
        Chapter 11 Case, the 2023 Conversion, the 2023 Funding Agreement Modifications,
        the Prepetition Corporate Restructuring, the Estate, the Chapter 11 Case, the
        purchase, sale, or rescission of the purchase or sale of any security of the Debtor, the
        subject matter of, or the transactions or events giving rise to, any Claim or Interest
        that is treated in the Plan, the business or contractual arrangements or interactions
        (including the exercise of any common law or contractual rights of setoff or
        recoupment at any time on or prior to the Effective Date) between the Debtor, on the
        one hand, and any other Released Party, on the other hand, the restructuring of any
        Claim or Interest before or during the Chapter 11 Case, the sale or distribution of
        assets by Holdco in connection with the separation of J&J’s consumer health business
        into a new company named Kenvue, Inc., the Love Proceeding, the Bynum
        Proceeding, the negotiation, formulation, preparation, or implementation of, or the
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        solicitation of votes with respect to, the Plan, or any other act or omission related to
        the Disclosure Statement, the Plan, or any related agreement, instrument, or
        document or any of the foregoing. Notwithstanding the foregoing: (a) claims or
        causes of action against a Released Party arising out of or relating to any act or
        omission of such Released Party prior to the Effective Date that is determined by
        Final Order of the Bankruptcy Court or any other court of competent jurisdiction to
        have constituted a criminal act, actual fraud, gross negligence, or willful misconduct,
        including findings after the Effective Date, are not released pursuant to this Section
        11.2.2; provided, however, that (i) no Person, without regard to whether such Person
        is a Releasing Claim Holder, may commence or pursue any such claim or cause of
        action without the Bankruptcy Court (A) first determining, after notice and a
        hearing, that such claim or cause of action represents a colorable claim and (B)
        specifically authorizing such Person to bring such claim or cause of action and (ii) to
        the fullest extent permitted by law, the Bankruptcy Court shall have sole and
        exclusive jurisdiction to adjudicate the underlying colorable claim or cause of action;
        (b) holders of Master Settlement Agreement Claims shall not release their rights to
        have such Master Settlement Agreement Claims considered for settlement and, if
        such Master Settlement Agreement Claims qualify for settlement, settled under the
        Master Settlement Agreements; and (c) holders of Judgment Claims shall not release
        their rights to seek to enforce and collect on the judgments on which such Judgment
        Claims are based, including through the defense or prosecution of appellate litigation
        related thereto. For the avoidance of doubt, nothing contained in this Section 11.2.2
        shall release or otherwise affect the obligations of any Person to be performed from
        and after the Effective Date under any Funding Agreement, the Cash Contributions
        Guarantee, or any other Plan Document to which it is a party.

               11.2.3      Injunction Related to Releases. The Confirmation Order shall
        permanently enjoin the commencement or prosecution by any Person, whether
        directly, indirectly, or otherwise, of any claims, commitments, obligations, suits,
        judgments, damages, demands, debts, causes of action, and liabilities released
        pursuant to this Section 11.2.

       11.3 Channeling Injunction and Insurance Entity Injunction. In order to
supplement the injunctive effect of the Discharge Injunction, and pursuant to section 524(g),
section 1123(b)(6), and/or section 105(a) of the Bankruptcy Code, the Confirmation Order
shall provide for the following permanent injunctions to take effect as of the Effective Date.

                 11.3.1   Channeling Injunction.

                      (a)     To preserve and promote the settlements contemplated by and
        provided for in the Plan and pursuant to the exercise of the equitable jurisdiction and
        power of the Bankruptcy Court and the District Court under section 524(g),
        section 1123(b)(6), and/or section 105(a) of the Bankruptcy Code, notwithstanding
        anything to the contrary contained in the Plan, (i) the sole recourse of any holder of a
        Channeled Talc Personal Injury Claim against a Protected Party (on account of such
        Channeled Talc Personal Injury Claim) shall be to and against the Talc Personal
        Injury Trust pursuant to the Talc Personal Injury Trust Documents and (ii) such

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        holder shall have no right whatsoever at any time to assert its Channeled Talc
        Personal Injury Claim against any Protected Party or any property or interest in
        property of any Protected Party. On and after the Effective Date, all holders of
        Channeled Talc Personal Injury Claims shall be permanently and forever stayed,
        restrained, barred, and enjoined from taking any action for the purpose of, directly
        or indirectly, collecting, recovering, or receiving payment, satisfaction, or recovery
        of, on, or with respect to any Channeled Talc Personal Injury Claim against a
        Protected Party other than from the Talc Personal Injury Trust pursuant to the Talc
        Personal Injury Trust Documents, including:

                             (i)      commencing, conducting, or continuing in any manner,
                      directly or indirectly, any suit, action, or other proceeding of any kind
                      (including a judicial, arbitration, administrative, or other proceeding)
                      in any forum in any jurisdiction around the world against or affecting
                      any Protected Party or any property or interests in property of any
                      Protected Party;

                             (ii)     enforcing,    levying,  attaching    (including  any
                      prejudgment attachment), collecting, or otherwise recovering, by any
                      manner or means, whether directly or indirectly, any judgment, award,
                      decree, or order against any Protected Party or any property or
                      interests in property of any Protected Party;

                             (iii)  creating, perfecting, or otherwise enforcing in any
                      manner, directly or indirectly, any lien of any kind against any
                      Protected Party or any property or interests in property of any
                      Protected Party;

                             (iv)    asserting, implementing, or effectuating any setoff,
                      recoupment, right of contribution, reimbursement, subrogation, or
                      indemnification, or similar right of any kind, in any manner, directly
                      or indirectly, against any obligation due to any Protected Party or
                      against any property or interests in property of any Protected Party;
                      and

                             (v)     taking any act in any manner, and in any place
                      whatsoever, that does not conform to, or comply with, the provisions of
                      the Plan, the Plan Documents, or the Talc Personal Injury Trust
                      Documents or with regard to any matter that is within the scope of the
                      matters designated by the Plan to be subject to resolution by the Talc
                      Personal Injury Trust, except in conformity and compliance with the
                      Talc Personal Injury Trust Documents.

                      (b)   Notwithstanding anything to the contrary in Section 11.3.1(a),
        this Channeling Injunction shall not impair:




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                             (i)     the rights of holders of Channeled Talc Personal Injury
                      Claims to assert such Talc Personal Injury Claims solely against the
                      Talc Personal Injury Trust in accordance with the Talc Personal Injury
                      Trust Documents;

                             (ii)   the rights of holders of Channeled Talc Personal Injury
                      Claims to assert such claims against anyone other than a Protected
                      Party;

                             (iii)   the rights of holders of Master Settlement Agreement
                      Claims to have such Master Settlement Agreement Claims considered
                      for settlement and, if such Master Settlement Agreement Claims
                      qualify for settlement, settled under the Master Settlement
                      Agreements, so long as such holder has not (A) previously received
                      payment in respect of such Master Settlement Agreement Claim from
                      the Talc Personal Injury Trust or (B) submitted such Master
                      Settlement Agreement Claim to the Talc Personal Injury Trust under
                      the Trust Distribution Procedures (unless such Master Settlement
                      Agreement Claim has been properly withdrawn in accordance with the
                      Trust Distribution Procedures and has not thereafter been resubmitted
                      to the Talc Personal Injury Trust under the Trust Distribution
                      Procedures);

                              (iv)     the rights of holders of Judgment Claims to seek to
                      enforce and collect on the judgments on which such Judgment Claims
                      are based, including through the defense or prosecution of appellate
                      litigation related thereto;

                             (v)     the rights of all Persons to assert any claim, debt,
                      obligation, cause of action, or liability for payment of Talc Personal
                      Injury Trust Expenses solely against the Talc Personal Injury Trust;
                      or

                              (vi)    the Talc Personal Injury Trust from enforcing its rights
                      explicitly provided to it under the Plan and the Talc Personal Injury
                      Trust Documents, including, if the provisions of Section 4.9.3 and
                      Section 5.9.1 are applicable, the Imerys/Cyprus Related Rights.

                     (c)    There shall be no modification, dissolution, or termination of the
        Channeling Injunction, which shall be a permanent injunction.

                       (d)    Nothing in the Plan or the Talc Personal Injury Trust
        Agreement shall be construed in any way to limit the scope, enforceability, or
        effectiveness of the Channeling Injunction issued in connection with the Plan or the
        Talc Personal Injury Trust’s assumption of all liability with respect to Talc Personal
        Injury Claims.



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                      (e)    The Debtor’s compliance with the formal requirements of
        Bankruptcy Rule 3016(c) shall not constitute an admission that the Plan provides for
        an injunction against conduct not otherwise enjoined under the Bankruptcy Code.

                       (f)    Any Protected Party may enforce the Channeling Injunction as
        a defense to any Claim brought against such Protected Party that is enjoined under
        the Plan as to such Protected Party and may seek to enforce such injunction in a court
        of competent jurisdiction.

                       (g)    If a Talc Insurance Company that is not a Settling Talc
        Insurance Company asserts that it has Contribution Claims against a Settling Talc
        Insurance Company: (i) such Contribution Claims may be asserted as a defense or
        counterclaim against the Talc Personal Injury Trust in any Talc Insurance Action
        involving such Talc Insurance Company, and the Talc Personal Injury Trust (acting
        through the Reorganized Debtor, as its subrogee having the exclusive right to pursue
        and resolve any Talc Insurance Action) may assert the legal or equitable rights (if
        any) of the Settling Talc Insurance Company; and (ii) to the extent such Contribution
        Claims are determined to be valid, the liability (if any) of such Talc Insurance
        Company to the Talc Personal Injury Trust shall be reduced by the amount of such
        Contribution Claims.

                 11.3.2      Insurance Entity Injunction.

                     (a)    In order to protect and preserve the Talc Insurance Assets,
        pursuant to the equitable jurisdiction and power of the Bankruptcy Court, the
        Bankruptcy Court shall issue the Insurance Entity Injunction; provided, however, that
        the Insurance Entity Injunction is not issued for the benefit of any Talc Insurance
        Company, and no Talc Insurance Company is a third-party beneficiary of the
        Insurance Entity Injunction, except as otherwise specifically provided in any Talc
        Insurance Settlement Agreement.

                       (b)     Subject to the provisions of Section 11.3.1 and this
        Section 11.3.2, all Persons that have held or asserted, that hold or assert, or that may
        in the future hold or assert any claim, demand, or cause of action against any Talc
        Insurance Company based on, arising out of, or in any way relating to any Channeled
        Talc Personal Injury Claim, whenever and wherever arising or asserted, whether in
        the United States of America or anywhere else in the world, whether sounding in tort,
        contract, warranty, or any other theory of law, equity, or admiralty, shall be stayed,
        restrained, and enjoined from taking any action for the purpose of directly or
        indirectly collecting, recovering, or receiving payments, satisfaction, or recovery with
        respect to any such claim, demand, or cause of action including:

                                  (i)     commencing, conducting, or continuing, in any manner,
                          directly or indirectly, any suit, action, or other proceeding of any kind
                          (including a judicial, arbitration, administrative, or other proceeding)
                          in any forum with respect to any such claim, demand, or cause of action
                          against any Talc Insurance Company, or against the property of any

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                      Talc Insurance Company, with respect to any such claim, demand, or
                      cause of action;

                              (ii)   enforcing, levying, attaching, collecting, or otherwise
                      recovering, by any means or in any manner, whether directly or
                      indirectly, any judgment, award, decree, or other order against any
                      Talc Insurance Company, or against the property of any Talc
                      Insurance Company, with respect to any such claim, demand, or cause
                      of action;

                             (iii)   creating, perfecting, or enforcing in any manner,
                      directly or indirectly, any Encumbrance against any Talc Insurance
                      Company, or the property of any Talc Insurance Company, with
                      respect to any such claim, demand, or cause of action; and

                             (iv)    asserting or accomplishing any setoff, right of
                      subrogation, indemnity, contribution, or recoupment of any kind,
                      directly or indirectly, against any obligation of any Talc Insurance
                      Company, or against the property of any Talc Insurance Company,
                      with respect to any such claim, demand, or cause of action;

        provided, however, that: (A) the injunction set forth in this Section 11.3.2(b) shall not
        impair in any way (I) any actions pursued by the Talc Personal Injury Trust (acting
        through the Reorganized Debtor, as its subrogee) against any Talc Insurance
        Company, (II) the rights of the Debtor or the Reorganized Debtor against any Talc
        Insurance Company with respect to amounts expended prior to the Effective Date, or
        (III) the rights of any co-insured of the Debtor (1) with respect to any Talc Insurance
        Policy or Talc Insurance Settlement Agreement against any Talc Insurance Company
        or (2) as specified under any Final Order of the Bankruptcy Court approving a Talc
        Insurance Settlement Agreement; and (B) the Talc Personal Injury Trust (acting
        through the Reorganized Debtor, as its subrogee) shall have the sole and exclusive
        authority at any time to terminate, or reduce or limit the scope of, the injunction set
        forth in this Section 11.3.2(b) with respect to any Talc Insurance Company upon
        express written notice to such Talc Insurance Company, except that the Talc Personal
        Injury Trust (acting through the Reorganized Debtor, as its subrogee) shall not have
        any authority to terminate, reduce, or limit the scope of the injunction herein with
        respect to any Settling Talc Insurance Company so long as, but only to the extent that,
        such Settling Talc Insurance Company complies fully with its obligations under any
        applicable Talc Insurance Settlement Agreement.

                      (c)    Notwithstanding anything to the contrary above, this Insurance
        Entity Injunction shall not enjoin:

                            (i)    the rights of all Persons to the treatment accorded them
                      under the Plan, as applicable, including the rights of holders of
                      Channeled Talc Personal Injury Claims to assert such Claims, as


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                       applicable, in accordance with the Talc Personal Injury Trust
                       Documents;

                              (ii)    the rights of all Persons to assert any claim, debt,
                       obligation, cause of action, or liability for payment of Talc Personal
                       Injury Trust Expenses solely against the Talc Personal Injury Trust;

                              (iii)   the rights of the Talc Personal Injury Trust (acting
                       through the Reorganized Debtor, as its subrogee) (A) to pursue and
                       resolve any Talc In-Place Insurance Coverage, (B) to pursue and
                       resolve any Talc Insurance Action, (C) to pursue and obtain any Talc
                       Insurance Recoveries, and (D) to negotiate and enter into any Talc
                       Insurance Settlement Agreement; or

                              (iv)    the rights of any Talc Insurance Company to assert any
                       claim, debt, obligation, cause of action, or liability for payment against
                       any other Talc Insurance Company that is not a Settling Talc Insurance
                       Company, or as otherwise specifically provided in any Talc Insurance
                       Settlement Agreement.

                     (d)    For the avoidance of doubt, nothing in the Plan, the Plan
        Documents, or the Confirmation Order shall impair or otherwise affect any rights
        that any Debtor Corporate Party may have under any Talc Insurance Policy or Talc
        Insurance Settlement Agreement.

        11.4     Exculpation.

                11.4.1     Exculpation of Certain Parties. None of the Exculpated Parties
        shall have or incur any liability to any Person for any act or omission taken or to be
        taken, whether before, on, or after the Petition Date through and including the
        Effective Date in connection with, arising out of, or in any way relating to: (a) the
        Prepetition Corporate Restructuring or the Chapter 11 Case; (b) the negotiation,
        formulation, and preparation of the Plan and the other Plan Documents (including
        the Disclosure Statement), and any of the terms and/or settlements and compromises
        reflected in the Plan and the other Plan Documents, and the releases and Injunctions
        contained in the Plan; (c) the pursuit of Confirmation of the Plan (including the
        solicitation of votes with respect to the Plan); (d) the administration, consummation,
        and implementation of the Plan or the property to be distributed under the Plan or
        the Trust Distribution Procedures; or (e) the management or operation of the Debtor
        (except for any liability that results primarily from such Exculpated Party’s criminal
        acts, actual fraud, willful misconduct, or gross negligence as determined by a Final
        Order). No Person may commence or pursue any claim or cause of action seeking to
        impose on any Exculpated Party liability for any such act or omission that results
        primarily from such Exculpated Party’s criminal acts, actual fraud, willful
        misconduct, or gross negligence without the Bankruptcy Court (i) first determining,
        after notice and hearing, that such claim or cause of action represents a colorable
        claim and (ii) specifically authorizing such Person to bring such claim or cause of

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        action, and to the fullest extent permitted by law, the Bankruptcy Court shall have
        sole and exclusive jurisdiction to adjudicate the underlying colorable claim or cause
        of action. In all respects, each Exculpated Party shall be entitled to rely upon the
        advice of counsel with respect to their duties and responsibilities under, or in
        connection with, the Chapter 11 Case, the Plan, the Plan Documents, and the
        administration of each of them. Without limiting the generality of the foregoing, the
        Exculpated Parties shall be entitled to and granted the protections and benefits of
        section 1125(e) of the Bankruptcy Code.

                11.4.2    Injunction Related to Exculpation. The Confirmation Order shall
        permanently enjoin all Persons from taking any action against any Exculpated Party
        for the purpose of, directly or indirectly, receiving payment of, on, or with respect to
        any liability from which the Exculpated Parties are exculpated pursuant to this
        Section 11.4.

        11.5 Disallowed Claims. On and after the Effective Date, the Debtor and the
Reorganized Debtor shall have no liability or obligation on a Disallowed Claim, and any order
disallowing a Claim which is not a Final Order as of the Effective Date solely because of a Person’s
right to move for reconsideration of such Final Order pursuant to section 502 of the Bankruptcy
Code or Bankruptcy Rule 3008 shall, nevertheless, become and be deemed to be a Final Order on
the Effective Date. The Confirmation Order shall constitute a Final Order: (a) disallowing all
Claims (other than Talc Personal Injury Claims) to the extent such Claims are not allowable under
any provision of Section 502 of the Bankruptcy Code, including time-barred Claims and Claims
for unmatured interest; and (b) disallowing or subordinating to all other Claims, as the case may
be, any Claims for penalties, punitive damages, or any other damages not constituting
compensatory damages.

         11.6 No Successor Liability. The Reorganized Debtor does not, pursuant to the Plan or
otherwise, assume, agree to perform, pay, or indemnify any Person, or otherwise have any
responsibility for any liabilities or obligations of the Debtor arising out of or in any way relating
to the operations of or assets of the Debtor, whether arising prior to, on, or after the Effective Date.
None of the Reorganized Debtor, the other Protected Parties, and the Talc Personal Injury Trust
is, or shall be deemed to be, a successor to the Debtor by reason of any theory of law or equity
(except as otherwise provided in Article IV), and none shall have any successor or transferee
liability of any kind or character; provided, however, the Reorganized Debtor and the Talc Personal
Injury Trust shall assume and remain liable for their respective obligations specified in the Plan
and the Confirmation Order.

        11.7     Corporate Indemnities.

                11.7.1     Prepetition Indemnification and Reimbursement Obligations. The
        obligations of the Debtor to indemnify and reimburse Persons who are or were managers,
        officers, or employees of the Debtor on the Petition Date or at any time thereafter through
        the Effective Date, against and for any obligations pursuant to the articles of organization
        or operating agreement of the Debtor, applicable state or non-bankruptcy law, or specific
        agreement, or any combination of the foregoing, (a) shall survive Confirmation of the Plan
        and remain unaffected thereby, (b) are assumed by the Debtor, and (c) shall not be

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        discharged under Section 1141 of the Bankruptcy Code, irrespective of whether
        indemnification or reimbursement is owed in connection with any event occurring before,
        on, or after the Petition Date.

                11.7.2      Plan Indemnity. In addition to the matters set forth above and not by
        way of limitation thereof, the Debtor shall indemnify, defend, and hold harmless all
        Persons who are or were managers or officers of the Debtor on the Petition Date or at any
        time thereafter through the Effective Date on account of and with respect to any claim,
        cause of action, liability, judgment, settlement, cost, or expense (including attorney’s fees)
        on account of claims or causes of action threatened or asserted by any third party against
        such managers or officers that seek contribution, indemnity, equitable indemnity, or any
        similar claim, based upon or as the result of the assertion of primary claims against such
        third party by any representative of the Debtor’s Estate.

                11.7.3     Limitation on Indemnification. Notwithstanding anything to the
        contrary set forth in the Plan or elsewhere, the Debtor and the Reorganized Debtor, as
        applicable, shall not be obligated to indemnify, defend, or hold harmless any Person for
        any claim, cause of action, liability, judgment, settlement, cost, or expense that results
        primarily from: (a) such Person’s bad faith, gross negligence, or willful misconduct; or
        (b) a Talc Personal Injury Claim.

        11.8 Independent Legal Significance of Individual Provisions. For the avoidance of
doubt, each of Sections 11.1 through 11.8 is legally independent from the other such Sections and
the validity and effect of any such Section is not dependent upon, will not be affected in any
manner by, and will not be interpreted or construed by reference to any other such Section. By
way of illustration and not limitation, the releases set forth in Section 11.2 are independent from,
will not be affected in any manner by, and will not be interpreted or construed by reference to the
Channeling Injunction set forth in Section 11.4.

                                   ARTICLE XII
                        JURISDICTION OF BANKRUPTCY COURT

         12.1 Jurisdiction. Subject to Section 12.3, the Bankruptcy Court shall retain the fullest
and most extensive exclusive jurisdiction that is permissible (and to the extent not permitted, non-
exclusive jurisdiction), including the jurisdiction necessary to ensure that the purposes and intent
of the Plan are carried out. The Bankruptcy Court shall retain exclusive jurisdiction (and to the
extent not permitted, non-exclusive jurisdiction) to hear and determine all Claims against the
Debtor and all other causes of action which may exist on behalf of the Debtor; provided, however,
that this Section 12.1 shall not apply to adjudication or enforcement of any Talc Insurance Action.

        12.2 Specific Purposes. Subject to Section 12.3, in furtherance to the foregoing, the
Bankruptcy Court shall retain exclusive jurisdiction (and to the extent not permitted, non-exclusive
jurisdiction) for each of the following specific purposes after Confirmation of the Plan:

                      (a)    to modify the Plan after Confirmation, pursuant to the provisions of
        the Bankruptcy Code and the Bankruptcy Rules;



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                       (b)     to correct any defect, cure any omission, reconcile any
        inconsistency, or make any other necessary changes or modifications in or to the Plan, the
        Talc Personal Injury Trust Agreement, or the Confirmation Order as may be necessary to
        carry out the purposes and intent of the Plan;

                       (c)     to assure the performance by the Talc Personal Injury Trust and the
        Disbursing Agent of their respective obligations under the Plan including hearing and
        determining any motions or contested matters that may arise between or among the Talc
        Trustee, the Talc Trust Advisory Committee, and/or the FCR in connection with the
        administration of the Talc Personal Injury Trust and/or the Trust Distribution Procedures;

                        (d)    to enforce and interpret the terms and conditions of the Plan, the
        other Plan Documents, and the Talc Personal Injury Trust Agreement; to enter such orders
        or judgments, including injunctions (i) as are necessary to enforce the title, rights, and
        powers of the Reorganized Debtor and the Talc Personal Injury Trust and (ii) as are
        necessary to enable holders of Claims to pursue their rights against any Person that may be
        liable therefor pursuant to applicable law or otherwise;

                        (e)    to hear and determine any motions or contested matters involving
        taxes, tax refunds, tax attributes, tax benefits, and similar or related matters, including
        contested matters arising on account of transactions contemplated by the Plan, or relating
        to the period of administration of the Chapter 11 Case;

                       (f)     to hear and determine all applications for compensation of
        Professionals and reimbursement of expenses under sections 327, 328, 329, 330, 331,
        503(b), or 1103 of the Bankruptcy Code;

                       (g)    to hear and determine any causes of action arising during the period
        from the Petition Date through the Effective Date, or in any way related to the Plan or the
        transactions contemplated hereby;

                        (h)    to adjudicate any Retained Rights of Action that are retained by the
        Reorganized Debtor hereunder, including any Recovery Actions and the causes of action
        listed or described on Exhibit F;

                        (i)     to resolve any matters related to the assumption, assumption and
        assignment, or rejection of any Executory Contract or Unexpired Lease to which the Debtor
        is a party or with respect to which the Debtor or the Reorganized Debtor may be liable and
        to hear, determine and, if necessary, liquidate any Claims arising therefrom, including any
        Cure Amount Claims;

                       (j)    to determine such other matters and for such other purposes as may
        be provided in the Confirmation Order;

                      (k)    to determine the allowance and/or disallowance of any Non-Talc
        Claims, including Administrative Claims, against the Debtor or the Estate, including any
        objections to any such Non-Talc Claims, and the compromise and settlement of any
        Non-Talc Claim, including Administrative Claims, against the Debtor or the Estate;

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                       (l)     to determine all questions and disputes regarding title to the assets
        of the Debtor or the Estate, or the Talc Personal Injury Trust;

                        (m)   to issue such orders as may be necessary for the addition of any
        Settling Talc Insurance Company as a Protected Party;

                      (n)   to hear and determine any other matters related hereto, including the
        implementation and enforcement of all orders entered by the Bankruptcy Court in the
        Chapter 11 Case;

                        (o)    to resolve any disputes concerning whether a Person had sufficient
        notice of the Chapter 11 Case, the Disclosure Statement, any solicitation conducted in
        connection with the Chapter 11 Case, any bar date established in the Chapter 11 Case, in
        each case, for the purpose of determining whether a Claim is discharged hereunder or for
        any other purpose;

                       (p)    to enter in aid of implementation of the Plan such orders as are
        necessary, including the implementation and enforcement of the releases and the
        Injunctions described herein; and

                         (q)     to enter and implement such orders as may be necessary or
        appropriate if any aspect of the Plan, the Talc Personal Injury Trust, or the Confirmation
        Order is, for any reason or in any respect, determined by a court to be inconsistent with,
        violative of, or insufficient to satisfy any of the terms, conditions, or other duties associated
        with any Talc Insurance Policy; provided, however, that: (i) such orders shall not impair
        any Talc Insurer Coverage Defense or the rights, claims, or defenses, if any, of any Talc
        Insurance Company that are set forth or provided for in the Plan, the Plan Documents, the
        Confirmation Order, or any other Final Orders entered in the Chapter 11 Case; (ii) this
        provision does not, in and of itself, grant the Bankruptcy Court jurisdiction to hear and
        decide disputes arising out of or relating to any Talc Insurance Policy; and (iii) all interested
        parties, including any Talc Insurance Company, reserve the right to oppose or object to any
        such motion or order seeking such relief.

To the extent that the Bankruptcy Court is not permitted under applicable law to preside over any
of the foregoing matters, the reference to the “Bankruptcy Court” in this Article shall be deemed
to be replaced by the “District Court.” Notwithstanding anything to the contrary in this Article 12,
the resolution of Talc Personal Injury Claims, and the forum in which such resolution will occur,
shall be governed by and in accordance with the provisions of Section 3.2.4 and Article IV and the
Talc Personal Injury Trust Documents.

       12.3 District Court Jurisdiction. The District Court shall, without regard to the amount
in controversy, retain exclusive jurisdiction after entry of the Confirmation Order to hear and
determine any motion to enforce the Channeling Injunction, and shall be deemed to have
withdrawn the reference to the Bankruptcy Court for such purpose.

        12.4 Reservation of Rights. Nothing contained in the Plan shall (i) constitute a waiver
of any claim, right, or cause of action that the Debtor, the Reorganized Debtor, or the Talc Personal
Injury Trust, as the case may be, may hold against the insurer under any policy of insurance or
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insurance agreement, except to the extent the insurer is a Settling Insurance Company; or (ii) limit
the assertion, applicability, or effect of any Talc Insurer Coverage Defense.

       12.5 Compromises of Controversies. From and after the Effective Date, the Reorganized
Debtor and/or the Talc Personal Injury Trust, as appropriate based on assets and liabilities retained
or owed by each respectively, shall be authorized to compromise controversies in their discretion
in a manner not inconsistent with the terms of the Plan, without notice to any other party or
approval of or notice to the Bankruptcy Court.

                                     ARTICLE XIII
                               MISCELLANEOUS PROVISIONS

       13.1 Closing of Chapter 11 Case. The Reorganized Debtor shall, promptly after the full
administration of the Chapter 11 Case, file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
Case.

        13.2 Timing of Distributions or Actions. If any payment or act under the Plan is required
to be made or performed on a date that is not a Business Day, then the making of such payment or
the performance of such act may be completed on the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

        13.3 Governing Law. Unless a rule of law or procedure is supplied by federal law
(including the Bankruptcy Code and Bankruptcy Rules), or an instrument, agreement, or other
document executed under the Plan provides otherwise, the rights, duties, and obligations arising
under the Plan, and the instruments, agreements, and other documents executed in connection with
the Plan, shall be governed by, and construed and enforced in accordance with, the internal laws
of the State of Texas without giving effect to the principles of conflicts of law thereof.

        13.4 Entire Agreement. The Plan Documents set forth the entire agreement and
undertakings relating to the subject matter thereof and supersede all prior discussions, negotiations,
understandings, and documents. No Person shall be bound by any terms, conditions, definitions,
warranties, understandings, or representations with respect to the subject matter hereof, other than
as expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed
to by the affected parties in writing.

        13.5 Notices to the Debtor and Reorganized Debtor. All notices, requests, and demands
required or permitted to be provided to the Debtor or the Reorganized Debtor under the Plan, in
order to be effective, shall be in writing, and unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonically confirmed, to the addresses set forth
below:




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         13.6 Post-Effective Date Notices by the Reorganized Debtor. After the occurrence of
the Effective Date, the Reorganized Debtor has authority to send a notice to any Person providing
that to continue to receive documents pursuant to the Bankruptcy Rule 2002, such Person must file
a renewed request to receive documents pursuant to Bankruptcy Rule 2002; provided, however,
that the United States Trustee need not file such a renewed request and shall continue to receive
documents without any further actions being necessary. After the occurrence of the Effective
Date, the Reorganized Debtor is authorized to limit the list of Persons receiving documents
pursuant to Bankruptcy Rule 2002 to the United States Trustee and those Persons that have filed
such renewed requests.

        13.7 Inconsistencies. To the extent the Plan is inconsistent with the Disclosure
Statement or other Plan Documents, the provisions of the Plan shall be controlling. To the extent
the Plan is inconsistent with the Confirmation Order, the provisions of the Confirmation Order
shall be controlling.

        13.8 Withholding of Taxes. The Disbursing Agent, the Talc Personal Injury Trust, or
any other applicable withholding agent, as applicable, shall withhold from any assets or property
distributed under the Plan any assets or property which must be withheld for foreign, federal, state,
and local taxes payable with respect thereto or payable by the Person entitled to such assets to the
extent required by applicable law.

        13.9 Transfer Taxes. Pursuant to Section 1146 of the Bankruptcy Code, and to the fullest
extent permitted by law, no stamp tax, transfer tax, filing fee, sales or use tax, or other similar tax
shall be imposed or assessed by any taxing authority on account of (a) the transfer of any assets or
property pursuant to the Plan; or (b) the making or delivery of an instrument of transfer under the
Plan. The appropriate state or local government officials or agents shall be directed to forego the
collection of any such tax and to accept for filing or recordation of any of the foregoing instruments
or other documents without the payment of any such tax.

        13.10 Successors and Assigns. The rights, duties, and obligations of any Person under
the Plan, the Plan Documents, and the Confirmation Order shall be binding upon, and shall inure
to the benefit of, the successors, assigns, heirs, executors, legal representatives, and estates of such
Person.



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        13.11 Duty to Cooperate. Nothing in the Plan, the other Plan Documents, or the
Confirmation Order shall relieve (by way of injunction or otherwise) any Person that is or claims
to be entitled to indemnity under a Talc Insurance Policy from any duty to cooperate that may be
required by any such insurance policy or under applicable law with respect to the defense and/or
settlement of any Claim for which coverage is sought under such Talc Insurance Policy.

        13.12 Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
provides otherwise, actions required to be taken on the Effective Date shall take place and be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.

        13.13 Plan Supplements. Any and all exhibits, lists, or schedules referred to herein but
not attached to the Plan shall be contained in a Plan Supplement, and each Plan Supplement is
incorporated into and is part of the Plan as if set forth in full herein. Each Plan Supplement will
be distributed to the same parties and in the same manner as the Disclosure Statement at least
twenty-eight (28) days prior to the deadline for the submission of votes on the Plan and will also
be available at the website maintained by the Claims Agent (https://dm.epiq11.com/redrivertalc).



 Dated: December 9, 2024                          Respectfully submitted,

                                                  RED RIVER TALC LLC


                                                  /s/ John Bittner
                                                  John Bittner
                                                  Chief Restructuring Officer




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